TAB 1
From: James H. Post

Sent: Friday, June 23, 2017 2:46 PM

To: 'james.nolan@gray-robinson.com' <james.nolan@gray-robinson.com>
Subject: Laura Jean Kiempf Trust

Jim,
| left you a voicemail message earlier today.

We understand that you and our client, Dennis Blackburn, as Special Trustee of the Laura
Jean Klempf Trust dated April 1, 1992 (the “Trust”), had a telephone conversation this morning
regarding the claims the Trust has against Foodonics and Jacques Klempf. It was our intention to
deliver the attached letter, with enclosures, today to Jacques Klempf and Foodonics regarding
those claims, and to deliver a courtesy copy to you.

Upon your confirmation that your firm is authorized to accept delivery of our letter on
behalf of Mr. Klempf and Foodonics, we will also deliver their copy of the letter to you.

Please advise.

Thank you,
Jim

James H. Post, Esq.

SMITH HULSEY & BUSEY
225 Water Street, Suite 1800
Jacksonville, Florida 32202

(904) 359-7700

(904) 359-7783 (direct)

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[| SMITH HULSEY & BUSEY

 

JAMES H. POST
Direct 904.359.7783
JPOST@SMITHHULSEY.COM

Privileged Confidential
Settlement Communication

June 23, 2017

Mr. Jacques Klempf
530 Ponte Vedra Boulevard
Ponte Vedra Beach, Florida 32082

Re: Laura Jean Klempf Trust dated April 1, 1992 v. Jacques Klempf and
Foodonics International, Inc.

Dear Mr. Klempf:

We represent Dennis L. Blackburn, as Special Trustee of the Laura Jean
Klempf Trust dated April 1, 1992 in connection with the Trust’s claims against you
and Foodonics International, Inc. (““Foodonics”). The nature of the Special Trustee’s
claims are set forth in the accompanying preliminary complaint and discovery
requests.

The purpose of this letter is to determine your interest in reaching an amicable
resolution of the claims against you and Foodonics short of protracted litigation. As
set forth in the complaint and discovery papers, the Special Trustee will seek in
excess of $23,200,000 in damages. If we litigate, this figure will likely go higher
because we anticipate that the discovery we will pursue against the individuals and
entities set forth in the attached chart will reveal facts consistent with what has
already been discovered.

Our client would prefer to settle this matter, if possible, based on what he
views are relatively modest terms. Although the Special Trustee is required to
discharge his duties without regard to existing family dynamics, it is not his intent or
desire to complicate those dynamics further in the context of litigation.

ATTORNEYS

225 WATER STREET, SUITE 1800 * PO. BOX 53315 =» JACKSONVILLE, FL 32201-3315
OFFICE 904.359.7700 + FAX 904.359.7708
 

| SMITH HULSEY & BUSEY |

 

Mr. Jacques Klempf
June 23, 2017
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Please let us know if you are willing to meet with the Special Trustee within
the next ten (10) days to discuss a resolution.

Please also confer with your attorneys regarding your duty to Preserve
Documents and Electronic Evidence (see attached).

Very truly yours
es H. Post
JHP/da/9e4601.3

Enclosures
ce: James A. Nolan, III, Esq.
Notice of Duty to Preserve Documents and Electronic Evidence

With respect to claims against you and Foodonics as described in the
accompanying preliminary complaint and discovery requests, you are given notice that
you and Foodonics, and each of your respective representatives, has a duty to preserve all
potentially relevant documents and electronically stored information (“ESI”) regarding
this matter. Accordingly:

1. We demand that you and Foodonics, and your respective affiliates,
partners, contractors, employees, managers, owners, subsidiaries, parents,
or related companies, agents, assigns, attorneys, accountants, and other
persons with access to or possession of your documents or ESI
immediately preserve all such documents and ESI until further notice.

2. If there is any question whether documents or ES] are relevant, you must
opt to preserve such documents and ESI.

3. Relevant paper documents include correspondence, handwritten notes.
memoranda. contracts. telephone logs, calendars, and other business
records.

4. We also demand that you take affirmative steps to preserve, and suspend

any deletion, overwriting, modification or other destruction of all relevant
electronic data under your control. ESI includes correspondence,
telephone logs and other business records, such as emails, voicemails, text
messages, instant messages, calendars, Outlook PST or other email
archive files, and word processing files, spreadsheets, PDFs, JPEGs,
PowerPoint presentations, databases, cloud-based storage. temporary
internet files, cookies, .ZIP files and all other forms of electronic
information, wherever it resides, including the internet. It is imperative
that you preserve this information in its current form, without changing
any related metadata (for example, a document’s creation or last access
date).

5. These preservation obligations also extend to the preservation of relevant
data on external media, including hard drives, DVDs, CDs, flash drives,
personal home computers, laptops and mobile devices, including PDAs,
cell phones and tablets.

6. Do not initiate any procedures which would alter any active, deleted, or
fragmented files. Such procedures may include, but are not limited to,
storing (saving) newly created files to existing drives and diskettes,
loading new software such as application programs, running data
compression and disk defragmentation (optimization) routines, or the use
of utility programs to permanently wipe files, disks or drives.
965517

10.

Stop any rotation, alteration and/or destruction of electronic media that
may result in the alteration or loss of any electronic data. Back up tapes
and disks should be pulled from their rotation cues and replaced with new
tapes and disks.

Do not alter and/or erase active, deleted files or file fragments on any
electronic media that may have any relation to this matter.

Do not dispose of any electronic media storage devices replaced due to
failure and/or upgrade that may contain electronic data having any relation
to this matter.

The failure to preserve the above-described documents and ES] may result
in legal penalties and sanctions if relevant evidence is deleted or otherwise
disposed of.
TAB 1
IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.

DENNIS L. BLACKBURN, as Special )
Trustee of the Laura Jean Klempf Trust,

Plaintiff,
v.

K. JACQUES KLEMPF and
FOODONICS INTERNATIONAL, INC., _ )

Defendants. )
)
COMPLAINT

Plaintiff, Dennis L. Blackburn, as Special Trustee of the Laura Jean Klempf Trust
dated April 1, 1992, sues defendants K. Jacques Klempf and Foodonics International,
Inc., and alleges:

The Parties

1. Dennis L. Blackburn is the Special Trustee of the Laura Jean Klempf
Trust dated April 1, 1992 (the “Jean Klempf Trust” or the “Trust”). The Trust has its
principal place of administration in Duval County, Florida.

2. Defendant K. Jacques Klempf (“Jacques Klempf”), a resident of St. Johns
County, Florida, was at all times relevant to this complaint the President of Foodonics
International, Inc. and the Chairman of its Board of Directors.

3. Defendant Foodonics International, Inc. (““Foodonics” or the “Company”)

is a Florida corporation with its principal place of business in Duval County, Florida.
4. Cal-Maine Foods, Inc. (“Cal-Maine”) is a Delaware corporation doing
business across the United States, including the State of Florida. Cal-Maine is the largest
producer and marketer of shelled eggs in the United States. Cal-Maine is not, at this
time, a named defendant.

5. Adolphus B. Baker (“Dolph Baker”) is the President, Chief Executive
Officer and Chairman of the Board of Cal-Maine. Dolph Baker is not, at this time, a
named defendant.

General Allegations

6. In 1948, Jean Klempf and her husband, Edward Klempf, started the Dixie
Egg Company in Jacksonville, Florida. The operation grew over the years, from a small
buyer and seller of eggs, to a large scale operation with facilities spreading over three
States utilizing the latest technologies to maximize production. Through a corporate
restructure, Dixie Egg ultimately became the marketing arm for its holding company,
Foodonics.

7. Edward Klempf, with the continuous support and assistance of Jean
Klempf, provided the leadership and direction for the Company until his death in
October, 2002. By this time, the Company had become one of the preeminent egg
producers in the United States, possessing several operating companies, feed mills and
high-tech processing plants.

8. Edward Klempf was married 48 years and is survived by his wife Jean
Klempf, sons Marc Edward Klempf, Jacques Klempf and their daughter Dina Klempf

Srochi,
9. Following Edward’s death, all of the Class A Voting Shares and the Class

B Non-Voting Shares of Foodonics were owned directly by or for the benefit of Edward

Klempf’s widow, Jean Klempf, and their children and grandchildren as follows:

 

 

Class B Non-Voting

 

 

 

 

Shareholder Class A Voting Shares Shares
K. Jacques Klempf 738,930 756,112
Marc Klempf 738,930 756,112
Dina Klempf Srochi 738,930 756,112
Laura Jeanne Klempf, as Trustee of the 900,000 728,180
Laura Klempf Rev. Trust
Laura Jeanne Klempf and K. Jacques 691,177 659,251
Klempf, as Trustees of the Marital Trust
Laura Jeanne Klempf and K. Jacques 422,033 402,539
Klempf, as Trustees of the Family Trust
Kevin Jacques Klempf, as Trustee of the 0 17,182
Julianne M. Klempf Irrevocable Trust
Kevin Jacques Klempf, as Trustee of the 0 17,182
Alexandria R. Klempf Irrevocable Trust
Kevin Jacques Klempf, as Trustee of the 0 17,182
Heather J. Klempf Irrevocable Trust
Marc Klempf, as Trustee of the Nicholas B. 0 17,182
Klempf Irrevocable Trust
Marc Klempf, as Trustee of the Zachary E. 0 17,182
Klempf Irrevocable Trust
Dina Srochi, as Trustee of the Sara L. 0 17,182
Srochi Irrevocable Trust
Dina Srochi, as Trustee of the Alan J. 0 17,182
Srochi Irrevocable Trust
Total 4,230,000 4,178,580
10. At all times material to this complaint, Jean Klempf was a member of the

Board of Directors of Foodonics. After Edward passed away, and due to Jean Klempf’s

health and advancing years, Jacques Klempf exercised wide latitude in operating the

Company as President.

 
11. Between 2002 and 2015, Jacques Klempf was the President of Foodonics,
chairman of the Foodonics Board of Directors and a shareholder of the family-owned
company.

12. | Jacques Klempf took advantage of his position at the Company to leverage
himself into an active role in the Egg Industry Association and to obtain positions on
several egg industry boards. He also took advantage of his position at Foodonics to make
business connections and friendships in the egg industry — which was a small fraternity —
including a strong business and personal friendship with the President of Cal-Maine,
Dolph Baker. The Jacques Klempf and Dolph Baker families often socialized at industry
meetings and took family vacations together to Europe and elsewhere.

13. While President of Foodonics, Jacques Klempf began a systematic
acquisition of Foodonics stock from his siblings and family trusts. By June 5, 2014,
Jacques Klempf had completed the maneuvers necessary to make himself the majority
owner of Foodonics’ stock (53.6%) leaving the Jean Klempf Trust as a minority

shareholder (45.6%):

a

 

 

 

Ownership
Class A Class B Non-

Shareholder Voting Voting Total Shares % of Total
Laura Jean Klempf Rev. Trust 1,591,177 1,387,431 2,978,608  45.6266%
K. Jacques Klempf 2,216,790 1,281,278 3,498,068  53.5838%
Alexandria R. Klempf_ Irrev. - 17,182 17,182 0.2632%
Trust
Julianne M. Klempf Irrev. Trust - 17,182 17,182 0.2632%
Heather J. Klempf Irrev. Trust - 17,182 17,182 0.2632%

Total Shares 3,807,967 2,720,255 6,528,222 100,00%

 

 

 
Jacques Klempf’s Redemption
Proposal to Jean Klempf

14. In 2008, after Jacques Klempf had completed the purchase of the
Foodonics shares of stock owned by his siblings and other family trusts, he began his
efforts to buy out the shares of stock owned by his mother through the Jean Klempf
Trust. Jacques Klempf was informed, however, that his mother was not interested in
selling her shares at that time and, instead, intended to remain a shareholder and an active
member of the Foodonics’ Board of Directors.

15. From 2006 to December 2015, Jacques Klempf was in dominant control of
Foodonics as President and a 53.5838% owner of the Company. As a result, the Jean
Klempf Trust, as a minority shareholder, could not receive distributions (other than each
year’s allocable tax liability) without Jacques Klempf’s approval. Jean Klempf was
therefore at Jacques Klempf’s mercy in order for her Trust to realize any return on its
investment. The control and actions taken by Jacques Klempf as President of Foodonics
during this period, including the lack of distributions to shareholders, caused Jean Kiempf
continued concern and discomfort as a director and shareholder of the Company.

16. Beginning in 2014, Jacques Klempf renewed his efforts to persuade his
mother to sell the stock owned by her Trust through a proposed redemption transaction
with Foodonics. Jacques Klempf knew that his redemption proposal, if successful, would
make him the sole owner of more than 98% of the Foodonics stock.

17. In response to Jacques Klempf’s efforts to persuade his mother to agree to
a redemption transaction, Jean Klempf made it clear to her son that she was not willing to
proceed with the redemption transaction if he was contemplating a sale of the Company

or its assets after the redemption. Jacques Klempf knew his mother did not want to sell
her stock back to the Company if he intended to sell the Company or its assets -- or was
even considering the possibility of such a sale to a third-party after the redemption --
because she knew Jacques Klempf would unfairly personally benefit at the expense of
Jean Klempf and her Trust.

18. Between December 3], 2014 and December 31, 2015, to induce his
mother and her Trust to proceed with the redemption transaction, Jacques Klempf
represented to his mother and her representatives that he would not be seeking to sell the
company for “a good amount of years”:

I have not had any offers to purchase the company, nor are
there any offers presently in play, nor am I seeking to sell
the company at this time.
I actually enjoy the day to day and farm life that this
business allows me and hopeful I have a good amount of
years left to create value so that I can take care of my
family in the future.
Email from Jacques Klempf dated
December 31, 2014.

19. On December 21, 2015, in reliance on (i) Jacques Klempf’s
representations that he would not be seeking to sell the Company for “a good amount of
years” and (ii) his duty to provide full and current disclosures of all matters concerning
Foodonics (including in particular, the redemption transaction), the Jean Klempf Trust
entered into a Settlement and Redemption Agreement (the “Settlement and Redemption
Agreement”), by which all of the Foodonics stock owned by the Jean Klempf Trust was

to be “redeemed” by Foodonics for the purchase price of $9,418,500, or approximately

$3.07 per share.
20. On December 31, 2015, a closing was held on the Settlement and
Redemption Agreement by which all of the Foodonics stock owned by the Jean Klempf
Trust was “redeemed” by Foodonics (the “Redemption Sale”). As a result of the
Redemption Sale, Jacques Klempf became the owner of 98.55% of all issued Foodonics’
stock.

21, On April 20, 2016, less than four months after Jacques Klempf completed
the redemption transaction with his mother, Foodonics and Cal-Maine executed a non-
disclosure agreement which ultimately resulted in the sale of substantially all of
Foodonics’ operating assets to Cal-Maine. Upon information and belief, there were
additional prior and non-disclosed related understandings or agreements between Cal-
Maine and Foodonics.

22. On October 16, 2016, only 10 months after the Redemption Sale, Cal-
Maine purchased substantially all of Foodonics’ operating assets for the sum of
$68,900,000 or $10.66 per share (the “Cal-Maine Sale”).

23. As a result of the Redemption Sale and the Cal-Maine Sale, Jacques
Klempf and Foodonics realized the objective of their scheme -- Foodonics had purchased
the stock of the Jean Klempf Trust at the price of $3.07 and sold the company’s assets
less than a year later for an equivalent price of $10.97 per share of Foodonics’ stock.
Had Jacques Klempf and Foodonics paid the Jean Klempf Trust for its stock at the same

price per share as Jacques Klempf realized from the sale of assets to Cal-Maine, the Trust

 

' Because the Cal-Maine transaction was an asset sale, Foodonics remained responsible for the
payment of certain Company debts. At the time of the Cal-Maine Sale, however, the value of the
assets owned by Foodonics that were not part of the Cal-Maine Sale exceeded the amount which
would have been necessary to have paid off all such debts and to redeem the stock owned by the
Jean Klempf Trust on December 31, 2015.
would have been paid $32,675,329 -- $23,200,000 more than the Jean Klempf Trust was

paid at the Redemption Sale.
Jacques Klempf’s Fraudulent Representations and Omissions

24. Foodonics and Jacques Klempf, as the President and Chairman of the
Board of Directors of Foodonics, had a fiduciary duty to disclose all information that
Jean Klempf and the Trust might have found material in making the decision whether to
allow the redemption of the Trust’s stock at the time of redemption including, in
particular, all information which could affect the value of stock in the Redemption Sale.
Jacques Klempf and Foodonics also had the fiduciary duties of loyalty and fair dealing
with Jean Klempf and the Trust in all matters concerning Foodonics and the Trust’s
ownership interest in Foodonics. Jean Klempf and the Trust relied on the faithful
performance of these duties by Jacques Klempf and Foodonics which, as set forth below,
were breached.

25. Jean Klempf and the Trust executed the Settlement and Redemption
Agreement and closed on the Redemption Sale (i) believing that Jacques Klempf had no
intention, strategy or plan to sell Foodonics for a “good amount of years,” and (ii) relying
on Jacques Klempf’s faithful performance of his fiduciary duties to Jean Klempf and the
Trust.

26. | Unknown to Jean Klempf and the Trust, however, Jacques Klempf had
considered and decided well in advance of the Redemption Sale to unfairly enrich
himself by acting upon the business opportunity to sell the Foodonics’ assets to Cal-
Maine -- a known ready, willing and able buyer -- after Jacques Klempf induced his

mother to surrender her shares for a reduced price through the redemption transaction.
As a result, Foodonics and Jacques Klempf enriched themselves, at the expense of the
Jean Klempf Trust, by collecting additional sale proceeds of approximately $23,200,000
that would have been payable to the Jean Klempf Trust had the Redemption Sale not
occurred.

27. On numerous business and social occasions between 2009 and 2015,
Dolph Baker informed Jacques Klempf that Cal-Maine wanted to buy Foodonics
whenever Jacques Klempf was ready to sell. As a result of these communications,
Foodonics and Jacques Klempf knew prior to the Redemption Sale date -- but
intentionally failed to disclose -- that Cal-Maine was a ready, willing and able buyer of
Foodonics. Therefore, during the time that Jacques Klempf and Foodonics owed the
highest duties of loyalty and disclosure to Jacques’ mother and the Trust (i.e. during the
negotiations and ultimate consummation of the Settlement and Redemption Agreement),
he and Foodonics intentionally failed to disclose that Cal-Maine was a ready, willing and
able buyer of Foodonics and that his long intended sale of the Company to Cal-Maine
could go forward -- without further ado -- as soon as Foodonics effected the Redemption
Sale -- all for a much higher per share value than he had represented as fair to his mother
and the Trust in the Settlement and Redemption Agreement.

28. Contrary to Jacques Klempf’s prior representations that “he was not
seeking to sell the company” and further evidencing his hidden strategy to squeeze Jean
Klempf and the Trust out of the Company before the Cal-Maine Sale, Jacques Klempf
admitted in a newspaper interview after the Cal-Maine Sale that he had known “the Cal-

Maine team” for “a long time” and that Cal-Maine “had made it known it wanted to be
involved if Klempf ever wanted to sell” the Company and that Jacques Klempf had

“reached out” to his friend, Dolph Baker, to initiate a sales transaction:

With the egg industry a small fraternity, Klempf said he
had known the Cal-Maine Foods team a long time. The
company had made it known it wanted to be involved if
Klempf ever wanted to sell Dixie Egg.

That time had come, Klempf said, because he did not have
a succession plan...

So he reached out to Cal-Maine Foods, led by friend Dolph
Baker, the CEO.

Daily Record, November 8, 2016; Jacques

Klempf on the Sale of Dixie Egg: “/ just
think the time is right.”

This is an example of the type of information which Jacques Klempf should have
disclosed pursuant to his fiduciary duty to Jean Klempf and the Trust prior to the
Redemption Sale so that Jean Klempf could have made an informed decision as to
whether to allow the redemption of the Trust’s stock upon the terms being proposed by
Jacques Klempf and Foodonics. Jacques Klempf failed to honor that duty to his mother
and her Trust.

29. In the Settlement and Redemption Agreement, Foodonics and Jacques
Klempf made the following so-called “representations and warranties” to Jean Klempf
and the Trust regarding the prospective sale of the Company after the Redemption
Closing:

10. Representations and Warranties.

(b) From the Foodonics Parties. ...

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(iit) The Foodonics Parties hereby jointly and
severally represent and warrant to the Seller that as of the
Closing Date: (i) there are no current offers pending nor
ongoing discussions: (A) for the sale of all or substantially
all of the assets of the Company; (B) for the sale by Jacques
of his stock in the Company or (C) to effect a merger, stock
exchange or other transaction which would have the effect
of either Jacques no longer holding a majority of the
outstanding shares of stock of the Company or the
Company no longer owning substantially all of the assets
that it currently owns (collectively referred to as a
“Realization Event’); (ii) the Foodonics Parties have not
received any written offers to effect a Realization Event within
the twelve (12) months prior to the date of this Agreement.

The representation that there were no “ongoing discussions” regarding the sale of
the Company was false -- Jacques Klempf and the President and CEO of Cal-Maine,
Dolph Baker were, in fact, having “ongoing discussions” with each other regarding the
possible sale of Foodonics to Cal-Maine. It was from these discussions that Jacques
Klempf knew that Cal-Maine was a ready, willing and able buyer of Foodonics as soon as
Jacques Klempf “wanted to sell.”

30. Moreover, Jacques Klempf admitted in an email dated January 6, 2017,
that “[iJn April 2015, I contacted Cal-Maine to see if they had an interest [in purchasing
Foodonics]” ... 9 months before the Redemption Sale.

31. ‘In addition, these “representations and warranties” were fraudulently
misleading because they were, at best, only deceptive “half-truths” -- a full disclosure of
the facts regarding the prospective sale of Foodonics’ assets would have disclosed all
material information which included: (i) Jacques Kiempf had considered and decided to
sell the Company before the Redemption Sale; (ii) Jacques Klempf had a ready, willing

and able buyer of the Foodonics’ assets waiting on standby; (iii) Jacques Klempf had

continuous discussions with Dolph Baker between 2009 and 2015 regarding a

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prospective sale of Foodonics to Cal-Maine which were not disclosed to Jean Klempf;
and (iv) Jacques Klempf had “reached out” to Cal-Maine before the Redemption Closing
to discuss the Cal-Maine Sale which was ultimately consummated on October 16, 2016.

32. Moreover, and in any event, these “representations and warranties” cannot
cure Jacques Klempf and Foodonics’ failure to disclose the foregoing material
information which was omitted in connection with the Redemption Sale. Instead, the
defendants had a duty to disclose these facts not only because they were necessary to
render other disclosures not misleading, but also because of the fiduciary duties of loyalty
and disclosure which they owed to the Trust particularly when, as here, a “closed
corporation” is redeeming its own stock. Had the defendants disclosed this omitted
material information, Jean Klempf and the Trust would not have agreed to the redemption
of the stock owned by the Jean Klempf Trust upon the terms proposed by Jacques
Klempf and Foodonics.

33. In addition to the foregoing, Jacques Klempf and Foodonics failed to
disclose material information in connection with the Redemption Sale relating to the
Company’s valuation that was subsequently disclosed by them to Cal-Maine in
connection with the Cal-Maine Sale. As reflected in Cal-Maine’s Form 10-Q filed with
the United States Securities and Exchange Commission, Cal-Maine determined the value
of Foodonics’ assets to be $71,643,000 “based on significant input that are not observable
in the markets”:

[T]he following table presents the preliminary fair value of
the assets acquired and liabilities assumed (in thousands):

Inventory $ 7,669
Property, plant and equipment 38,683
Intangible assets 24,000

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Liabilities assumed (2,005)

Total identifiable net assets 68,347
Goodwill 3,296
Purchase price 71,643
Deferred purchase price (3,000)
Cash consideration paid $68,643

These fair value measurements were primarily based on
significant input that are not observable in the markets.

Cal-Maine Foods, Inc., Quarterly
Report (Form 10-Q), at 9-10
(Dec. 22, 2016).

The “significant input” Cal-Maine received regarding the “fair value
measurement” of Foodonics’ assets was provided, in large part, from Jacques Klempf and
Foodonics which constituted material information which should have also been provided,
but was not, to Jean Klempf or her Trust in connection with the Redemption Sale. As a
result of the fraud and misconduct of Jacques Klempf and Foodonics, the Jean Klempf
Trust agreed to the redemption of its stock at an inopportune time and for far less than it

was worth.

Count One
(Violation of Florida Securities Act)

34. This is an action against Jacques Klempf and Foodonics for damages
based upon Sections 517.301 and 517.241, Florida Statutes, Florida’s Securities and
Investor Protection Act (the “Florida Securities Act”).

35. The Jean Klempf Trust realleges and incorporates by reference the
allegations set forth in paragraphs 1 through 33 of this complaint.

36. Section 517.301 of the Florida Securities Act provides that any person

(person is defined to include individuals or companies) who offers to buy or buys a

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security by means of an untrue statement of a material fact or an omission to state a
material fact necessary in order to make the statements made, in light of the
circumstances under which they are made, not misleading, is liable to the person
selling the security to him.

37. | The Foodonics’ stock held by the Jean Klempf Trust were securities
within the meaning of the Florida Securities Act.

38. | Foodonics’ redemption of the stock owned by the Jean Klempf Trust
was an offer to purchase and a purchase of that stock covered by the Florida
Securities Act.

39. As alleged above, Jacques Klempf and Foodonics violated Section
517.301 of the Florida Statutes in that, in connection with the offer, sale, or purchase
of any investment or security, they: (a) employed devices, schemes, or artifices to
defraud; (b) made untrue statements of material facts or omitted to state material facts
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or (c) engaged in practices or courses of
business which operated or would operate as a fraud or deceit upon any person, in
connection with the sale or redemption of securities by the Trust.

40. As alleged above, the statements or omissions of Jacques Klempf and
Foodonics were untrue or misleading or omitted to state material facts necessary to
make previously statements made, in light of the circumstances under which they
were made, not misleading. But for those misrepresentations and omissions, the Jean
Klempf Trust would not have allowed its stock to be redeemed on the terms and

conditions offered by Jacques Klempf and Foodonics.

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41. As alleged above, Jacques Klempf and Foodonics acted at all times
with scienter based on an intent to deceive, manipulate or defraud or, at a minimum,
negligence. This scienter was evidenced by, among other things, Foodonics and
Jacques Klempf’s breaches of fiduciary duty in withholding material information to
which the Trust was entitled.

42. The omitted or misrepresented facts, statements, presentations and
communications as alleged herein were material in that there was a substantial
likelihood that a reasonable shareholder would consider these facts, statements or
documents important in making decisions regarding the redemption or sale of the
stock owned by the Jean Klempf Trust.

43. The Jean Klempf Trust, in ignorance of the false and misleading
statements set forth herein and the deceptive and manipulative devices and
contrivances employed by Jacques Klempf and Foodonics, relied to its detriment on
such misleading statements and omissions.

44. As a result of Defendants’ untrue statements and omissions to state
material facts, the Jean Klempf Trust has been damaged in an amount exceeding
$23,200,000, exclusive of interests, fees, and other costs.

45. The Jean Klempf Trust was required to hire the undersigned attorneys
to prosecute this action. The Florida Securities Act provides that the Jean Klempf
Trust may recover its reasonable attorneys’ fees from the defendants.

46. Jacques Klempf was President of Foodonics, Chairman of its Board of
Directors and owned over 53% of the outstanding stock during the period relevant to

this action and is or was a control person under the Florida Securities Act who had

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fiduciary duties to the Trust and is jointly and severally liable with Foodonics for the
acts and omissions described above.

47. Jacques Klempf also materially aided Foodonics, as the buyer of the
Trust’s securities, in acquiring the Trust’s securities with an intent to deceive or
defraud or with reckless disregard for the truth or law, and is jointly and severally
liable as if he was the buyer of the Trust’s securities.

48. Pursuant to Section 517.211 of the Florida Statutes, every member,
officer, partner, or agent of Foodonics which personally participated or aided in
making the sale or purchase, is jointly and severally liable to Jean Klempf and the
Trust in an action for rescission or for damages.

49. Accordingly, Jacques Klempf is jointly and severally liable to the Jean
Klempf Trust for his participation or aiding in the purchase or sale of securities in
violation of Section 517.301, Florida Statutes.

WHEREFORE, the Jean Klempf Trust demands judgment against Jacques
Klempf and Foodonics, jointly and severally, in an amount exceeding $23,200,000,

together with interest, costs and attorneys’ fees.

Count Two
(Violation of § 10(b) of the Securities Exchange Act and Rule 10b-5)

50. This is an action against Jacques Klempf and Foodonics for damages
pursuant to 15 U.S.C. §78j and 17 C.F.R. § 240, 10b-5 (the “Federal Securities Act”).
51. The Jean Klempf Trust realleges and incorporates by reference the

allegations set forth in paragraphs | through 33 of this complaint.

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52. The Foodonics’ stock held by the Jean Klempt Trust were securities
within the meaning of the Federal Securities Act.

53. | Foodonics’ redemption of the stock owned by the Jean Klempf Trust
was an offer to purchase and a purchase of that stock covered by the Federal
Securities Act.

54. As alleged above, Jacques Klempf and Foodonics violated the Federal
Securities Act in that, in connection with the offer, sale, or purchase of any investment
or security, they: (a) employed devices, schemes, or artifices to defraud; (b) made
untrue statements of material facts or omitted to state material facts necessary in order
to make the statements made, in the light of the circumstances under which they were
made, not misleading; or (c) engaged in practices or courses of business which
operated or would operate as a fraud or deceit upon any person, in connection with
the sale or redemption of securities by the Trust.

55. As alleged above, the statements and omissions of Jacques Klempf and
Foodonics were untrue or misleading or omitted to state material facts necessary to
make previously statements made, in light of the circumstances under which they
were made, not misleading. But for those misrepresentations and omissions, the Jean
Klempf Trust would not have allowed its stock to be redeemed on the terms and
conditions offered by Jacques Klempf and Foodonics.

56. As alleged above, Jacques Klempf and Foodonics acted at all times
with scienter based on an intent to deceive, manipulate or defraud. This scienter was
evidenced by, among other things, Foodonics and Jacques Klempfs breaches of

fiduciary duty in withholding material information to which the Trust was entitled.

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57. The omitted or misrepresented facts, statements, presentations and
communications as alleged herein were material in that there was a substantial
likelihood that a reasonable shareholder would consider these facts, statements or
documents important in making decisions regarding the redemption or sale of the
stock owned by the Jean Klempf Trust.

58. The Jean Klempf Trust, in ignorance of the false and misleading
statements set forth herein and the deceptive and manipulative devices and
contrivances employed by Jacques Klempf and Foodonics, relied to its detriment on
such misleading statements and omissions.

59. The Jean Klempf Trust was required to hire the undersigned attorneys
to prosecute this action. The Federal Securities Act provides that the Jean Klempf
Trust may recover its reasonable attorneys’ fees from defendants.

60. As a direct and proximate result of Jacques Klempf’s wrongful
conduct, including violations of Section 10(b) of the Securities Exchange Act of
1934, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5,
plaintiff suffered economic losses and damages in connection with the investment of
their funds in an amount exceeding $23,200,000, exclusive of interest, attorneys’
fees, and other costs.

WHEREFORE, the Jean Klempf Trust demands judgment against Jacques
Klempf and Foodonics, jointly and severally, in an amount exceeding $23,200,000,

together with interest, costs and attorneys’ fees.

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Count Three
(Control Person Liability - § 20(a) of Securities Exchange Act)

61. This is an action against Jacques Klempf for damages pursuant to
Section 20(a) of the Securities Exchange Act of 1934, 15 U.S.C. § 78t(a).

62. The Jean Klempf Trust realleges and incorporates by reference the
allegations set forth in paragraphs | through 33 and 52 through 59 of this complaint.

63. Jacques Klempf acted as a control person within the meaning of
Section 20(a) of the Securities Exchange Act of 1934, of Foodonics by virtue of his
position as President of Foodonics and Chairman of its Board of Directors.

64. Jacques Klempf influenced, directed and controlled the actions,
misrepresentations, and omissions set forth herein.

65. By virtue of his position of authority, responsibility and control,
Jacques Klempf had the ability to direct the Redemption Sale and to prevent the
actions, misrepresentations and omissions set forth in this complaint.

66. Moreover, Jacques Klempf profited directly or indirectly from the
unwarranted and deceptive methods by which the Redemption Sale was conducted.

67. As a direct and proximate result of Jacques Klempf’s wrongful
conduct, including violations of Section 10(b) of the Securities Exchange Act of
1934, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-S, the Jean
Klempf Trust suffered economic losses and damages in connection with the
investment of their funds in an amount exceeding $23,200,000, exclusive of interest,

attorneys’ fees, and other costs.

[9
WHEREFORE, plaintiff demands judgment against Jacques Klempf in an

amount exceeding $23,200,000, together with interest, costs and attorneys’ fees.

Count Four
(Fraud)

68. This is an action for damages against Jacques Kiempf and Foodonics
for fraud.

69. The Jean Klempf Trust realleges and incorporates by reference the
allegations set forth in paragraphs | through 33 of this complaint.

70. As alleged herein, Jacques Klempf and Foodonics engaged in a
common plan, scheme, and unlawful course of conduct, pursuant to which they
knowingly or recklessly engaged in acts, practices, and courses of business which
operated as a fraud and deceit upon the Jean Klempf Trust by misrepresentations and
failing to disclose all information and material facts necessary to make a fully
informed decision in regard to the value of the Foodonics’ stock in connection with
the negotiation and consummation of the Settlement and Redemption Agreement.

71. The purpose and effect of this scheme, plan, and unlawful course of
conduct was, among other things, to misrepresent facts and conceal important
information affecting the value of the Company’s stock in order to induce the Jean
Klempf Trust to enter into the Settlement and Redemption Agreement with Jacques
Klempf and Foodonics.

72. Jacques Klempf and Foodonics, pursuant to this scheme, plan, and

unlawful course of conduct, knowingly and recklessly issued, caused to be issued, or

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participated in the preparation, issuance and distribution of deceptive and materially
false and misleading written and oral statements to the Jean Klempf Trust.

73. In addition, Jacques Klempf and Foodonics, pursuant to this scheme,
plan, and unlawful course of conduct, knowingly and recklessly withheld and failed to
disclose information material to the Redemption Sale.

74. The omitted or misrepresented facts, statements, presentations and
communications alleged in this complaint were material in that there is a substantial
likelihood that a reasonable investor would consider these omitted facts and
statements, and all related documents, important in the decision by the Jean Klempf
Trust to sell its shares to the defendants pursuant to the Settlement and Redemption
Agreement.

75. The Jean Klempf Trust, in ignorance of the false and misleading
statements set forth herein and the deceptive and manipulative devices and
contrivances employed by Jacques Klempf and Foodonics counter, relied to its
detriment on such misleading statements and omissions.

76. The Jean Klempf Trust has been damaged as a result of the wrongful
actions of the defendants in an amount exceeding $23,200,000, exclusive of interest,
fees and other costs.

WHEREFORE, the Jean Klempf Trust demands judgment against Jacques
Klempf and Foodonics, jointly and severally, in an amount exceeding $23,200,000,

together with interest, costs and attorneys’ fees.

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Count Five
(Negligent Misrepresentation)

77. This is an action for damages against Jacques Klempf and Foodonics
for negligent misrepresentation.

78. The Jean Klempf Trust realleges and incorporates by reference the
allegations set forth in paragraphs 1 through 33 and 70 through 75 of this complaint.

79. Jacques Klempf and Foodonics made false and material
misrepresentations and omissions or caused false and material misrepresentations or
omissions to be made to the Jean Klempf Trust in connection with the Redemption
Sale.

80. | Jacques Klempf and Foodonics knew or had reason to know that (i) the
representations were false at the time they were made, or (it) failed to make
reasonable inquiry into the truth or accuracy of the representations to the Jean
Klempf Trust or the omissions were material.

81. | The misrepresentations and omissions were material and were made for
the purpose of inducing the Jean Klempf Trust to allow the redemption of its stock by
Foodonics.

82. The misrepresentations and omissions induced the Trust to allow the
redemption of its securities and the Trust reasonably relied on the misrepresentations
and omissions to its detriment and would not have agreed to the redemption but for
these misrepresentations and omissions.

83. Asa result of these actions and omissions of Jacques Klempf and

Foodonics, the Jean Klempf Trust has been damaged.

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WHEREFORE, the Jean Klempf Trust demands judgment against Jacques
Klempf and Foodonics, jointly and severally, in an amount exceeding $23,200,000,
together with interest, costs and attorneys’ fees.

Count Six
(Breach of Fiduciary Duty of Disclosure)

84. This is an action against Jacques Klempf and Foodonics for damages
based on the breach of fiduciary duty of disclosure.

85. The Jean Klempf Trust realleges and incorporates by reference the
allegations set forth in paragraphs | through 33, 70 through 75 and 79 through 83 of
this complaint.

86. Jacques Klempf acted as acontrol person of Foodonics by virtue of his
position as President and Chairman of the Board of Foodonics.

87. Jacques Klempf influenced, directed and controlled the actions,
misrepresentations, and omissions set forth herein.

88. By virtue of his position of authority, responsibility and control,
Jacques Klempf had the ability to direct the purchase or redemption of securities by
Foodonics and to prevent the actions, misrepresentations and omissions set forth in
this complaint.

89. Moreover, Jacques Klempf profited directly or indirectly from the
unwarranted and deceptive methods by which Foodonics purchased securities from
the Jean Klempf Trust, including withholding of important information affecting the

value of the Company’s stock.

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90. Jacques Klempf and Foodonics had actual knowledge of the omissions
of material fact set forth herein, or acted with disregard for the truth in that they failed
to disclose true facts, even though such facts were known to them.

91. Jacques Klempf and Foodonics’ misrepresentations and omissions were
made for the purpose of enriching themselves at the expense of the Jean Klempf
Trust.

92. The Jean Klempf Trust justifiably relied upon the representations and
omissions of Jacques Klempf and Foodonics in its decision to sell its shares of
Foodonics’ stock pursuant to the Settlement and Redemption Agreement.

93. The Jean Klempf Trust would not have sold its shares of Foodonics’
stock pursuant to the Settlement and Redemption Agreement but for the
misrepresentations and omissions of Jacques Klempf and Foodonics, which
proximately caused the Jean Klempf Trust’s damages.

94. Because Jacques Klempf and Foodonics owed the Jean Klempf Trust
fiduciary duties, a presumption of unfairness attaches to the redemption -- a presumption
which cannot be overcome unless the defendants show that (i) the transaction in question
was fair and equitable to the Trust; (ii) the defendants made reasonable use of the
confidence placed in them by the Trust; (iii) the defendants acted in the utmost good faith
and exercised the most scrupulous honesty toward the Trust; (iv) the defendants placed
the Trust’s interest before theirs and did not use the advantage of their position to gain
any benefit for themselves at the Trust’s expense; (v) the defendants did not place

themselves in any position in which their self-interest might conflict with their

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obligations to the Trust as fiduciaries; and (vi) the defendants fully and fairly disclosed
all important information to the Trust concerning the redemption.

95. Asadirect and proximate result of the wrongful conduct of Jacques
Klempf and Foodonics, the Jean Klempf Trust suffered economic losses and
damages in connection with the investment of their funds in an amount exceeding
$23,200,000, exclusive ofinterest, attorneys’ fees, and other costs.

WHEREFORE, the Jean Klempf Trust demands judgment against Jacques
Klempf and Foodonics, jointly and severally, in an amount exceeding $23,200,000,
together with interest, costs and attorneys’ fees.

Count Seven
(Breach of Fiduciary Duty of Loyalty)

96. ‘This is an action against Jacques Klempf and Foodonics for damages
based upon breach of the fiduciary duty of loyalty.

97. The Jean Klempf Trust realleges and incorporates by reference the
allegations set forth in paragraph | through 33, 70 through 75, and 79 through 83 of
this complaint.

98. Jacques Klempf acted as acontrol person of Foodonics by virtue of his
position as President and Chairman of the Board of Foodonics.

99. Jacques Klempf influenced, directed and controlled the actions,
misrepresentations, and omissions set forth herein.

100. By virtue of his position of authority, responsibility and control,

Jacques Klempf had the ability to direct the purchase or redemption of securities by

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Foodonics and to prevent the actions, misrepresentations and omissions set forth in
this complaint.

101. Moreover, Jacques Klempf profited directly or indirectly from the
unwarranted and deceptive methods by which Foodonics purchased securities from
the Jean Klempf Trust, including withholding of important information affecting the
value of the Company’s stock.

102. Jacques Klempf and Foodonics had actual knowledge of the omissions
of material fact set forth herein, or acted with disregard for the truth in that they failed
to disclose true facts, even though such facts were known to them.

103. Jacques Klempf and Foodonics’ misrepresentations and omissions were
made for the purpose of enriching themselves at the expense of the Jean Klempf
Trust.

104. The Jean Klempf Trust justifiably relied upon the representations and
omissions of Jacques Klempf and Foodonics in its decision to sell its shares of
Foodonics’ stock pursuant to the Settlement and Redemption Agreement.

105. The Jean Klempf Trust would not have sold its shares of Foodonics’
stock pursuant to the Settlement and Redemption Agreement but for the
misrepresentations and omissions of Jacques Klempf and Foodonics, which
proximately caused the Jean Klempf Trust’s damages.

106. Because Jacques Klempf and Foodonics owed the Jean Klempf Trust
fiduciary duties, a presumption of unfairness attaches to the redemption -- a
presumption which cannot be overcome unless the defendants show that (i) the

transaction in question was fair and equitable to the Trust; (ii) the defendants made

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reasonable use of the confidence placed in them by the Trust; (iii) the defendants
acted in the utmost good faith and exercised the most scrupulous honesty toward the
Trust; (iv) the defendants placed the Trust’s interest before theirs and did not use the
advantage of their position to gain any benefit for themselves at the Trust’s expense;
(v) the defendants did not place themselves in any position in which their self-interest
might conflict with their obligations to the Trust as fiduciaries; and (vi) the
defendants fully and fairly disclosed all important information to the Trust concerning
the redemption.

107. As a direct and proximate result of the wrongful conduct of Jacques
Klempf and Foodonics, the Jean Klempf Trust suffered economic losses and
damages in connection with the investment of their funds in an amount exceeding
$23,200,000, exclusive of interest, attorneys’ fees, and other costs.

WHEREFORE, the Jean Klempf Trust demands judgment against Jacques
Klempf and Foodonics, jointly and severally, in an amount exceeding $23,200,000,

together with interest, costs and attorneys’ fees.

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Demand for Jury Trial

Plaintiff demands a trial by jury as to all facts and issues so triable.

SMITH HULSEY & BUSEY

By:___ /s/ James H. Post
James H. Post

Florida Bar Number 175460
225 Water Street, Suite 1800
Jacksonville, Florida 32202
(904) 359-7700

(904) 359-7708 (facsimile)
jpost@smithhulsey.com
khettinger@smithhulsey.com

Attorneys for Dennis L. Blackburn, as
Special Trustee of the Klempf Trust

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TAB 2
Klempf Trust v. Jacques Klempf/Foodonics

Schedule of Requests for Production/Subpoenas Duces Tecum

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1, Jacques Klempf Jacksonville

2. Foodonics International, Inc. Jacksonville

3. Cal-Maine Foods, Inc. - (Fla. Registered Agent) | Plantation, FL (RA)

4, Adolphus B. Baker Jackson, Mississippi

5. Paul Stevenson Jacksonville

6. John Reece Jacksonville

7. Andy Bowers Jacksonville

8. Dick Still Jacksonville

9 GrayRobinson, P.A. Orlando

10. Stevens, Powell & Company, P.A. Jacksonville

11. | John P. Stevens Jacksonville

12. Sheldrick, McGehee & Kohler, LLC Jacksonville

13. | Jess W. Wright Jacksonville

14. | GlassRatner Advisory & Capital Group, LLC-— | Palm Beach Gardens (RA)
(Fla. Registered Agent)

15, Tan Ratner Atlanta, GA

16. | First Florida Capital Corporation Jacksonville

17. | Robert Monsky Ponte Vedra Beach

18. BAM Investment Group, LLC Jacksonville

19. | BAM Commercial Holdings, LLC Jacksonville

20. BAM Residential Holdings, LLC Jacksonville

 

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TAB 3
IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.

DENNIS L. BLACKBURN, as Special )
Trustee of the Laura Jean Klempf Trust,

Plaintiff,
Vv.

K. JACQUES KLEMPF and
FOODONICS INTERNATIONAL, INC., _ )

Defendants. )

)

PLAINTIFF’S REQUEST FOR PRODUCTION
TO DEFENDANT K. JACQUES KLEMPF

Plaintiff, Dennis L. Blackburn, as Special Trustee of the Laura Jean Klempf Trust
dated April 1, 1992 (the “Laura Jean Klempf Trust” or the “Trust”), pursuant to Rule
1.350, Florida Rules of Civil Procedure, requests that defendant, K. Jacques Klempf
(“Jacques”) produce for inspection and copying the documents and electronically stored
information described below at the law offices of Smith Hulsey & Busey, 225 Water
Street, Suite 1800, Jacksonville, Florida 32202, within 30 days of the date of service of
this request.

Definitions

As used herein:

l. “Cal-Maine” refers to Cal-Maine Foods, Inc., its officers, directors,
affiliates, subsidiaries, employees, agents, attorneys, and representatives.
2. The “Cal-Maine Sale” refers to the sale of the Assets of Foodonics to Cal-
Maine on or about October 16, 2016.

3. “Document(s)” shall mean anything other than ESI that may be considered
to be a document or tangible thing within the meaning of Florida Rule of Civil Procedure
1.350, including all written, typed, printed, recorded, or graphic matter of every type and
description, however and by whomever prepared, produced, reproduced, disseminated or
made, in any form, now or formerly in the possession, custody, or control of you, its
officers, agents, employees, and attorneys, or any of them, including, but not limited to
letters, correspondence, telegrams, memoranda, agreements, intra- and inter-office
communications, purchase orders, requisitions, plans, studies, summaries, analyses, result
of investigations, reviews, bulletins, proposals, estimates, appraisals, recommendations,
critiques, trip records, engineering calculations, bills of materials, drawings, sketches,
blueprints, charts, notices, diaries, books, desk calendars, appointment books, messages,
instructions, work assignments, notes, notebooks, drafts, data sheets, specifications,
statistical records, tapes, tape recordings, partial or complete reports of telephone
conversations, photographs, slides, public statements, newspaper or other media releases,
public and governmental filings, opinions, and any other writings, drawings, or
recordings. If any document was, but is no longer in plaintiff's possession or subject to
its control, identify the document.

4, “Dolph Baker” refers to Adolphus B. Baker, Chairman, Chief Executive
Officer and President of Cal-Maine Foods, Inc., his employees, agents, entities, affiliates,
attorneys, and representatives.

5 “ESI” means electronically stored information in all forms in which it is
stored and communicated, and has the same meaning as in Rule 1.280(b)(3), Florida
Rules of Civil Procedure. ESI specifically includes emails, word processing files,
electronic documents, spreadsheets, presentations, databases, images, movies, audio files,
voicemails, text messages, and any other information stored on any computer, laptop,
tablet, cell phone, smartphone, external hard drive USB drive, cd drive, dvd drive,
backup drive, SharePoint site, file server, or in any remote or “cloud”-based system or
location, including Dropbox. ESI specifically includes all of the following electronic file
types: *.msg, *.pst, *.eml, * jpg, *.tif, *.gif, *.mov, *.mpg, *.mpeg, *.wmy, *.avi, *.wav,
* mp3, *.doc, *.docx, *.wpd, *.xls, *.xlsx, *.ppt, *.pptx, *.mdb and * pdf. ESI also
includes social media data, including information stored by you or communicated by you
through Facebook, Twitter, LinkedIn, Skype and blogs. ESI also includes business or
personal email accounts such as Yahoo Mail, Gmail, Hotmail, Outlook.com, AOL mail
and other web-based email services.

6. ‘Financial Statement” shall refer to any record of the financial activities of
a business, person, or other entity, including, but not limited to, income statements,
balance sheets, statements of financial positions, profit and loss reports, statements of
revenue and expense, cash flow statements, audited financial statements, and
compilations of financial information.
7. “Foodonics” refers to Defendant Foodonics International, Inc. doing
business as Dixie Egg Co., its officers, directors, affiliates, subsidiaries, employees,
agents, attorneys, and representatives.

8. “Foodonics’ Assets” or “Assets” shall refer to any or all of the assets of
Foodonics in existence between January 1, 2009 and December 31, 2016 including, but
not limited to, (i) the egg production assets of Foodonics and its related entities and/or (ii)
Foodonics’ interest in American Egg Products, LLC and the Egg-Land’s Best franchise
with licensing rights for portions of certain markets in Alabama, Florida, and Georgia as
well as Puerto Rico, Bahamas and Cuba.

9. “Foodonics’ Stock” or “Stock” refers to all Class A Voting Shares and

Class B Non-Voting Shares of Foodonics in existence between January 1, 2009 and
December 31, 2016.

10. “Laura Jean Klempf” refers to Laura Jean Klempf, her employees, agents,
entities, affiliates, attorneys and representatives.

11. “Mare Klempf” refers to Marc E. Klempf, his employees, agents, entities,
affiliates, attorneys, and representatives.

12. The “Redemption Sale” refers to the redemption transaction on the
Settlement and Redemption Agreement which was closed on December 31, 2015.

13, “Relate to” and “relating to” mean to make a statement about, refer to,
discuss, describe, reflect, contain, comprise, identify, or in any way to pertain to, in
whole or in part, or otherwise to be used, considered, or reviewed in any way in
connection with, the specified subject. Thus, documents that “relate to” a subject also
include those which were specifically rejected and those which were not relied or acted
upon.

14. The “Settlement and Redemption Agreement” refers to the Settlement and
Redemption Agreement entered into as of December 21, 2005 by and among Foodonics;
Jacques Klempf; Laura Jean Klempf, individually; Laura Jean Klempf, in her capacity as
Trustee of, and on behalf of, the Laura Jean Klempf Revocable Trust dated April 1, 1992,
as Amended (the “Seller’”); Jacques Klempf and Laura Jean Klempf as Trustees of the
Family Trust under the Edward Klempf Revocable Trust Agreement dated April 1, 1992;
Dina Klempf Srochi; and Marc Klempf.

15. “Trust” or “Plaintiff” refers to Dennis L. Blackburn, as Special Trustee of
the Laura Jean Klempf Trust dated April 1, 1992.

16. “You” or “Your” refers to Defendant K. Jacques Klempf, his employees,
agents, entities, affiliates, attorneys, and representatives.
17. Unless otherwise specified, the requests contained in this request for
production of documents are limited to documents authored, created, received, revised or

sent from January 1, 2009 until the date that this request for production of documents was
served.
Instructions

1, These discovery requests are continuing in nature so as to require You to
file supplementary responses if You obtain new or different information up to and
including the time of trial of this action.

2. Pursuant to Rule 1.280(b)(6) of the Florida Rules of Civil Procedure, in
the event that any document called for by a request is withheld by You on the basis of
claim of privilege, please identify that document by stating: (a) any addressor or
addressee, (b) matter, number of pages, and attachments or appendices, (c) all persons to
whom the document was distributed, shown or explained, (d) its present custodian, and
(e) the nature of the privilege asserted.

3. If any responsive document is no longer in existence, cannot be located, or
is not in Your possession, custody, or control, identify it, describe its subject matter, and
describe its disposition, including, without limitation, identifying the person having
knowledge of the disposition.

4. In each of Your responses to these discovery requests, You are requested
to provide not only such information as is in Your possession, but all information as is
reasonably available. In the event that You are able to provide only part of the
information called for by any document request, please provide all of the information
You are able to provide and state the reason for Your inability to provide the remainder.

5. Produce ESI in native or near-native format, and do not convert ESI to an
imaged format (e.g., *.TIF or *.PDF). Native format requires production in the same
format in which the ESI was customarily created, used and stored by you. Near-native
format requires production of native format ESI so that the content and metadata are
electronically accessible. If the native or near-native format is not compatible with a
Microsoft Office Suite software program or application, you should provide a description
of a software program or application that may be used to access and view the ESI.

6. Documents should be produced in searchable *.PDF format with logical
unitization and family relationships preserved.

7. No potentially discoverable information contained on your computer
systems should be deleted or modified and procedures that may affect such data should
not be performed unless all potentially discoverable data has been copied and preserved.
The data to be preserved includes not just active data, but archival, backup and residual
data.

8. All drafts or versions of documents and ESI should be produced in
addition to the final document or ESI. All documents and ESI containing written
notations, comments, edits or marginalia, or which are in any way different from the
original should be produced in addition to the original.
9. In response to this request, You are required to furnish all information and
documents in Your possession, custody or control, or in the possession, custody or
control of Your past or present agents, attorneys, accountants, advisors, employees, or
any other persons acting on Your behalf.

Documents and ESI Requested

l. All Documents and ESI exchanged, sent or delivered between You and/or

Foodonics, on the one hand, and Dolph Baker and/or Cal-Maine, on the other hand,

including, but not limited to:

a.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the Cal-Maine Sale.

All documents or ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker referring or relating to the
Settlement and Redemption Agreement.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker referring or relating to Laura Jean
Klempf or the Trust.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the value of Foodonics’
Assets or Foodonics’ Stock.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the sale of Foodonics’
Assets or Foodonics’ Stock.

All Documents and ESI constituting any Foodonics’ financial
information provided by or on behalf of You and/or Foodonics to
Cal-Maine and/or any of its representatives, agents, officers or
directors.

2. Any and all closing documents and other agreements relating to the Cal-

Maine Sale.

3, All Documents and ESI in the possession of You or Foodonics relating to

or containing any representations or estimates made by You or Foodonics to any person
or entity regarding the value of Foodonics’ Stock or Foodonics’ Assets from January 1,
2009 through the date of production.

4. All Documents and ESI in the possession of You or Foodonics to any
person or entity relating to the value of Foodonics’ Stock from January 1, 2009 through
the date of production.

5. All Documents and ESI relating to any proposals, offers or discussions
You or Foodonics had with any person or entity regarding any possible purchase or sale
of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents and ESI that You or Foodonics sent to or received from
Marc Klempf relating to Cal-Maine or Dolph Baker.

7. All Documents and ESI that You or Foodonics sent to or received from
Marc Klempf relating to the value of Foodonics’ Assets or Foodonics’ Stock.

8. All Documents and ESI that You or Foodonics sent to or received from
Marc Klempf relating to the sale of Foodonics’ Assets or Foodonics’ Stock.

9. All Documents or ESI You or Foodonics sent to or received from Marc
Klempf referring or relating to the Settlement and Redemption Agreement.

10. All Documents or ESI You or Foodonics sent to or received from Marc
Klempf referring or relating to Laura Jean Klempf from September 1, 2008 to date.

11. All Documents and ESI You or Foodonics sent to or received from Marc
Klempf referring or relating to the Cal-Maine Sale.

12. All Documents and ESI that You or Foodonics sent to or received from

Laura Jean Klempf or the Trust relating to Cal-Maine or Dolph Baker.
13. All Documents and ESI that You or Foodonics sent to or received from
Laura Jean Klempf or the Trust relating to the value of Foodonics’ Assets or Foodonics’
Stock,

14. All Documents and ESI that You or Foodonics sent to or received from
Laura Jean Klempf or the Trust relating to the sale of Foodonics’ Assets or Foodonics’
Stock.

15. All Documents or ESI that You or Foodonics sent to or received from
Laura Jean Klempf or the Trust referring or relating to the Settlement and Redemption
Agreement.

16. All Documents or ESI You or Foodonics sent to or received from Laura
Jean Klempf or the Trust referring or relating to the Cal-Maine Sale.

17. All Documents or ESI You or Foodonics sent to Laura Jean Klempf from
September 1, 2008 to date.

18. All Documents and ESI that You or Foodonics sent to or received from
Jan Ratner relating or referring to (i) the value of Foodonics’ Assets or Foodonics’ Stock
and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

19. All Documents and ESI that You or Foodonics sent to or received from
GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

20. All Documents and ESI that You or Foodonics sent to or received from
Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or Foodonics’

Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.
21. All Documents and ESI that You or Foodonics sent to or received from
Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

22. All Documents and ESI that You or Foodonics sent to or received from
John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

23. All Documents and ESI that You or Foodonics sent to or received from
Stevens, Powell & Company, P.A. relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

24. All Documents and ESI that You or Foodonics sent to or received from
Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

25. All Documents and ESI that You or Foodonics sent to or received from
First Florida Capital Corporation relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

26. All Documents and ESI that You or Foodonics sent to or received from
GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption
Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Cal-Maine or Dolph Baker (iv) the
Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi) any

potential sale of Foodonics’ Assets or Foodonics’ Stock.
27. All Documents and ESI constituting, referring or relating to any Financial
Statement prepared by or for You and delivered to any third party including, but not
limited to, financial institutions, potential purchasers of Foodonics or the like, during the
period January 1, 2012 through January 1, 2017.

28. All Documents and ES] constituting, referring or relating to any personal
Financial Statement prepared by or for Foodonics and delivered to any third party
including, but not limited to, financial institutions, potential purchasers of Foodonics or
the like, during the period January 1, 2012 through January 1, 2017.

29, All Documents and ESI constituting any Financial Statement prepared by
or for You and/or Foodonics where such Financial Statement identifies, refers or relates
to the value of Foodonics’ Stock of Foodonics’ Assets.

30. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (iii) BAM Investment Group, LLC.

31. All general ledgers for Foodonics for the years 2012 through the date of
production.

32. All corporate minutes for Foodonics for the years 2012 through the date of

production.

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SMITH HULSEY & BUSEY

By:__/s/ James H. Post
James H. Post

Florida Bar Number 175460
225 Water Street, Suite 1800
Jacksonville, Florida 32202
(904) 359-7700

(904) 359-7708 (facsimile)
jpost@smithhulsey.com

Attorneys for Dennis L. Blackburn, as
Special Trustee of the Klempf Trust
TAB 4
IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.

DENNIS L. BLACKBURN, as Special )
Trustee of the Laura Jean Klempf Trust,

Plaintiff,
V.

K. JACQUES KLEMPF and
FOODONICS INTERNATIONAL, INC., _ )

Defendants. )

)

PLAINTIFF’S REQUEST FOR PRODUCTION
TO DEFENDANT FOODONICS INTERNATIONAL, INC,

Plaintiff, Dennis L. Blackburn, as Special Trustee of the Laura Jean Klempf Trust
dated April 1, 1992 (the “Laura Jean Klempf Trust” or the “Trust”), pursuant to Rule
1.350, Florida Rules of Civil Procedure, requests that defendant, Foodonics International,
Inc. (“Foodonics”) produce for inspection and copying the documents and electronically
stored information described below at the law offices of Smith Hulsey & Busey, 225
Water Street, Suite 1800, Jacksonville, Florida 32202, within 30 days of the date of

service of this request.
Definitions
As used herein:

I. “Cal-Maine” refers to Cal-Maine Foods, Inc., its officers, directors,
affiliates, subsidiaries, employees, agents, attorneys, and representatives.

2. The “Cal-Maine Sale” refers to the sale of the Assets of Foodonics to Cal-
Maine on or about October 16, 2016.

oF “Document(s)” shall mean anything other than ESI that may be considered
to be a document or tangible thing within the meaning of Florida Rule of Civil Procedure
1.350, including all written, typed, printed, recorded, or graphic matter of every type and
description, however and by whomever prepared, produced, reproduced, disseminated or
made, in any form, now or formerly in the possession, custody, or control of you, its
officers, agents, employees, and attorneys, or any of them, including, but not limited to
letters, correspondence, telegrams, memoranda, agreements, intra- and_ inter-office
communications, purchase orders, requisitions, plans, studies, summaries, analyses, result
of investigations, reviews, bulletins, proposals, estimates, appraisals, recommendations,
critiques, trip records, engineering calculations, bills of materials, drawings, sketches,
blueprints, charts, notices, diaries, books, desk calendars, appointment books, messages,
instructions, work assignments, notes, notebooks, drafts, data sheets, specifications,
statistical records, tapes, tape recordings, partial or complete reports of telephone
conversations, photographs, slides, public statements, newspaper or other media releases,
public and governmental filings, opinions, and any other writings, drawings, or
recordings. If any document was, but is no longer in plaintiff’s possession or subject to
its control, identify the document.

4. “Dolph Baker” refers to Adolphus B. Baker, Chairman, Chief Executive
Officer and President of Cal-Maine Foods, Inc., his employees, agents, entities, affiliates,
attorneys, and representatives.

5. “ESI” means electronically stored information in all forms in which it is
stored and communicated, and has the same meaning as in Rule 1.280(b)(3), Florida
Rules of Civil Procedure. ESI specifically includes emails, word processing files,
electronic documents, spreadsheets, presentations, databases, images, movies, audio files,
voicemails, text messages, and any other information stored on any computer, laptop,
tablet, cell phone, smartphone, external hard drive USB drive, cd drive, dvd drive,
backup drive, SharePoint site, file server, or in any remote or “cloud”-based system or
location, including Dropbox. ESI specifically includes all of the following electronic file
types: *.msg, *.pst, *.eml, * jpg, *.tif, *.gif, *.mov, *.mpg, *.mpeg, *.wmvy, *.avi, *.wav,
* mp3, *.doc, *.docx, *.wpd, *.xls, *.xlsx, *.ppt, *.pptx, *.mdb and *.pdf. ESI also
includes social media data, including information stored by you or communicated by you
through Facebook, Twitter, LinkedIn, Skype and blogs. ESI also includes business or
personal email accounts such as Yahoo Mail, Gmail, Hotmail, Outlook.com, AOL mail
and other web-based email services.

6. “Financial Statement” shall refer to any record of the financial activities of
a business, person, or other entity, including, but not limited to, income statements,
balance sheets, statements of financial positions, profit and loss reports, statements of
revenue and expense, cash flow statements, audited financial statements, and
compilations of financial information.

7. “Foodonics’ Assets” or “Assets” shall refer to any or all of the assets of
Foodonics in existence between January 1, 2009 and December 31, 2016 including, but
not limited to, (i) the egg production assets of Foodonics and its related entities and/or (ii)
Foodonics’ interest in American Egg Products, LLC and the Egg-Land’s Best franchise
with licensing rights for portions of certain markets in Alabama, Florida, and Georgia as
well as Puerto Rico, Bahamas and Cuba.

8. “Foodonics’ Stock” or “Stock” refers to all Class A Voting Shares and
Class B Non-Voting Shares of Foodonics in existence between January 1, 2009 and
December 31, 2016.

9. “Jacques Klempf” refers to Defendant K. Jacques Klempf, his employees,
agents, entities, affiliates, attorneys, and representatives.

10. “Laura Jean Klempf” refers to Laura Jean Klempf, her employees, agents,
entities, affiliates, attorneys and representatives.

11. “Mare Klempf” refers to Marc E. Klempf, his employees, agents, entities,
affiliates, attorneys, and representatives.

12. The “Redemption Sale” refers to the redemption transaction on the
Settlement and Redemption Agreement which was closed on December 31, 2015.

13, “Relate to” and “relating to” mean to make a statement about, refer to,
discuss, describe, reflect, contain, comprise, identify, or in any way to pertain to, in
whole or in part, or otherwise to be used, considered, or reviewed in any way in
connection with, the specified subject. Thus, documents that “relate to” a subject also
include those which were specifically rejected and those which were not relied or acted
upon.

14. The “Settlement and Redemption Agreement” refers to the Settlement and
Redemption Agreement entered into as of December 21, 2005 by and among Foodonics;
Jacques Klempf; Laura Jean Klempf, individually; Laura Jean Klempf, in her capacity as
Trustee of, and on behalf of, the Laura Jean Klempf Revocable Trust dated April 1, 1992,
as Amended (the “‘Seller”); Jacques Klempf and Laura Jean Klempf as Trustees of the
Family Trust under the Edward Klempf Revocable Trust Agreement dated April 1, 1992;
Dina Klempf Srochi; and Marc Klempf.

15. “Trust” or “Plaintiff” refers to Dennis L. Blackburn, as Special Trustee of
the Laura Jean Klempf Trust dated April 1, 1992.

16. “You,” “Your” or “Foodonics” refers to Defendant Foodonics
International, Inc. doing business as Dixie Egg Co., its officers, directors, affiliates,
subsidiaries, employees, agents, attorneys, and representatives.

ie Unless otherwise specified, the requests contained in this request for
production of documents are limited to documents authored, created, received, revised or
sent from January 1, 2009 until the date that this request for production of documents was
served.
Instructions

1. These discovery requests are continuing in nature so as to require You to
file supplementary responses if You obtain new or different information up to and
including the time of trial of this action.

2. Pursuant to Rule 1.280(b)(6) of the Florida Rules of Civil Procedure, in
the event that any document called for by a request is withheld by You on the basis of
claim of privilege, please identify that document by stating: (a) any addressor or
addressee, (b) matter, number of pages, and attachments or appendices, (c) all persons to
whom the document was distributed, shown or explained, (d) its present custodian, and
(e) the nature of the privilege asserted.

3. If any responsive document is no longer in existence, cannot be located, or
is not in Your possession, custody, or control, identify it, describe its subject matter, and
describe its disposition, including, without limitation, identifying the person having
knowledge of the disposition.

4. In each of Your responses to these discovery requests, You are requested
to provide not only such information as is in Your possession, but all information as is
reasonably available. In the event that You are able to provide only part of the
information called for by any document request, please provide all of the information
You are able to provide and state the reason for Your inability to provide the remainder.

5. Produce ESI in native or near-native format, and do not convert ESI to an
imaged format (e.g., *.TIF or *.PDF). Native format requires production in the same
format in which the ESI was customarily created, used and stored by you. Near-native
format requires production of native format ESI so that the content and metadata are
electronically accessible. If the native or near-native format is not compatible with a
Microsoft Office Suite software program or application, you should provide a description
of a software program or application that may be used to access and view the ESI.

6. Documents should be produced in searchable *.PDF format with logical
unitization and family relationships preserved.

7. No potentially discoverable information contained on your computer
systems should be deleted or modified and procedures that may affect such data should
not be performed unless all potentially discoverable data has been copied and preserved.
The data to be preserved includes not just active data, but archival, backup and residual
data.

8. All drafts or versions of documents and ESI should be produced in
addition to the final document or ESI. All documents and ESI containing written
notations, comments, edits or marginalia, or which are in any way different from the
original should be produced in addition to the original.
9.

1.

In response to this request, You are required to furnish all information and
documents in Your possession, custody or control, or in the possession, custody or
control of Your past or present agents, attorneys, accountants, advisors, employees, or
any other persons acting on Your behalf.

Documents and ESI Requested

All Documents and ESI exchanged, sent or delivered between You and/or

Jacques Klempf, on the one hand, and Dolph Baker and/or Cal-Maine, on the other hand,

including, but not limited to:

2

Maine Sale.

a.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the Cal-Maine
Sale.

All documents or ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker referring or relating to
the Settlement and Redemption Agreement.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker referring or relating to
Laura Jean Klempf or the Trust.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the value of
Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the sale of
Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI constituting any Foodonics’ financial
information provided by or on behalf of You and/or Jacques
Klempf to Cal-Maine and/or any of its representatives, agents,
officers or directors.

Any and all closing documents and other agreements relating to the Cal-
3. All Documents and ESI in the possession of You or Jacques Klempf
relating to or containing any representations or estimates made by You or Jacques
Klempf to any person or entity regarding the value of Foodonics’ Stock or Foodonics’
Assets from January 1, 2009 through the date of production.

4. All Documents and ESI in the possession of You or Jacques Klempf to
any person or entity relating to the value of Foodonics’ Stock from January 1, 2009
through the date of production.

5. All Documents and ESI relating to any proposals, offers or discussions
You or Jacques Klempf had with any person or entity regarding any possible purchase or
sale of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents and ESI that You or Jacques Klempf sent to or received
from Marc Klempf relating to Cal-Maine or Dolph Baker.

7. All Documents and ESI that You or Jacques Klempf sent to or received
from Marc Klempf relating to the value of Foodonics’ Assets or Foodonics’ Stock.

8. All Documents and ESI that You or Jacques Klempf sent to or received
from Marc Klempf relating to the sale of Foodonics’ Assets or Foodonics’ Stock.

9. All Documents or ESI You or Jacques Klempf sent to or received from
Marc Klempf referring or relating to the Settlement and Redemption Agreement.

10. All Documents or ESI You or Jacques Klempf sent to or received from
Marc Klempf referring or relating to Laura Jean Klempf from September 1, 2008 to date.

11. All Documents and ESI You or Jacques Klempf sent to or received from

Marc Klempf referring or relating to the Cal-Maine Sale.
12. All Documents and ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust relating to Cal-Maine or Dolph Baker.

13. All Documents and ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust relating to the value of Foodonics’ Assets or
Foodonics’ Stock.

14. All Documents and ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust relating to the sale of Foodonics’ Assets or
Foodonics’ Stock.

15. All Documents or ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust referring or relating to the Settlement and
Redemption Agreement.

16. All Documents or ESI You or Jacques Klempf sent to or received from
Laura Jean Klempf or the Trust referring or relating to the Cal-Maine Sale.

Io All Documents or ESI You or Jacques Klempf sent to Laura Jean Klempf
from September 1, 2008 to date.

18, All Documents and ESI that You or Jacques Klempf sent to or received
from Jan Ratner relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

19. All Documents and ESI that You or Jacques Klempf sent to or received
from GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets

or Foodonics’ Stock.
20. All Documents and ESI that You or Jacques Klempf sent to or received
from Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

21. All Documents and ES] that You or Jacques Klempf sent to or received
from Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of
Foodonies’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

22. All Documents and ESI that You or Jacques Klempf sent to or received
from John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

23. All Documents and ESI that You or Jacques Klempf sent to or received
from Stevens, Powell & Company, P.A. relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

24. All Documents and ESI that You or Jacques Klempf sent to or received
from Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

25. All Documents and ESI that You or Jacques Klempf sent to or received
from First Florida Capital Corporation relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

26. All Documents and ESI that You or Jacques Klempf sent to or received

from GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption
Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Cal-Maine or Dolph Baker (iv) the
Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi) any
potential sale of Foodonics’ Assets or Foodonics’ Stock.

27. All Documents and ESI constituting, referring or relating to any Financial
Statement prepared by or for You and delivered to any third party including, but not
limited to, financial institutions, potential purchasers of Foodonics or the like, during the
period January 1, 2012 through January 1, 2017.

28. All Documents and ESI constituting, referring or relating to any personal
Financial Statement prepared by or for Jacques Klempf and delivered to any third party
including, but not limited to, financial institutions, potential purchasers of Foodonics or
the like, during the period January 1, 2012 through January 1, 2017.

29. All Documents and ESI constituting any Financial Statement prepared by
or for You and/or Jacques Klempf where such Financial Statement identifies, refers or
relates to the value of Foodonics’ Stock of Foodonics’ Assets.

30. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (iii) BAM Investment Group, LLC.

31. All general ledgers for Foodonics for the years 2012 through the date of
production.

32. All corporate minutes for Foodonics for the years 2012 through the date of

production.

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SMITH HULSEY & BUSEY

By:__/s/ James H. Post
James H. Post

Florida Bar Number 175460
225 Water Street, Suite 1800
Jacksonville, Florida 32202
(904) 359-7700

(904) 359-7708 (facsimile)
jpost@smithhulsey.com

Attorneys for Dennis L. Blackburn, as
Special Trustee of the Klempf Trust

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TAB 5
IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.

DENNIS L. BLACKBURN, as Special )
Trustee of the Laura Jean Klempf Trust,

Plaintiff,
Vv.

K. JACQUES KLEMPF and
FOODONICS INTERNATIONAL, INC., _ )

Defendants. )

)

NOTICE OF TAKING VIDEOTAPED DEPOSITION
DUCES TECUM OF CAL-MAINE FOODS, INC.

Please take notice that at 9:00 a.m. on , 2017, atthe officesof
, plaintiff, Dennis L.
Blackburn, as Special Trustee of the Laura Jean Klempf Trust, will take the videotaped
deposition of Cal-Maine Foods, Inc. (“Cal-Maine”), pursuant to the attached Subpoena
Duces Tecum, beginning before an officer authorized by law to administer oaths and take

depositions. The deposition will be videotaped by

 

A subpoena duces tecum will be served on the

 

deponent for the production of those materials set forth in Exhibit A to the attached
subpoena upon the date and time designated in the subpoena. This deposition is being
taken for discovery purposes, for use at trial or hearing, or both and will continue from

day to day until completed.
Pursuant to Rule 1.310(b)(6), Florida Rules of Civil Procedure, Cal-Maine is
required to designate one or more officers, directors, managing agents, or other persons
who consent to do so, to testify on its behalf concerning the areas of inquiry listed in

Exhibit B to the attached subpoena.

SMITH HULSEY & BUSEY

By:__/s/ James H. Post
James H. Post

Florida Bar Number 175460
225 Water Street, Suite 1800
Jacksonville, Florida 32202
(904) 359-7700

(904) 359-7708 (facsimile)

ipost@smithhulsey.com

Attorneys for Dennis L. Blackburn, as
Special Trustee of the Klempf Trust
IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.

DENNIS L. BLACKBURN, as Special )
Trustee of the Laura Jean Klempf Trust,

Plaintiff,
V.

K. JACQUES KLEMPF and
FOODONICS INTERNATIONAL, INC., _ )

Defendants. )

SUBPOENA FOR DEPOSITION DUCES TECUM
THE STATE OF FLORIDA
TO: Cal-Maine Foods, Inc.
c/o C T Corporation System, Registered Agent
1200 South Pine Island Road
Plantation, Florida 33324

YOU ARE COMMANDED to appear at the offices of

 

, at 9:00 a.m. on , 2017, for the taking of
your videotaped deposition. If you fail to appear, you may be in contempt of court.

You are further commanded to produce and permit inspection and copying of the
documents set forth on Exhibit A at the following place, date and time:

Place:

Date and Time:
If you fail to produce the documents requested by this subpoena, you may be in contempt
of court.

Pursuant to Rule 1.310(b)(6), Florida Rules of Civil Procedure, for this
deposition, you are required to designate one or more officers, directors, managing
agents, or other representatives who consent to do so, to testify with particularity on your
behalf concerning the matters described in the attached Exhibit B. If you fail to appear or
to produce the documents requested, you may be in contempt of court.

You are subpoenaed by the attorneys whose names appear on this subpoena and
unless excused from this subpoena by these attorneys or the Court, you shall respond to this
subpoena as directed.

Dated this day of , 2017,

 

James H. Post
For the Court

James H. Post, Esq.

Florida Bar Number 175460

225 Water Street, Suite 1800

Jacksonville, Florida 32202

(904) 359-7700

(904) 359-7708 (facsimile)

Individuals with disabilities needing a reasonable accommodation to participate in this
proceeding should contact Smith Hulsey & Busey not later than seven (7) days prior to
the proceeding at the offices of Smith Hulsey & Busey, 225 Water Street, Suite 1800,
Jacksonville, Florida 32202. If notice to the individual of this proceeding is less than
seven (7) days, then the individual should contact Smith Hulsey & Busey as soon as
possible after receiving this notice. Telephone (904) 359-7700; or if hearing impaired, 1-
800-955-8771 (TDD); or 1-800-955-8770 (v), via Florida Relay Services.
Exhibit A
Definitions
As used herein:

1, The “Cal-Maine Sale” refers to the sale of the Assets of Foodonics to Cal-
Maine on or about October 16, 2016.

2. “Document(s)” shall mean anything other than ESI that may be considered
to be a document or tangible thing within the meaning of Florida Rule of Civil Procedure
1.350, including all written, typed, printed, recorded, or graphic matter of every type and
description, however and by whomever prepared, produced, reproduced, disseminated or
made, in any form, now or formerly in the possession, custody, or control of you, its
officers, agents, employees, and attorneys, or any of them, including, but not limited to
letters, correspondence, telegrams, memoranda, agreements, intra- and _inter-office
communications, purchase orders, requisitions, plans, studies, summaries, analyses, result
of investigations, reviews, bulletins, proposals, estimates, appraisals, recommendations,
critiques, trip records, engineering calculations, bills of materials, drawings, sketches,
blueprints, charts, notices, diaries, books, desk calendars, appointment books, messages,
instructions, work assignments, notes, notebooks, drafts, data sheets, specifications,
statistical records, tapes, tape recordings, partial or complete reports of telephone
conversations, photographs, slides, public statements, newspaper or other media releases,
public and governmental filings, opinions, and any other writings, drawings, or
recordings. If any document was, but is no longer in plaintiff's possession or subject to
its control, identify the document.

3, “Dolph Baker” refers to Adolphus B. Baker, Chairman, Chief Executive
Officer and President of Cal-Maine Foods, Inc., his employees, agents, entities, affiliates,
attorneys, and representatives.

4, “ESI” means electronically stored information in all forms in which it is
stored and communicated, and has the same meaning as in Rule 1.280(b)(3), Florida
Rules of Civil Procedure. ESI specifically includes emails, word processing files,
electronic documents, spreadsheets, presentations, databases, images, movies, audio files,
voicemails, text messages, and any other information stored on any computer, laptop,
tablet, cell phone, smartphone, external hard drive USB drive, cd drive, dvd drive,
backup drive, SharePoint site, file server, or in any remote or “cloud’-based system or
location, including Dropbox. ESI specifically includes all of the following electronic file
types: *.msg, *.pst, *.eml, *.jpg, *.tif, *.gif, *.mov, *.mpg, *.mpeg, *.wmv, *.avi, *.wav,
* mp3, *.doc, *.docx, *.wpd, *.xls, *.xlsx, *.ppt, *.pptx, *.mdb and * pdf. ESI also
includes social media data, including information stored by you or communicated by you
through Facebook, Twitter, LinkedIn, Skype and blogs. ESI also includes business or
personal email accounts such as Yahoo Mail, Gmail, Hotmail, Outlook.com, AOL mail
and other web-based email services.

5. “Financial Statement” shall refer to any record of the financial activities of
a business, person, or other entity, including, but not limited to, income statements,
balance sheets, statements of financial positions, profit and loss reports, statements of
revenue and expense, cash flow statements, audited financial statements, and
compilations of financial information.

6. “Foodonics” refers to Defendant Foodonics International, Inc. doing
business as Dixie Egg Co., its officers, directors, affiliates, subsidiaries, employees,
agents, attorneys, and representatives.

7. “Foodonics’ Assets” or “Assets” shall refer to any or all of the assets of
Foodonics in existence between January 1, 2009 and December 31, 2016 including, but
not limited to, (i) the egg production assets of Foodonics and its related entities and/or (ii)
Foodonics’ interest in American Egg Products, LLC and the Egg-Land’s Best franchise
with licensing rights for portions of certain markets in Alabama, Florida, and Georgia as
well as Puerto Rico, Bahamas and Cuba.

8. “Foodonics’ Stock” or “Stock” refers to all Class A Voting Shares and
Class B Non-Voting Shares of Foodonics in existence between January 1, 2009 and
December 31, 2016.

9. “Jacques Klempf” refers to Defendant K. Jacques Klempf, his employees,
agents, entities, affiliates, attorneys, and representatives.

10. “Laura Jean Klempf” refers to Laura Jean Klempf, her employees, agents,
entities, affiliates, attorneys and representatives.

11. “Marc Klempf” refers to Marc E. Klempf, his employees, agents, entities,
affiliates, attorneys, and representatives.

12. The “Redemption Sale” refers to the redemption transaction on the
Settlement and Redemption Agreement which was closed on December 31, 2015.

13. “Relate to” and “relating to” mean to make a statement about, refer to,
discuss, describe, reflect, contain, comprise, identify, or in any way to pertain to, in
whole or in part, or otherwise to be used, considered, or reviewed in any way in
connection with, the specified subject. Thus, documents that “relate to” a subject also
include those which were specifically rejected and those which were not relied or acted
upon.

14. The “Settlement and Redemption Agreement” refers to the Settlement and
Redemption Agreement entered into as of December 21, 2005 by and among Foodonics;
Jacques Klempf; Laura Jean Klempf, individually; Laura Jean Klempf, in her capacity as
Trustee of, and on behalf of, the Laura Jean Klempf Revocable Trust dated April 1, 1992,
as Amended (the “Seller”); Jacques Klempf and Laura Jean Klempf as Trustees of the
Family Trust under the Edward Klempf Revocable Trust Agreement dated April 1, 1992;
Dina Klempf Srochi; and Mare Klempf.

15. “Trust” or “Plaintiff” refers to Dennis L. Blackburn, as Special Trustee of
the Laura Jean Klempf Trust dated April 1, 1992.

16. “You,” “Your” or “Cal-Maine” refers to Cal-Maine Foods, Inc., its
officers, directors, affiliates, subsidiaries, employees, agents, attorneys, and
representatives.

17. Unless otherwise specified, the requests contained in this request for
production of documents are limited to documents authored, created, received, revised or
sent from January 1, 2009 until the date that this request for production of documents was
served.
Instructions

1. Pursuant to Rule 1.280(b)(6) of the Florida Rules of Civil Procedure, in
the event that any document called for by a request is withheld by You on the basis of
claim of privilege, please identify that document by stating: (a) any addressor or
addressee, (b) matter, number of pages, and attachments or appendices, (c) all persons to
whom the document was distributed, shown or explained, (d) its present custodian, and
(e) the nature of the privilege asserted.

2. If any responsive document is no longer in existence, cannot be located, or
is not in Your possession, custody, or control, identify it, describe its subject matter, and
describe its disposition, including, without limitation, identifying the person having
knowledge of the disposition.

3. In each of Your responses to these discovery requests, You are requested
to provide not only such information as is in Your possession, but all information as is
reasonably available. In the event that You are able to provide only part of the
information called for by any document request, please provide all of the information
You are able to provide and state the reason for Your inability to provide the remainder.

4, Produce ESI in native or near-native format, and do not convert ESI to an
imaged format (e.g., *.TIF or *.PDF). Native format requires production in the same
format in which the ESI was customarily created, used and stored by you. Near-native
format requires production of native format ESI so that the content and metadata are
electronically accessible. If the native or near-native format is not compatible with a
Microsoft Office Suite software program or application, you should provide a description
of a software program or application that may be used to access and view the ESI.

5. Documents should be produced in searchable *.PDF format with logical
unitization and family relationships preserved.

6. No potentially discoverable information contained on your computer
systems should be deleted or modified and procedures that may affect such data should
not be performed unless all potentially discoverable data has been copied and preserved.
The data to be preserved includes not just active data, but archival, backup and residual
data.

7. All drafts or versions of documents and ESI should be produced in
addition to the final document or ESI. All documents and ESI containing written
notations, comments, edits or marginalia, or which are in any way different from the
original should be produced in addition to the original.

8. In response to this request, You are required to furnish all information and
documents in Your possession, custody or control, or in the possession, custody or
control of Your past or present agents, attorneys, accountants, advisors, employees, or
any other persons acting on Your behalf.

I.

Documents and ESI Requested

All Documents and ESI exchanged, sent or delivered between You and/or

Dolph Baker, on the one hand, and Jacques Klempf and/or Foodonics, on the other hand,

including, but not limited to:

2.

Maine Sale.

3.

a.

All Documents and ESI that You or Dolph Baker sent to or
received from Jacques Klempf or Foodonics relating to the Cal-
Maine Sale.

All documents or ESI that You or Dolph Baker sent to or received
from Jacques Klempf or Foodonics referring or relating to the
Settlement and Redemption Agreement.

All Documents and ESI that You or Dolph Baker sent to or
received from Jacques Klempf or Foodonics referring or relating to
Laura Jean Klempf or the Trust.

All Documents and ESI that You or Dolph Baker sent to or
received from Jacques Klempf of Foodonics relating to the value
of Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI that You or Dolph Baker sent to or
received from Jacques Klempf or Foodonics relating to the sale of
Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI constituting any Foodonics’ financial
information provided to You and/or Dolph Baker by Jacques
Klempf or Foodonics and/or any of its representatives, agents,
officers or directors.

Any and all closing documents and other agreements relating to the Cal-

All Documents and ESI in the possession of You or Dolph Baker relating

to the value of Foodonics’ Stock or Foodonics’ Assets from January 1, 2009 through the

date of production.
4, All Documents and ESI that You or Dolph Baker sent to or received from
Marc Klempf relating to the value of Foodonics’ Assets or Foodonics’ Stock.

5. All Documents and ESI that You or Dolph Baker sent to or received from
Marc Klempf relating to the sale of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents or ESI You or Dolph Baker sent to or received from Marc
Klempf referring or relating to the Settlement and Redemption Agreement.

7. All Documents or ESI You or Dolph Baker sent to or received from Marc
Klempf referring or relating to Laura Jean Klempf from September 1, 2008 to date.

8. All Documents and ESI You or Dolph Baker sent to or received from
Marc Klempf referring or relating to the Cal-Maine Sale.

g. All Documents and ESI that You or Dolph Baker sent to or received from
Laura Jean Klempf or the Trust relating to Jacques Klempf or Foodonics.

10. All Documents and ESI that You or Dolph Baker sent to or received from
Laura Jean Klempf or the Trust relating to the value of Foodonics’ Assets or Foodonics’
Stock.

11. All Documents and ESI that You or Dolph Baker sent to or received from
Laura Jean Klempf or the Trust relating to the sale of Foodonics’ Assets or Foodonics’
Stock.

12. All Documents or ESI that You or Dolph Baker sent to or received from
Laura Jean Klempf or the Trust referring or relating to the Settlement and Redemption
Agreement.

13. All Documents or ESI You or Dolph Baker sent to or received from Laura

Jean Klempf or the Trust referring or relating to the Cal-Maine Sale.
14. All Documents or ESI You or Dolph Baker sent to Laura Jean Klempf
from September 1, 2008 to date.

15. All Documents and ESI that You or Dolph Baker sent to or received from
Ian Ratner relating or referring to (i) the value of Foodonics’ Assets or Foodonics’ Stock
and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

16. All Documents and ESI that You or Dolph Baker sent to or received from
GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

17. All Documents and ESI that You or Dolph Baker sent to or received from
Jess W, Wright relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

18. All Documents and ESI that You or Dolph Baker sent to or received from
Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

19. All Documents and ESI that You or Dolph Baker sent to or received from
John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

20. All Documents and ESI that You or Dolph Baker sent to or received from
Stevens, Powell & Company, P.A. relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or

Foodonics’ Stock.
21. All Documents and ESI that You or Dolph Baker sent to or received from
Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

22. All Documents and ESI that You or Dolph Baker sent to or received from
First Florida Capital Corporation relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

23. All Documents and ESI that You or Dolph Baker sent to or received from
GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption
Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Jacques Klempf or Foodonics, (iv)
the Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi) any
potential sale of Foodonics’ Assets or Foodonics’ Stock.

24. All Documents and ESI constituting any Financial Statement prepared by
or for You and/or Dolph Baker where such Financial Statement identifies, refers or
relates to the value of Foodonics’ Stock of Foodonics’ Assets.

25. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial

Holdings, LLC; and/or (iii) BAM Investment Group, LLC.
Exhibit B

Areas of Inquiry

Pursuant to Rule 1.310(b)(6), Florida Rules of Civil Procedure, You are required

to designate one or more officers, directors, managing agents, or other persons who

consent to do so, to testify with particularity on Your behalf concerning the following

matters:

1. All facts, events, circumstances, Documents and ESI exchanged, sent or

delivered between You and/or Dolph Baker, on the one hand, and Jacques Klempf and/or

Foodonics, on the other hand, including, but not limited to:

a.

All Documents and ESI that You or Dolph Baker sent to or

received from Jacques Klempf or Foodonics relating to the Cal-
Maine Sale.

All documents or ESI that You or Dolph Baker sent to or received
from Jacques Klempf or Foodonics referring or relating to the
Settlement and Redemption Agreement.

All Documents and ESI that You or Dolph Baker sent to or
received from Jacques Klempf or Foodonics referring or relating to
Laura Jean Klempf or the Trust.

All Documents and ESI] that You or Dolph Baker sent to or
received from Jacques Klempf of Foodonics relating to the value
of Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI that You or Dolph Baker sent to or
received from Jacques Klempf or Foodonics relating to the sale of
Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI constituting any Foodonics’ financial
information provided You and/or Dolph Baker by Jacques Klempf
or Foodonics and/or any of its representatives, agents, officers or
directors.
2, All facts, events, circumstances relating to any and all closing documents
and other agreements relating to the Cal-Maine Sale.

3. All facts, events, circumstances, Documents and ESI in the possession of
You or Dolph Baker relating to the value of Foodonics’ Stock or Foodonics’ Assets from
January 1, 2009 through the date of production.

4, All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Marc Klempf relating to the value of Foodonics’ Assets or
Foodonics’ Stock.

5, All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Marc Klempf relating to the sale of Foodonics’ Assets or
Foodonics’ Stock.

6. All facts, events, circumstances, Documents or ESI You or Dolph Baker
sent to or received from Marc Klempf referring or relating to the Settlement and
Redemption Agreement.

7. All facts, events, circumstances, Documents or ESI You or Dolph Baker
sent to or received from Marc Klempf referring or relating to Laura Jean Klempf from
September 1, 2008 to date.

8. All facts, events, circumstances, Documents and ESI] You or Dolph Baker
sent to or received from Marc Klempf referring or relating to the Cal-Maine Sale.

9. All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Laura Jean Klempf or the Trust relating to Jacques

Klempf or Foodonics.
10. All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Laura Jean Klempf or the Trust relating to the value of
Foodonics’ Assets or Foodonics’ Stock.

il. All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Laura Jean Klempf or the Trust relating to the sale of
Foodonics’ Assets or Foodonics’ Stock.

12. All facts, events, circumstances, Documents or ESI that You or Dolph
Baker sent to or received from Laura Jean Klempf or the Trust referring or relating to the
Settlement and Redemption Agreement.

13. All facts, events, circumstances, Documents or ESI You or Dolph Baker
sent to or received from Laura Jean Klempf or the Trust referring or relating to the Cal-
Maine Sale.

14, All facts, events, circumstances, Documents or ESI You or Dolph Baker
sent to Laura Jean Klempf from September 1, 2008 to date.

15, All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Ian Ratner relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

16. All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from GlassRatner Advisory & Capital Group, LLC relating or
referring to (i) the value of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any

potential sale of Foodonics’ Assets or Foodonics’ Stock.
17. All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Jess W. Wright relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

18. All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Sheldrick, McGehee & Kohler, LLC relating or referring
to (i) the value of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of
Foodonics’ Assets or Foodonics’ Stock.

19, All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from John P. Stevens relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

20, All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Stevens, Powell & Company, P.A. relating or referring to
(i) the value of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of
Foodonics’ Assets or Foodonics’ Stock.

21, All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from Robert Monsky relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

D2. All facts, events, circumstances, Documents and ESI that You or Dolph

Baker sent to or received from First Florida Capital Corporation relating or referring to (i)
the value of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of
Foodonics’ Assets or Foodonics’ Stock.

23. All facts, events, circumstances, Documents and ESI that You or Dolph
Baker sent to or received from GrayRobinson, P.A. relating or referring to (i) the
Settlement and Redemption Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Jacques
Klempf or Foodonics, (iv) the Cal-Maine Sale, (v) the value of Foodonics’ Assets or
Foodonics’ Stock, or (vi) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

24. All facts, events, circumstances, Documents and ESI constituting any
Financial Statement prepared by or for You and/or Dolph Baker where such Financial
Statement identifies, refers or relates to the value of Foodonics’ Stock of Foodonics’
Assets.

25, All facts, events, circumstances, Documents and ESI referring or relating
to the transfer of any Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii)

BAM Commercial Holdings, LLC; and/or (iii) BAM Investment Group, LLC.

963982
TAB 6
IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.

DENNIS L. BLACKBURN, as Special )
Trustee of the Laura Jean Klempf Trust,

Plaintiff,
Vv.

K. JACQUES KLEMPF and
FOODONICS INTERNATIONAL, INC., _ )

Defendants. )

)

NOTICE OF TAKING VIDEOTAPED DEPOSITION
DUCES TECUM OF ADOLPHUS B. BAKER

Please take notice that at 9:00 a.m. on , 2017, at the offices of
, Plaintiff, Dennis L.
Blackburn, as Special Trustee of the Laura Jean Klempf Trust, will take the videotaped
deposition of Adolphus B. Baker, pursuant to the attached Subpoena Duces Tecum,
beginning before an officer authorized by law to administer oaths and take depositions.

The deposition will be videotaped by

 

 

. A subpoena duces tecum will be served on the deponent
for the production of those materials set forth in Exhibit A to the attached subpoena upon
the date and time designated in the subpoena. This deposition is being taken for
discovery purposes, for use at trial or hearing, or both and will continue from day to day

until completed.
SMITH HULSEY & BUSEY

By:__/s/ James H. Post
James H. Post

Florida Bar Number 175460
225 Water Street, Suite 1800
Jacksonville, Florida 32202
(904) 359-7700

(904) 359-7708 (facsimile)

jpost(@smithhulsey.com

Attorneys for Dennis L. Blackburn, as
Special Trustee of the Klempf Trust
COURT STYLING FOR
MISSISSIPPI SUBPOENA]

IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.

DENNIS L. BLACKBURN, as Special )
Trustee of the Laura Jean Klempf Trust,

Plaintiff,
V.

K. JACQUES KLEMPF and
FOODONICS INTERNATIONAL, INC., _ )

Defendants. )

SUBPOENA FOR DEPOSITION DUCES TECUM
THE STATE OF MISSISSIPPI
TO: Adolphus B. Baker
3320 West Woodrow Wilson Drive
Jackson, Mississippi 39209

YOU ARE COMMANDED to appear at the offices of

 

, at 9:00 a.m. on , 2017, for the taking of

 

your videotaped deposition. If you fail to appear, you may be in contempt of court.
You are further commanded to produce and permit inspection and copying of the
documents set forth on Exhibit A at the following place, date and time:

Place:
Date and Time:
If you fail to produce the documents requested by this subpoena, you may be in contempt
of court.
You are subpoenaed by the attorneys whose names appear on this subpoena and
unless excused from this subpoena by these attorneys or the Court, you shall respond to this
subpoena as directed.

Dated this day of , 2017.

 

Clerk of Court
Exhibit A
Definitions
As used herein:

l. “Cal-Maine” refers to Cal-Maine Foods, Inc., its officers, directors,
affiliates, subsidiaries, employees, agents, attorneys, and representatives.

2. The “Cal-Maine Sale” refers to the sale of the Assets of Foodonics to Cal-
Maine on or about October 16, 2016.

3. Document(s)” shall mean anything other than ESI that may be considered
to be a document or tangible thing within the meaning of Florida Rule of Civil Procedure
1.350, including all written, typed, printed, recorded, or graphic matter of every type and
description, however and by whomever prepared, produced, reproduced, disseminated or
made, in any form, now or formerly in the possession, custody, or control of you, its
officers, agents, employees, and attorneys, or any of them, including, but not limited to
letters, correspondence, telegrams, memoranda, agreements, intra- and inter-office
communications, purchase orders, requisitions, plans, studies, summaries, analyses, result
of investigations, reviews, bulletins, proposals, estimates, appraisals, recommendations,
critiques, trip records, engineering calculations, bills of materials, drawings, sketches,
blueprints, charts, notices, diaries, books, desk calendars, appointment books, messages,
instructions, work assignments, notes, notebooks, drafts, data sheets, specifications,
statistical records, tapes, tape recordings, partial or complete reports of telephone
conversations, photographs, slides, public statements, newspaper or other media releases,
public and governmental filings, opinions, and any other writings, drawings, or
recordings. If any document was, but is no longer in plaintiff's possession or subject to
its control, identify the document.

4. “ESI” means electronically stored information in all forms in which it is
stored and communicated, and has the same meaning as in Rule 1.280(b)(3), Florida
Rules of Civil Procedure. ESI specifically includes emails, word processing files,
electronic documents, spreadsheets, presentations, databases, images, movies, audio files,
voicemails, text messages, and any other information stored on any computer, laptop,
tablet, cell phone, smartphone, external hard drive USB drive, cd drive, dvd drive,
backup drive, SharePoint site, file server, or in any remote or “cloud”-based system or
location, including Dropbox. ESI specifically includes all of the following electronic file
types: *.msg, *.pst, *.eml, *.jpg, *.tif, *.gif, *.mov, *.mpg, *.mpeg, *.wmvy, *.avi, *.wav,
* mp3, *.doc, *.docx, *.wpd, *.xls, *.xlsx, *.ppt, *.pptx, *.mdb and *.pdf. ESI also
includes social media data, including information stored by you or communicated by you
through Facebook, Twitter, LinkedIn, Skype and blogs. ESI also includes business or
personal email accounts such as Yahoo Mail, Gmail, Hotmail, Outlook.com, AOL mail
and other web-based email services.
5. “Financial Statement” shall refer to any record of the financial activities of
a business, person, or other entity, including, but not limited to, income statements,
balance sheets, statements of financial positions, profit and loss reports, statements of
revenue and expense, cash flow statements, audited financial statements, and
compilations of financial information.

6. “Foodonics” refers to Defendant Foodonics International, Inc. doing
business as Dixie Egg Co., its officers, directors, affiliates, subsidiaries, employees,
agents, attorneys, and representatives.

7. “Foodonics’ Assets” or “Assets” shall refer to any or all of the assets of
Foodonics in existence between January 1, 2009 and December 31, 2016 including, but
not limited to, (i) the egg production assets of Foodonics and its related entities and/or (ii)
Foodonics’ interest in American Egg Products, LLC and the Egg-Land’s Best franchise
with licensing rights for portions of certain markets in Alabama, Florida, and Georgia as
well as Puerto Rico, Bahamas and Cuba.

8. “Foodonics’ Stock” or “Stock” refers to all Class A Voting Shares and
Class B Non-Voting Shares of Foodonics in existence between January 1, 2009 and
December 31, 2016.

9. “Jacques Klempf” refers to Defendant K. Jacques Klempf, his employees,
agents, entities, affiliates, attorneys, and representatives.

10. “Laura Jean Klempf” refers to Laura Jean Klempf, her employees, agents,
entities, affiliates, attorneys and representatives.

11. “Marc Klempf” refers to Marc E. Klempf, his employees, agents, entities,
affiliates, attorneys, and representatives.

12. The “Redemption Sale” refers to the redemption transaction on the
Settlement and Redemption Agreement which was closed on December 31, 2015.

13, “Relate to” and “relating to” mean to make a statement about, refer to,
discuss, describe, reflect, contain, comprise, identify, or in any way to pertain to, in
whole or in part, or otherwise to be used, considered, or reviewed in any way in
connection with, the specified subject. Thus, documents that “relate to” a subject also
include those which were specifically rejected and those which were not relied or acted
upon.

14. The “Settlement and Redemption Agreement” refers to the Settlement and
Redemption Agreement entered into as of December 21, 2005 by and among Foodonics;
Jacques Klempf; Laura Jean Klempf, individually; Laura Jean Klempf, in her capacity as
Trustee of, and on behalf of, the Laura Jean Klempf Revocable Trust dated April 1, 1992,
as Amended (the “Seller”); Jacques Klempf and Laura Jean Klempf as Trustees of the
Family Trust under the Edward Klempf Revocable Trust Agreement dated April 1, 1992;
Dina Klempf Srochi; and Mare Klempf.

15. “Trust” or “Plaintiff” refers to Dennis L. Blackburn, as Special Trustee of
the Laura Jean Klempf Trust dated April 1, 1992.

16. “You,” “Your” or “Dolph Baker” refers to Adolphus B. Baker, Chairman,
Chief Executive Officer and President of Cal-Maine Foods, Inc., his employees, agents,
entities, affiliates, attorneys, and representatives.

17. Unless otherwise specified, the requests contained in this request for
production of documents are limited to documents authored, created, received, revised or
sent from January 1, 2009 until the date that this request for production of documents was
served.
Instructions

1. Pursuant to Rule 1.280(b)(6) of the Florida Rules of Civil Procedure, in
the event that any document called for by a request is withheld by You on the basis of
claim of privilege, please identify that document by stating: (a) any addressor or
addressee, (b) matter, number of pages, and attachments or appendices, (c) all persons to
whom the document was distributed, shown or explained, (d) its present custodian, and
(e) the nature of the privilege asserted.

2. If any responsive document is no longer in existence, cannot be located, or
is not in Your possession, custody, or control, identify it, describe its subject matter, and
describe its disposition, including, without limitation, identifying the person having
knowledge of the disposition.

33 In each of Your responses to these discovery requests, You are requested
to provide not only such information as is in Your possession, but all information as is
reasonably available. In the event that You are able to provide only part of the
information called for by any document request, please provide all of the information
You are able to provide and state the reason for Your inability to provide the remainder.

4, Produce ESI in native or near-native format, and do not convert ESI to an
imaged format (e.g., *.TIF or *.PDF). Native format requires production in the same
format in which the ESI was customarily created, used and stored by you. Near-native
format requires production of native format ESI so that the content and metadata are
electronically accessible. If the native or near-native format is not compatible with a
Microsoft Office Suite software program or application, you should provide a description
of a software program or application that may be used to access and view the ESI.

5. Documents should be produced in searchable *.PDF format with logical
unitization and family relationships preserved.

6. No potentially discoverable information contained on your computer
systems should be deleted or modified and procedures that may affect such data should
not be performed unless all potentially discoverable data has been copied and preserved.
The data to be preserved includes not just active data, but archival, backup and residual
data.

A All drafts or versions of documents and ESI] should be produced in
addition to the final document or ESI. All documents and ESI containing written
notations, comments, edits or marginalia, or which are in any way different from the
original should be produced in addition to the original.

8. In response to this request, You are required to furnish all information and
documents in Your possession, custody or control, or in the possession, custody or
control of Your past or present agents, attorneys, accountants, advisors, employees, or
any other persons acting on Your behalf.

I.

Documents and ESI Requested

All Documents and ESI exchanged, sent or delivered between You and/or

Cal-Maine, on the one hand, and Jacques Klempf and/or Foodonics, on the other hand,

including, but not limited to:

2.

Maine Sale.

3.

a.

All Documents and ESI that You or Cal-Maine sent to or received
from Jacques Klempf or Foodonics relating to the Cal-Maine Sale.

All documents or ESI that You or Cal-Maine sent to or received
from Jacques Klempf or Foodonics referring or relating to the
Settlement and Redemption Agreement.

All Documents and ESI that You or Cal-Maine sent to or received
from Jacques Klempf or Foodonics referring or relating to Laura
Jean Klempf or the Trust.

All Documents and ESI that You or Cal-Maine sent to or received
from Jacques Klempf of Foodonics relating to the value of
Foodonics’ Assets or Foodonics’ Stock.

Al! Documents and ESI that You or Cal-Maine sent to or received
from Jacques Klempf or Foodonics relating to the sale of
Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI constituting any Foodonics’ financial
information provided to You and/or Cal-Maine by Jacques Klempf
or Foodonics and/or any of its representatives, agents, officers or
directors.

Any and all closing documents and other agreements relating to the Cal-

All Documents and ES] in the possession of You or Cal-Maine relating to

the value of Foodonics’ Stock or Foodonics’ Assets from January 1, 2009 through the

date of production.
4. All Documents and ESI that You or Cal-Maine sent to or received from
Marc Klempf relating to the value of Foodonics’ Assets or Foodonics’ Stock.

oh All Documents and ES] that You or Cal-Maine sent to or received from
Marc Klempf relating to the sale of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents or ESI You or Cal-Maine sent to or received from Marc
Klempf referring or relating to the Settlement and Redemption Agreement.

ve All Documents or ESI You or Cal-Maine sent to or received from Marc
Klempf referring or relating to Laura Jean Klempf from September 1, 2008 to date.

8. All Documents and ESI You or Cal-Maine sent to or received from Marc
Klempf referring or relating to the Cal-Maine Sale.

9. All Documents and ESI that You or Cal-Maine sent to or received from
Laura Jean Klempf or the Trust relating to Jacques Klempf or Foodonics.

10. All Documents and ESI that You or Cal-Maine sent to or received from
Laura Jean Klempf or the Trust relating to the value of Foodonics’ Assets or Foodonics’
Stock.

11. All Documents and ESI that You or Cal-Maine sent to or received from
Laura Jean Klempf or the Trust relating to the sale of Foodonics’ Assets or Foodonics’
Stock.

12. All Documents or ESI that You or Cal-Maine sent to or received from
Laura Jean Klempf or the Trust referring or relating to the Settlement and Redemption
Agreement.

13. All Documents or ESI You or Cal-Maine sent to or received from Laura

Jean Klempf or the Trust referring or relating to the Cal-Maine Sale.
14. All Documents or ESI You or Cal-Maine sent to Laura Jean Klempf from
September 1, 2008 to date.

15. All Documents and ESI that You or Cal-Maine sent to or received from
lan Ratner relating or referring to (i) the value of Foodonics’ Assets or Foodonics’ Stock
and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

16. All Documents and ESI that You or Cal-Maine sent to or received from
GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

17. All Documents and ESI that You or Cal-Maine sent to or received from
Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

18. All Documents and ESI that You or Cal-Maine sent to or received from
Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

19. All Documents and ESI that You or Cal-Maine sent to or received from
John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

20. All Documents and ESI that You or Cal-Maine sent to or received from
Stevens, Powell & Company, P.A. relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or

Foodonics’ Stock.
21. All Documents and ESI that You or Cal-Maine sent to or received from
Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

22. All Documents and ESJ that You or Cal-Maine sent to or received from
First Florida Capital Corporation relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

23. All Documents and ESI that You or Cal-Maine sent to or received from
GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption
Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Jacques Klempf or Foodonics, (iv)
the Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi) any
potential sale of Foodonics’ Assets or Foodonics’ Stock.

24. All Documents and ESI constituting any Financial Statement prepared by
or for You and/or Cal-Maine where such Financial Statement identifies, refers or relates
to the value of Foodonics’ Stock of Foodonics’ Assets.

25. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial

Holdings, LLC; and/or (iii) BAM Investment Group, LLC.

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TAB 2
Case 3:17-cv-01054-TJC-JRK Document1 Filed 09/06/17 Page 1 of 9 PagelD 1

IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

 

. ; A
FOODONICS INTERNATIONAL, INC., @ 4
a Florida corporation, HO. Ap cs
“eee, ?
Plaintiff, 27 Som &
’ -CV+|0S\ <7. SPX +p
- ai ) fey tS.
v. Nc, %>
“S56 2p
DINA KLEMPF SROCHI, as Trustee OED.
of the LAURA JEAN KLEMPF Ke
REVOCABLE TRUST, a Georgia
trust,
Defendants,
/
COMPLAINT

Foodonics International, Inc., a Florida corporation (“Foodonics” or “Plaintiff") sues
Defendant. Dina Klempf Srochi (“Trustee” or “Defendant”), as Trustee of the Laura Jean
Klempf Revocable Trust (“Trust”) and alleges:

I, JURISDICTION AND VENUE

I. This is an action for damages and declaratory relief pursuant to 28 USC 2201 and
Rule 57 Federal Rules of Civil Procedure.

2. This Court has jurisdiction pursuant to 28 USC 1332(a) as between citizens of
different states and the amount in controversy exceeds $75,000.00.

3. Venue is proper before this Court pursuant to 28 USC 1391(b)(2) in that the
events or omissions giving rise to Plaintiff's claims occurred in this judicial district.

4, Foodonics is a Florida corporation with its principal place of business at 5139

Edgewood Court, Jacksonville, Florida 32254.
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5. Defendant is an individual citizen and resident of the State of Georgia who has

served as Trustee of the Trust at all times material to this action.
IT. GENERAL ALLEGATIONS

A. FOODONICS AND THE KLEMPF FAMILY HISTORY

6. Foodonics, through its predecessor Dixie Egg Company, was founded in 1948,
and until December, 2015, was a closely held family corporation which produced, processed and
distributed shell eggs in the southeastern United States and Puerto Rico.

7. Edward Klempf, who founded Foodonics, and his wife Laura Jean Klempf (Mrs.
Klempf") had three (3) children: Kevin Jacques Klempf (“Jacques”), Dina Klempf Srochi
(“Dina”), and Mare Klempf (‘Marc’).

8. Other than minor amounts of stock associated with an employee stock option
incentive plan, stock ownership of Foodonics has been held historically by the above-referenced
Klempf family members, or through various family trusts for their benefit.

9. Edward Klempf served as President and Chief Executive Officer of Foodonics
until his death on October 18, 2002 after which Jacques, who had worked for Foodonics in all
facets from an carly age. became President and Chief Executive Officer.

10. Although Mrs. Klempf worked at Foodonics in a clerical role for a short time
after formation of the business, she had not worked in the business for many years prior to
December, 2015. Dina and Mare Klempf never held any significant employment or managerial
roles in Foodonics.

HH. In 2006, Jacques acquired the Foodanics stock owned or controlled by his
siblings, Dina and Marc, leaving Jacques and Mrs. Klempf. as well as some trusts associated

with or controlled by Jacques and Mrs. Klempf including the Trust at issue in this case, as the
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only owners of Foodonics stock except for insignificant employce incentive stock options ("2006
Transaction’).

12. Following the 2006 Transaction, Jacques owned approximately 53.6% of the
Foodonics stock, while his mother, Mrs. Klempf, owned approximately 45.6% of the Foodonics
stock.

13. Foodonics is a subchapter S corporation under Internal Revenue Code § 1361. As
a result, income tax responsibility for Foodonics’ income passes through to, and is allocated to,
and the taxes are ultimately paid by, the individual shareholders.

14. Following the 2006 Transaction, Foodonics made estimated income tax payments
to the Internal Revenue Service (“IRS”) on behalf of Jacques and Mrs. Klempf in amounts equal
to their anticipated annual income tax liabilities resulting from the inclusion in their personal
income of their relative share of Foodonics’ income.

15. Sections 6654, 6621 and 6662 of the Internal Revenue Code impose on individual
laxpayers an accuracy-related penalty for underpayment of annual taxes prior to the end of the
current tax year.

16. Foodonics’ income is calculated and reported to the IRS after the end of the
relevant tax year. As a result, the estimated tax payments were paid to IRS on behalf of Jacques
and Mrs. Klempf, before the end of each taxable year, based on estimates of Foodonics’ eventual
taxable income.

17. To avoid imposition of IRS penalties against Jacques and Mrs. Klempf for
underpayment of estimated tax payments, Foodonics had to err on the side of caution when

making the estimated tax payments.
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18. Asa result, for tax year 2015, Foodonics paid estimated taxes on behalf of its
shareholders, Jacques and Mrs. Klempf. Because the precise amount of tax liability could not be
known at the time of estimated payments, Foodonics intentionally overpaid the estimated taxes
for Jacques and Mrs. Klempf to the IRS to avoid imposition of penalties and interest. No
additional distribution was authorized by the sharcholders and in the event of a substantial
overpayment of taxes, Foodonics was to be repaid the amount of such overpayment.

19. By 2015, a number of disputes had arisen between Jacques and Mrs. Klempf,
including the repayment to Foodonics of an overpayment of estimated taxes for the 2014 taxable
year.

20. On December 31, 2015, Jacques became the sole sharcholder of Foodonies as a
result of the company’s redemption of all of the stock previously held by Mrs. Klempf or the
Trust (“Stock Redemption”) pursuant to a Settlement and Redemption Agreement. a copy of
which without exhibits is attached hereto as Exhibit *A’ and made a part hercof.

21. The Settlement and Redemption Agreement settles and contains mutual releases
addressing numerous specified and unspecified claims by cach of Jacques, Mrs. Klempf. and
Foodonics, including the release of the obligation of Mrs. Klempf to repay the 2014 estimated
tax overpayment.

22. _ For various reasons, Foodonics’ 2015 income was substantially higher in the first
three quarters of the year than corresponding periods for 2014, resulting in a large payment of
estimated taxes for Jacques and Mrs. Klempf.

23. Foodonics’ payment of estimated tax payments on behalf of Jacques and Mrs.
Klempf resulted in an overpayment of taxes relative to Foodonics’ subsequently-determined

income. Asa result, both Jacques and Mrs. Klempf received a refund from the IRS.
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24. The most significant asset of Foodonics was the business of producing, processing
and distributing shell eggs under the names Dixie Egg, Eggland’s Best (in certain territories) and
United Egg Marketing (the “Dixie Egg Business”).

25. In November, 2016, Foodonics sold the assets of the Dixie Egg Business to Cal-
Maine Foods, Inc. (the “Dixie Egg Sale”).

26. The Trust was established in April 1992, with Mrs. Klempf as grantor and initial
Trustee. In the event Mrs. Klempf was unable to serve, through death, incapacity or otherwise,
successor trustees were, in order, her husband, Edward Klempf, and then Jacques, followed by
Defendant Dina, and then Marc. Dina has served as Trustee of the Trust for some time, and in
that capacity is the Defendant herein. On information and belief, the Trust was amended after
1992 by Mrs. Klempf to appoint Defendant as Trustee. Defendant has represented herself as
Trustee of the Trust, and has acted as such.

27. Mrs. Klempf passed away on July 19, 2017.

B. THE CLAIMS

28. — Although the precise amount of any tax refund paid to Mrs. Klempf and the Trust
was initially unknown to Foodonies, such a refund was in fact paid for tax years 2014 and 2015.

29. Foodonics’ right to repayment of Mrs. Klempfs 2014 estimated tax overpayment
and resulting tax refund was released under the mutual release language in the Settlement and
Redemption Agreement.

30. However, beginning in 2016, Foodonics requested on several occasions that Mrs.
Klempf repay the amount of the 2015 estimated tax overpayment and resulling income tax
refund (the “2015 Refund”) to Foodonics (“Refund Claim”). Such requests were made directly

to Mrs. Klempf and to her attorney or her accountant with no response.
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31. Instead, on June 23. 2017, through counsel, the Trust delivered correspondence to
Jacques, together with various attachments. asserting claims on behalf’ of the Trust related to the
Stock Redemption and the subsequent Dixie Egg Sale (the “Notice Letter”).

32. The attachments to ihe Notice Letter included a 27 page form of Complaint
alleging, inter alia, fraud, breach of fiduciary duties and securities violations, against Jacques
and Foodonics, based primarily on the Trustee’s belicf in the existence of a secret and
undisclosed agreement between Foodonics and Cal-Maine arising prior to the Stock Redemption,
and the failure of Foodonics or Jacques to disclose the existence of such secret agreement prior
to the closing of the Stock Redemption (collectively, the “Fraud Claims”). The form of
Complaint and items of discovery attached to the Notice Letter are as yet unfiled.

33. | Counsel for Foodonics and Jacques met with counsel for the Trust to discuss the
Fraud Claims. Following Foodonics’ and Jacques’ rejection of the Trust’s Fraud Claims, the
Trust unilaterally and without authority claimed that the 2015 Refund, purportedly in the amount
of $1,312,342.82 and delivered to the Trust by check dated March 29, 2017, would be retained
by the Trust as a set-off against the Fraud Claims.

34. The Settlement and Redemption Agreement provides for an award of attorneys’
fees in the event of litigation to enforce the Settlement and Redemption Agreement. It has been
necessary for Plaintiff to hire the undersigned law firm to represent it in this matter and is
Plaintiff obligated to pay such firm a reasonable fee.

COUNT |
BREACH OF CONTRACT

tos
ws

Foodonics realleges and incorporates paragraphs | — 34 above as if set forth

herein.
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36. The Trust has breached the Settlement and Redemption Agreement by failing to
pay the 2015 Refund to Foodonics.

37. Asadirect result of such breach, Foodonics has been damaged in the amount of
$1,312,342.82.

WHEREFORE, Foodonics demands judgment for damages. interest, reasonable

attorneys’ fees and costs, and for all other and further relief as is just and equitable.

COUNT I
UNJUST ENRICHMENT

37. Foodonics realleges and incorporates paragraphs | through 34 as if set forth
herein.

38. By virtue of the entire 2015 Refund having been paid to the Trust, a benefit has
been conferred upon the Trust.

39. — The Trust has voluntarily accepted the benefit of the 2015 Refund.

40. The Trust has both appreciated and benefited from the 2015 Refund.

41. As alleged herein above, the retention of the 2015 Refund under the
circumstances as alleged herein make it inequitable for the Trust to retain the 2015 Refund
without paying for the value thereof.

WHEREFORE, Foodonics demands judgment against the Trust for the valuc of the
benefit conferred upon the Trust by virtue of the 2015 Refund, interest, reasonable attormmeys’
fees and costs.

COUNT IL
CONVERSION

42. Foodonics realleges and incorporates paragraphs 1-34 above as if set forth herein.
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43.  Foodonics has made multiple demands for payment of the value of, or an
endorsement of, the 2015 Refund.

44, By wrongfully retaining the 2015 Refund after multiple demands for its return,
the Trust is exercising wrongful dominion or control over the 2015 Refund to the detriment of
the actual owner, Foodonics.

45. According to the 2015 Agreement, Foodonics is the rightful owner of the 2015
Refund.

WHEREFORE, Foodonics demands judgment against the Trust for the value of the 2015
Refund, interest, reasonable attorneys’ fees and costs.

COUNT IV
DECLARATORY JUDGMENT AS TO FRAUD ALLEGATIONS MADE BY
DEFENDANT IN AN UNFILED COMPLAINT AGAINST PLAINTIFF

46. This is an action for declaratory judgment, brought pursuant to Rule 57, Fed. R.
Civ. P. and 28 U.S.C. § 2201, in which Plaintiff seeks a declaration of the respective rights and
obligations of Plaintiff and Defendant in connection with the Settlement and Redemption
Agreement and those Fraud Claims made by Defendant against Plaintiff contained in the form of
Complaint.

47, Plaintiff realleges and incorporates paragraphs | — 34 above as if set forth herein.

48. Following inquiries and demands for the value of the 2015 Refund, Defendant
presented to Plaintiff the form of complaint as alleged hereinabove, styled DENNIS

BLACKBURN, as Spccial Trustee of the Laura Jean Klempf Trust v. K. JACQUES KLEMPF

and FOODONICS INTERNATIONAL, INC. in which the Fraud Claims are asserted.
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49. A substantial, concrete, and actual controversy exists among Plaintiff and
Defendant, and this Court can provide specific relief through a judicial determination of the
rights of such parties.

50. Plaintiff requests this Court provide declaratory judgment on the counts alleged in
the Fraud Complaint, which are: (1) Violation of Florida Securities Act § 517.301; (2) Violation
of § 10(b) of the Securities Exchange Act and Rule 10b-5; (3) Control Person Liability - § 20(a)
of the Securities Exchange Act; (4) Fraud; (5) Negligent Misrepresentation; (6) Breach of
Fiduciary Duty of Disclosure; and (7) Breach of Fiduciary Duty of Loyalty.

51. This Court is a proper venue to determine the rights of the parties under the Fraud
Claims, as a determination of rights will require a review of the Settlement and Redemption
Agreement and other issues which are material to this Complaint.

WHEREFORE, Plaintiff secks a declaration of the respective rights and obligations of
Plaintiff and Defendant in connection with the Settlement and Redemption Agreement and those
Fraud Claims made by Defendant against Plaintiff contained in the form Complaint.

GRAYROBINSON, P.A.

_/s/S. Grier Wells

S. GRIER WELLS, ESQ.

Florida Bar No.: 203238
grier.wells@gray-robinson.com
elizabeth.irvine@gray-robinson.com
50 North Laura Street, Suite 1100
Jacksonville, Florida 32202

Phone: (904)-598-9929

Fax: (904)-598-9109

Attorney for Plaintiff

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EXHIBIT ‘A’
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SETTLEMENT AND REDEMPTION AGREEMENT

THIS SETTLEMENT AND REDEMPTION AGREEMENT (this “Agreement”) is
entered into as of December 21, 2015 by and among FOODONICS INTERNATIONAL,
INC., a Florida corporation (the “Company”); K. JACQUES KLEMPF, an individual
(“Jacques”); LAURA JEAN KLEMPF (“Jean”), individually; LAURA JEAN KLEMPF, in
her capacily as Trustee of, and on behalf of, the LAURA JEAN KLEMPF REVOCABLE
TRUST dated April 1, 1992, as Amended (the “Seller"); JACQUES and JEAN as
Trustees of the Family Trust under the Edward Klempf Revocable Trust Agreement
dated April 1, 1992 (the “Family Trust”); DINA KLEMPF SROCHI, an individual
("Dina"); and MARC E. KLEMPF, an individual (“Mare”). Jean, Dina and Marc shall
sometimes be collectively referred to herein as the “5K Sellers.". The Company and
Jacques shall sometimes collectively be referred to herein as the “Foodonics Parties.”
Jean and Jacques in their capacities as Co-Trustees of the Family Trust are sometimes
referred to herein as the “Family Trust Trustees." Jacques, Marc and Dina are
sometimes collectively referred to as the “Policy Owners." The Foodonics Parties, the
5K Sellers, the Family Trust Trustees and the Seller shall sometimes be referred to
herein as the “Parties,” and each, a “Party”. ,

Background Recitals

A. Jean is the mother of Jacques, Marc and Dina. The Company was begun
by Jean's husband, and the children’s father, Edward Klempf. Following his death on
October 18, 2002, Jean and Jacques became the primary shareholders of the
Company. In 2006, various of the Parties and some third parties to this Agreement
entered into a number of transactions, including the execution of a shareholder
agreement among the Company's shareholders (the “2006 S/H Agreement"). The
2006 S/H Agreement restricts Jean's ability to sell her shares of Company stock, and
requires that at her death, her estate must sell her shares of Company stock to Jacques
for consideration computed by a formula, with the purchase price to be paid over an
eight year period. That formula price is based in part on an appraisal of the Company's
shares of stock conducted by Sheldrick, McGehee & Kohler of Jacksonville, Florida
(“SMK").

Disputes have arisen concerning the corporate governance of the Company, the
lack of distributions to shareholders, over and above income tax distributions, and
related matlers (collectively, "Disputed Matters"). As a result Jean has threatened to file
a lawsuit concerning those Disputed Matters and has incurred significant legal and
accounting expenses in investigating and asserting those claims. Recognizing the legal
and accounting fees the Parties have already incurred and that litigation would be very
costly and disruptive, and desiring to avoid further family conflict, and expensive legal
fees, the Parties desire to resolve the Disputed Matters. This Agreement affords the
Parties the opportunity to accomplish these aims as well as allowing them to separate
completely their joint business interests.

After extensive, protracted and costly adversarial negotiations that have occurred
for more than two (2) years among the Parties and their legal, accounting and tax

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advisors, the Parties are now motivated, in part, to enter into this Agreement to secure
for Jean and her eventual beneficiaries, the adequate and full consideration for her
shares of Company stock based upon an appraisal fairly conducted according to usual
and customary valuation practices.

B. The Seller owns 1,591,177 of the Company's issued and outstanding
Class A Voling Shares (collectively referred to as the “Class A Shares’).

C. The Seller owns 1,387,431 of the Company's issued and outstanding
Class B Non-Voting Shares (collectively referred to as the “Class B Shares"). (The
Seller's Class A Shares and the Seller's Class B Shares are sometimes referred to
herein collectively as the “Seller’s Shares").

D. The Seller and Jacques each own a one-half undivided interest in that
certain real properly located at 5139 Edgewood Court, Jacksonville, Florida 32254 (the
“Edgewood Court Property’).

E, Jean owns an undivided forty percent (40%) interest (‘Jean's 5K
Interest’) as a partner in 5K’s General Partnership (“5K Partnership’).

F. Marc owns an undivided twenty percent (20%) interest ("Marc's 5K
interest") as a partner in 5K Partnership.

G. Dina owns an undivided twenty percent (20%) interest ("Dina’s 5K
Interest") as a partner in 5K Partnership.

H. The sole material asset of 5K Partnership is a parcel of real property
owned by the 5K Sellers and Jacques. That real property is more particularly described
as set forth on Exhibit A attached hereto (the “SK Property’).

I. The Company owes the Family Trust $489,207.29 as of December 31,
2015, pursuant to thal cerlain Promissory Note dated June 30, 2006 (the “2006
Promissory Note"), which indebtedness is secured, pursuant to that certain Stock
Pledge Agreement of even date therewith (the “2006 Stock Pledge’), by a pledge of
422,033 shares of Class A Voting Common Stock, par value $0.003, and a pledge of
402,539 shares of Class B Non-Voting Common Stock, par value $0.003. Collectively,
the 2006 Promissory Note and the 2006 Stock Pledge are referred to as the “2006
Documents”.

J. The Seller, as a shareholder of the Company, on behalf of Jean
individually, have threatened litigation against the Foodonics Parties concerning the
Disputed Matters. This Agreement is intended, among other things, to seltle absolutely
and forever all known and unknown bases for such threatened litigation.

K. The Policy Owners own that certain life insurance policy issued by

Massachusetts Mutual Life Insurance Company or its affiliate (the “Insurance
Company”), policy number 15,587,790, with a specified face amount of Two Million

wv pk

Nm
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Dollars ($2,000,000), together with internal fund value and cash surrender value (the
"Insurance Policy’).

L. SMK has performed an appraisal of the Seller's Shares, as set forth in a
valuation report dated December, 2015 (Ihe "2015 SMK Valuation Report"). Moody
Appraisal Group has performed an appraisal of (i) the 5Ks Seller's interests in the 5K
Property, and (ii) Jean's interest in the Edgewood Court Property dated October, 2015
(the “Moody Appraisals"). These appraisals have been used to determine adequate
and full consideration and to allocate the purchase price in Section 8 below.

M. The Parties desire to accomplish the following transactions, on terms as
more specifically described within this Agreement:

1. In full and complete settlement of all threatened litigation, the
Company desires to redeem from the Seller, and Seller desires to have
redeemed, all of the Seller's Shares (the “Stock Redemption’);

2. The 5K Sellers desire to sell to Jacques, and Jacques desires to
acquire from the 5K Sellers, all of the 5K Sellers’ respective interests in 5K
Partnership and the 5K Property;

3. Jean desires to sell to Jacques, and Jacques desires to acquire
from Jean, all of her interest in the Edgewood Court Property;

4, Jean, Jacques, Mare and Dina as beneficiaries of the Family Trust,
and the Family Trust Trustees, desire to terminate and distribute the corpus of
the Family Trust for the benefit of Jean (as to the value of her income interest),
and the remainder to Jacques, Marc and Dina equally.

5: Jacques, Marc and Dina desire to create a new partnership
whereby the Insurance Policy will be held by the partnership, the terms of which
will allow one or more of the Policy Owners to contribute funds to the partnership
from time to time, and to provide for the repayment of those contributions upon
the event of Jean's death, the liquidation of the partnership at that time, and the
disbursement of the partnership's remaining assets to the partners;

6. The Company and Jean wish to provide for the payment of income
taxes attributable to the taxable income of the Company for any period of time in
which the Seller was an owner of the Company; and

7. On the various terms and conditions set forth below, the Parties
desire to settle any legal claims or disputes, including without limitation the
Disputed Matters, that they may have against each other concerning the
Company, its shares of stock, outstanding promissory notes, the Edgewood
Court Property, the 5Ks Property, and the threatened litigation.

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NOW THEREFORE, in consideration of the mutual agreements contained herein
and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties do hereby agree as follows:

1. Incorporation of Background Recitals. The foregoing background
recitals are true and correct and are hereby incorporated as part of this Agreement.

2. Redemption of Seller’s Shares. At Closing (as defined in Section 9
below), the Seller shall sell, assign, transfer, convey, and deliver to the Company all of
the Seller's rights, title and interest in and to the Seller's Shares and all of Seller's rights
as a stockholder of the Company in exchange for the payment to Seller of the
Redemption Purchase Price, as defined in Section 7 below. Following the Closing, the
Seller will no longer have any ownership or equity interest in the Company, and will not
participate in or receive any subsequent distributions of the Company.

3. Sale of 5K Interests. At Closing, Jean, Dina and Marc shall sell, assign
and convey to Jacques, their 5K Partnerhip interests and their interests in the 5K
Property by Special Warranty Deed (in the form attached as Exhibit B) in exchange for
the 5K Purchase Price as set forth in Section 8 below.

4. Edgewood Court Property. At Closing, Seller shall sell, assign and
convey to the Company by Special Warranty Deed (in the form attached as Exhibit C),
Seller's interest in the Edgewood Court Property in exchange for the Edgewood Court
Purchase Price as set forth in Section 8 below.

3: Life Insurance Policy. The Policy Owners will form the Klempf Family,
LLC (the “Insurance Partnership") and enter into an operating agreement substantially
in the form of Exhibit D, and execute such assignments, change of ownership forms,
and change of beneficiary documents at Closing and thereafter, as are required or
requested by the insurer to transfer ownership of the Insurance Policy to the Insurance
Partnership, and to cause the beneficiary of the Insurance Policy to be the Insurance
Partnership.

6. Family Trust. The Family Trust Trustees, together with Jacques, Jean,
Marc and Dina, will take all steps reasonably necessary to terminate and distribute the
corpus of the Family Trust to Jean to the extent of her income interest, and the
remainder to Jacques, Dina and Marc immediately following the Closing.

7. Mutual Releases.

(a) As partial consideration for payment of the aggregate Purchase
Price by the Foodonics Parties to the Seller and the 5K Sellers as described in
Section 8 below, and for other good and valuable consideration, the receipt and
sufficiency of which is hereby acknowledged, each of the Seller, each 5K Seller,
the Family Trust Trustees, as well as Jean both individually and in her capacity
as trustee of any trust under the Edward Klempf Revocable Trust dated April 1,
1982 (collectively, the “Releasing Parties"), effective as of the Closing Date
hereby release and waive any and all claims, causes of action, suits, rights or

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damages each has or may have, and represents, warrants and agrees thal it has
no colorable claims against, any of the Foodonics Parties or any of their affiliates,
including any arising under the 2006 Documents, except:

(i) with respect to any rights and obligations under that certain
Agreement Regarding Condominium Use between the Company,
Jacques, Dina and Mark dated in September 2006 (the “Condo
Agreement’) pertaining to condominium Unit 615, located at Surf Villas
Condominiums, 615 Summer Place, Ponte Vedra Beach, Florida 32082,
including without limitation the purchase option set forth in the Condo
Agreement; and

(ii) the rights and obligations of the parties set forth in this
Agreement and related documents.

(iii) the rights and obligations under the 2006 Documents as
modified in accordance with this Agreement.

Without limiting the foregoing, each of the Releasing Parties hereby forever
waives, releases and terminates, and shall treat as fully performed, all
agreements, obligations and understandings each may have with Jacques or the
Company not specifically set forth in this Agreement or in the Condo Agreement.

(b) For good and valuable consideration, the Seller, Jean and the
Family Trust Trustees (i) hereby waive and release the Company and all other
Parties from any default or breach which may otherwise occur under the 2006
Documents as a result of the transactions contemplated by this Agreement as a
“Change in Control Transaction,” as such term is referred to in the 2006
Documents, and (ii) hereby represent, warrant and agree that no such breach or
default exists, and no set of facts exist that would, with the passage of time or
otherwise, constitule a default, under the 2006 Documents, and (iii) agree that
the 2006 Documents are hereby deemed terminated to permit the transactions
contemplated hereby.

(c) For good and valuable consideration, the Foodonics Parties
hereby release Jean in her individual capacity or any other capacily, from any
and all claims, causes of action, suits, rights or damages that the Foodonics
Parties have or may have against her, and each of the Foodonics Parties
represents, warrants and agrees that it has no coloarable claims against Jean,
except the rights and obligations of the parties set forth in this Agreement and
related transactions. Without limiting the foregoing, each of the Foodonics Parties
waives, releases and terminates, and shall treat as fully performed, all
agreements and understandings each may have with Jean not specifically set
forth in this Agreement.

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8. Purchase Price and Financial Transactions. The various amounts to
be paid by the Company and Jacques in connection with this Agreement are referred to
as the “Purchase Price" and are set forth below:

(a) The consideration to be paid by the Company to Seller in
connection with the Stock Redemption (the “Redemption Purchase Price") shall
be the sum of Nine Million Four Hundred Eighteen Thousand Five Hundred
Dollars ($9,418,500), which shall to be paid by the Company by wire transfer at
the Closing.

(b) | The Company shall transfer to Jean, ownership of the two (2) Lexis
vehicles that are and have long been in Jean’s possession or control (the
“Vehicles”) (or such other person that Jean directs in writing prior to the Closing)
which Vehicles are described as:

Year: VIN:
2002 Lexus JTHBF30G820052757
2004 Lexus JTHBN36F240138974

The Company shall be responsible for sales tax and transfer cosis associated
with the transfer of the Vehicles. The agreed value for the Vehicles stated above
shall be reflected in any bill of sale or other transfer documents regarding the
Vehicles.

(c) |The Company shail pay the balance of the 2006 Promissory Note
to the Family Trust by delivery of the sum of Four-hundred eighty-nine thousand
two hundred seven dollars and twenty-nine cents ($489,207.29) at Closing by
wire transfer.

(d) The consideration to be paid by Jacques to Jean for her interest in
the Edgewood Court Properly shall be the sum of Two Hundred Twenty-One
Thousand Five Hundred Dollars ($221,500) ("Edgewood Court Purchase
Price"), payable at Closing by wire transfer.

(e) The consideration to be paid by Jacques to the 5K Sellers for their
interests in 5K Partnership and the 5K Property shall be the sum of Three
Hundred Sixty Thousand Dollars ($360,000) ("SK Purchase Price"), payable al
Closing in cash or immediately available funds to be paid against delivery of the
assignment of the interests of the 5K Seller's in 5K Partnership and the
conveyance of their interests in the 5K Property. The 5K Purchase Price shall be
allocated $180,000.00 to Jean, $90,000 to Marc, and $90,000 to Dina.

(f) From the proceeds of the 5K Purchase Price allocated to Dina, the
sum of $12,500 shall be withheld and delivered to the Insurance Company for
premium payments she has failed to make.

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9. Transactions to be Effected at Closing.

(a) Subject to the terms and conditions of this Agreement, the
consummation of the transaclions contemplated by this Agreement
(the “Closing") shall take place at the offices of GrayRobinson, P.A., 50 North
Laura Street, Suite 1100, Jacksonville, Florida 32202, at 10:00 a.m. on
December 15, 2015, or at such other time, date or place as the Parties may
mutually agree upon in writing. The date on which the Closing is to occur is
herein referred to as the “Closing Date.”

(b) | At the Closing, Seller shall deliver the following to Company:

(i) Stock powers duly endorsed by Seller transferring Seller's
Shares to the Company;

(ii) Duly executed resignations of Jean and all designees of the
Seller on the Board of Directors of the Company and as an officer of the
Company;

(iii) One or more duly executed written amendments to the
Foodonics International, Inc. Shareholders Agreement dated September
15, 2006, in form and substance acceptable to the Company excepling the
Stock Redemption and related transactions described herein from the
restrictions of the Shareholders Agreement (the “Shareholders
Agreement Amendment’);

(iv) Instructions to the escrow agent holding the original stock
certificates in connection with the 2006 Documents to the Company; and

(v) | Such other documents as the Foodonics Parlies or their
counsel may reasonably request to effect the transactions described in
this Agreement.

(c) | Atthe Closing, the Foodonics Parties shall do the following:
(i) Pay the Redemption Purchase Price to Seller;
(ii) Pay the Edgewood Court Properly Purchase Price to Jean;
(iii) | Pay the 5K Purchase Price to Jean, Dina and Marc in the
amounts. set forth on paragraph 8(f) above, withholding $12,500 from

Dina's portion, which amounts will instead be forwarded to the Insurance
Company as set forth in Sections 8(f) above;

(iv) Deliver the duly executed certificates of title and general bill

of sale to transfer ownership of the Vehicles to Jean;
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(v) Deliver the $489,207.29 balance of the 2006 Promissory
Note to the Family Trust Trustees; and

(vi) Deliver such other documents as the Seller or Seller's
counsel may reasonably request to effect the transactions described in
this Agreement.

(d) Atthe Closing, Jean and the 5K Sellers shall deliver or cause to be
delivered to Jacques the following:

(i) Duly executed Assignment Separate From Certificate in form
and substance acceptable to Jacques, assigning each of the 5K Sellers’
interests in the 5K Partnership to Jacques;

(ii) Duly executed special warranty deeds in form and substance
acceptable to Jacques, conveying each of the 5K Sellers’ ownership
interest in the 5K Property to Jacques; and

(iii) | Duly executed special warranty deed in form and substance
acceptable to Jacques, conveying Jean's ownership interest in the
Edgewood Court Property to Jacques.

(e) At the Closing, the Family Trust Trustees shail deliver or cause to
be delivered to the Company, the following:

(i) Original 2006 Promissory Note.

(ii) Such other documents reasonably requested by the
Foodonics Parties to evidence the full and complete payment of the 2006
Promissory Note and the release of any collateral associated with the
2006 Stock Pledge, and the satisfaction and performance by the Company
of all conditions and requirements contained in the 2006 Documents.

10. Representations and Warranties.

(a) From Jean and the Seller. Jean and the Seller, jointly and
severally, represent and warrant to the Foodonics Parties that the statements in
this Section 10(a) are correct and complete as of the date of this Agreement and
will be correct and complete as of the Closing Date (as though made then and as
though the Closing Date were substituted for the date of this Agreement
throughout this Section 10(a)):

(i) Seller is the record and beneficial owner of, and has good
and marketable title to, the Seller's Shares, free and clear of any liens,
encumbrances, restrictions on transfer or claims (with the exception of any
restrictions on transfer set forth in the Foodonics International, Inc.
Shareholders Agreement dated September 15, 2006, which shareholders
agreement is being amended pursuant to the Shareholders Agreement

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Amendment to remove all such restrictions), and shall convey such good
and marketable title to the Seller's Shares at the Closing. The Seller's
Shares constitute all of the Seller's ownership interest in the Company.
Prior to the date of this Agreement, all shares of stock in the Company
formerly owned by the Edward Klempf Marital Trust have been assigned
to Seller, and those shares are being completely redeemed as a portion of
Seller's Shares hereunder.

(ii) | The execution, delivery and performance of this Agreement
and the other documents and agreements contemplated hereby, and the
consummation of the transactions contemplated hereby and thereby, will
not result in any violation on the part of the Seller or be in conflict with, or
constitute (with or without the passage of time and giving of notice) a
default on the part of the Seller under: (i) any material contract,
agreement, morigage, note, bond, indenture or lease to which Seller is a
party; or (ii) any law, rule, regulation, instrument, contract, judgment,
order, writ, or decree to which the Seller is a party or by which the Seller's
Shares are bound; or (iii) result in the acceleration of any indebtedness or
in the creation of any encumbrance upon Seller's assets.

(iil) |The Seller has the right, power, and authority to enter into
and perform Seller's obligations under this Agreement and the other
documents and agreements contemplated hereby. The Seller has duly
executed and delivered this Agreement, and this Agreement is, and each
of such other documents and agreements contemplated hereby when
executed will be, a valid and binding agreement of the Seller, enforceable
against the Seller in accordance with its terms, except as such
enforcement may be subject to bankruptcy, insolvency, reorganization,
moratorium, or other similar laws now or hereafter in effect relating to
creditor's rights and general principles of equity.

(iv) Jean will take over responsibility for paying her Medicare
supplement health insurance following the Closing Date.

(b) From the Foodonics Parties. The Foodonics Parties hereby
jointly and severally represent and warrant to the Seller and the 5K Sellers that
the statements in this Section 10(b) are correct and complete as of the date of
his Agreement (except as expressly noted herein) and will be correct and
complete as of the Closing Date (as though made then and as though the
Closing Date were substituted for the date of this Agreement throughout this
Section 10(b)):

(i) The execution, delivery and performance of this Agreement
and the other documents and agreements contemplated hereby, and the
consummation of the transactions contemplated hereby and thereby, will
not result in any violation on the part of any of the Foodonics Parties or be
in conflict with, or constitute (with or without the passage of time and

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giving of notice) a default on the part of any of the Foodonics Parties
under: (i) the organizational documents of such Foodonics Party; (ii) any
material contract, agreement, mortgage, note, bond, indenture or lease to
which such Foodonics Party is a party; or (iii) any law, rule, regulation,
instrument, contract, judgment, order, writ, or decree to which any of the
Foodonics Parties is a party, or (iv) result in the acceleration of any
indebtedness or in the creation of any encumbrance upon such Foodonics
Party's assets.

(ii) Each of the Foodonics Parties has the right, power, and
authority to enter into and perform its obligations under this Agreement
and the other documents and agreements contemplated hereby. Each of
the Foodonics Parties has duly authorized, executed and delivered this
Agreement, and this Agreement is, and each of such other documents and
agreements contemplated hereby when executed will be, a valid and
binding agreement of each of the Foodonics Parties, enforceable against
each of the Foodonics Parties in accordance with its terms, except as
such enforcement may be subject to bankruptcy, insolvency,
reorganization, moratorium, or other similar laws now or hereafter in effect
relating to creditor's rights and general principles of equity.

(iii) | The Foodonics Parties hereby jointly and severally represent
and warrant to the Seller that as of the Closing Date: (i) there are no
current offers pending nor ongoing discussions: (A) for the sale of all or
substantially all of the assets of the Company; (B) for the sale by Jacques
of his stock in the Company or (C) to effect a merger, stock exchange or
other transaction which would have the effect of either Jacques no longer
holding a majority of the outstanding shares of stock of the Company or
the Company no longer owning substantially all of the assets thal it
currently owns (collectively referred to as a “Realization Event’); (ii) the
Foodonics Parties have nol received any written offers to effect a
Realization Event within the twelve (12) months prior to the date of this
Agreement.

(c) From the 5K Sellers. Each of the 5K Sellers, severally and solely
as to themselves, represent and warrant to the Foodonics Parties that the
statements in this Section 10(c) are correct and complete as of the date of this
Agreement and will be correct and complete as of the Closing Date (as though
made then and as though the Closing Date were substituted for the date of this
Agreement throughout this Section 10(c)):

(i) Each 5K Seller is the record and beneficial owner of their
respective interest in 5K Partnership, free and clear of any liens,
encumbrances, restrictions on transferor claims, and shall convey all
ownership rights and entitlements associated with thal interest to Jacques
at Closing. Jean's 5K Interest, Dina's 5K Interest and Marc's 5K Interest
collectively constitute all of the 5K Sellers’ ownership interests in 5K

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Partnership. Following Closing, Jacques will own 100% of the interests in
the 5K Partnership and in the 5K Property. The 5K Sellers are not owed
any amounts, and have received all amounts due with respect to the SK
Partnership and 5K Property.

(ii) | The execution, delivery and performance of this Agreement
and the other documents and agreements contemplated hereby, and the
consummation of the transactions contemplated hereby and thereby, will
not result in any violation on the part of the 5K Sellers or be in conflict
with, or constitute (with or without the passage of time and giving of
notice) a default on the part of any 5K Seller under: (i) any material
contracl, agreement, mortgage, note, bond, indenture or lease to which
such 5K Seller is a party; or (ii) any law, rule, regulation, instrument,
contract, judgment, order, writ, or decree to which any of the 5K Sellers
are a party or by which the 5K Sellers’ membership interests are bound; or
(iii) result in the acceleration of any indebtedness or in the creation of any
encumbrance upon the 5K Sellers' assets. By execution of the documents
described in this Agreement, the Parties are deemed to have waived any
restrictions on transfer or other provisions related to such transfer that
might otherwise exist or apply under the agreement of general partnership
or any other organizational document applicable to 5K Partnership.

(iii) The 5K Sellers have the absolute and unrestricted right,
power, and authority to enter into and perform the 5K Sellers’ obligations
under this Agreement and the other documents and agreements
contemplated hereby. The 5K Sellers have duly executed and delivered
this Agreement, and this Agreement is, and each of such other documents
and agreements contemplated hereby when executed will be, a valid and
binding agreement of the 5K Sellers, enforceable against the 5K Sellers in
accordance with its terms, except as such enforcement may be subject to
bankruptcy, insolvency, reorganization, moralorium, or other similar laws
now or hereafter in effect relating to creditor's rights and general principles
of equity.

(d) From the Policy Owners. Each of the Policy Owners represents
and warrants to the other Policy Owners thal the following statements are true
and correct as of the Closing Date:

(i) Jacques and Marc have paid one-third of all premium
payments due under the Insurance Policy. After payment of the amounts
described in Section 8(f) above, Dina will have paid one-third of all
premium payments under the Insurance Policy as well. Upon transfer of
the Insurance Policy to the Partnership, each of the Policy Owners will
have an equal basis in the Insurance Policy.

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(ii) |The Policy Owners will take all steps necessary to vest
ownership of the Insurance Policy in, and to provide that the beneficiary of
the Insurance Policy is, the Insurance Partnership.

11. Indemnification.

(a) Survival of Representations, Warranties and Covenants. The
respective representations, warranties and covenants of the Parties contained in
this Agreement shall survive the consummation of the transactions contemplated
hereby.

(b) Indemnification by Seller. Seller shall indemnify the Foodonics
Parlies against and hold them harmless from all damages, losses, expenses,
claims, demands, suits, causes of action, proceedings, judgments and liabilities.
including reasonable attorneys’ fees and court costs (collectively, “Indemnified
Damages’), assessed, incurred, threatened, alleged or sustained by or against
the Foodonics Parties with respect to or arising out of (i) the failure of any
representation or warranty made by Seller in this Agreement to be true and
correct in all material respects as of the date of this Agreement and as of the
Closing Date, (ii) the failure of Seller to fulfill any of Seller's covenants or
agreements hereunder.

(c) Indemnification by Foodonics Parties. Each of the Foodonics
Parties, jointly and severally, shall indemnify Seller against and hold Seller
harmless from all Indemnified Damages, assessed, incurred, threatened, alleged
or sustained by or against Seller with respect to or arising out of (i) the failure of
any representation or warranty made by a Foodonics Party in this Agreement to
be true and correct in all material respects as of the date of this Agreement and
as of the Closing Date and (ii) the failure of a Foodonics Party to fulfill any of its
covenants or agreements set forth in this Agreement or the documents
contemplated hereunder. In the event the Internal Revenue Service audits the
Company for any period that results in an increase in the amount of taxable
income of the Company for any taxable year ending on or prior to the Closing,
the Company shall indemnify Seller for all additional income taxes (including
interest and penalties thereon) owed by Seller and resulting from such increase.
Furthermore, the Foodonics Parties will satisfy, and indemnify the 5K Sellers for
any obligations arising in connection with the BB&T Loan secured by the 5K
Property.

(d) Indemnification by the 5K Sellers. Each of the 5K Sellers,
severally, shall indemnify Jacques against and hold Jacques harmless from all
Indemnified Damages, assessed, incurred, threatened, alleged or sustained by
or against any of the Foodonics Parties with respect to or arising out of (i) the
failure of any representation or warranty made by a 5K Seller in this Agreement
to be true and correct in all material respects as of the date of this Agreement
and as of the Closing Date; (ii) the failure of a 5K Seller to fulfill any of its
covenants or agreements set forth in this Agreement or the documents

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contemplated hereunder; and (iii) any Indemnified Damages to the extent the
same relates to a period of time or action or inaction prior to the Closing Date.

(e) Notice. Each Party hereto shall give the indemnifying party prompt
written notice of any claim, assertion, event or proceeding by or in respect of a
third Party of which it has knowledge concerning any liability or damage as to
which it may request indemnification hereunder. The Party providing indemnifi-
cation shall have the obligation, if requested by the indemnified Party, at all times
to defend any such claim or proceeding, including advancement of any costs of
defense.

(f) Time for Payment. All indemnification payments required to be
made pursuant to this Article shall be made promptly afler demand for payment
has been made by the indemnified Party upon the indemnifying Party.

12. Taxes.

(a) |S Corporation. Upon the Closing, the Foodonics Parties and the
Seller agree to elect to allocate the taxable income of the Company for the
taxable year ending December 31, 2015, as if the taxable year consisted of two
(2) taxable years, as provided in Section 1377(a)(2) of the Code.

(b) Income Taxes. The Company shall distribute to Seller or pay to the
Internal Revenue Service on behalf of Seller an amount (the “Distribution
Amount") equal to the income tax liability of Seller for the year ending on the
Closing Date, in the same manner as made for prior periods. The Distribution
Amount payable to or on behalf of Seller under this Section 12(b) are in addition
to the amounts payable to Seller pursuant to Section 8(a) of this Agreement. The
Company shall pay the Distribution Amount in a timely manner consistent with
prior years to avoid assessment of penalties or interest against the Seller for
underpayment of estimated income taxes for her 2015 tax year. Other than as
expressly set forth in this Section 12(b), the Parties shall each be responsible for
reporting and paying his, her or its income taxes.

13. Assignment. Each of the Parties hereby agrees that it will not assign any
of its rights or interests under this Agreement or any related documents referred to
herein to any other person or entity without the prior wrilten consent of all of the other
Parties.

14. No Actions Inconsistent. Each of the Parties hereby agrees that it will
take no aclion that is inconsistent with any of the provisions or requirements of this
Agreement.

15. Expenses. Each party shall bear and pay its own costs and expenses
(including without limitation legal fees and expenses incurred by Seller) incurred in
connection with the preparation and negotiation of this Agreement and in connection
with the transactions and other documents contemplated hereby. In the event of any
litigation to construe or enforce this Agreement (or the agreements contemplated

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herein), the prevailing Party shall be entitled to recover the prevailing Party's reasonable
attorney's fees and costs from the non-prevailing Party, whether at trial or on appeal.

16. Miscellaneous.

(a) Each of the Parties hereby agrees to execute such other
documents and perform such other acts as may be necessary or desirable to
effectuate the intent of this Agreement. Without limiting the foregoing, Jean and
Seller shall sign any cancellation of the 2006 Note and any stock certificate
representing any of the Seller's Shares or any shares serving as collateral for the
2006 Documents.

(b) | This Agreement shall be governed by and construed in accordance
with the laws of the State of Florida (without giving effect to the choice of law
rules thereof), and shall be binding upon and inure to the benefit of the Parties.

(c) Any legal action, suit or proceeding in equity or law arising out of or
relating to this Agreement, shall be instituted in any stale or federal court in Duval
County, Florida, and each Party agrees not to assert, by way of motion, as a
defense, or otherwise, in any such action, suit or proceeding, any claim that such
Parly is not subject to the jurisdiction of such court, that its property is exempt or
immune from atlachment or execution, that the action, suit or proceeding is
brought in an inconvenient forum, that the venue of the action, suit or proceeding
is improper, or thal its Agreement or the subject matter hereof may not be
enforced in or by such court. Each Party further irrevocably submits to the
jurisdiction of any such court in any such action, suil or proceeding.

(d) This Agreement and the other writings referred to herein contain
the entire underslanding of the Parties with respect to its subjecl matter. This
Agreement supersedes all prior agreements and understandings among the
Parlies with respect to its subject matter.

(e) This Agreement may be amended only by a writlen instrument duly
executed by the Parties hereto. This Agreement (including without limitation this
Section 16(e)) may not be amended by oral agreement, waiver or course of
dealing among the Parties.

(f) This Agreement may be executed in multiple counterparts, all of
which shall be but one and the same instrument, binding on all parties when all
separately executed copies have been fully delivered.

(g) No failure by either Party to take action on account of any default
by the other shall constitute a waiver of such Party's right to take action on such
default or any future similar default, or of the performance required of the other of

all of the provisions hereunder.
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(h) The descriptive headings of this Agreement are intended for
reference only and shall not affect the construction or interpretation of this
Agreement.

(i) The Parties have participated jointly in the negotiation and drafting
of this Agreement. In addition, all Parties have been represented by their own
legal counsel in the negotiation and preparation of this Agreement. Each Party
has had the opportunity to consult counsel prior to executing this Agreement. In
the event an ambiguity or question of intent or interpretation arises, no
presumption or burden of proof shall arise favoring or disfavoring any Party by
virtue of the authorship of any of the provisions of this Agreement.

(j) The Parties agree that lime is of the essence to each of the
provisions of this Agreement.

(k) All notices, requests, demands and other communications required
or permitted to be given or made under this Agreement shall be in writing and will
be deemed to have been duly given if personally delivered or if sent by United
States mail, certified, return receipt requested, postage pre-paid or upon delivery
to any nationally recognized over-night courier service, in each case, addressed
as follows or to such other person or entity as lhe Parties may designate by
notice to the Parties in accordance herewith:

To the Foodonics Parties:
5139 Edgewood Court
Jacksonville, FL 32254
Attention: K. Jacques Klempf

With copy to:

Grier Wells, Esq.

GrayRobinson, P.A.

50 North Laura Street, Suite 1100
Jacksonville, FL 32202

To Jean, Seller and 5K Sellers:
6730 Epping Forest Way N., #108
Jacksonville, FL 32217

Attention: Laura Jean Klempf

With copy to:

Dennis L. Blackburn, Esq.
Blackburn and Co.

5150 Belfort Road, Building 500
Jacksonville, FL 32256-6030

LP
Case 3:17-cv-01054-TJC-JRK Document 1-1 Filed 09/06/17 Page 17 of 19 PagelD 26

IN WITNESS WHEREOF, the Parties hereto have duly executed this Agreement
as of the first date written above.

FOODONICS INTERNATIONAL, INC.

By:
Name: K. Jacques Klempf
Title: President

 

 

K. Jacques Klempf, individually

LAURA JEAN KLEMPF REVOCABLE TRUST dated
April 1, 1992, as Amended

/

 
  

By;
Laura Jean

Lat. Cass Kloet

“LAURA JEAN(KLEMPF

 

DINA KLEMPF SROCHI

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LAURA ERM KLEMPF, as~Trdstée of the Family
Trusl undef the Edward Klempf Revocable Trust

dated April 1, 1992

 

 

K. JACQUES KLEMPF, as Trustee of the Family
Trust under the Edward Klempf Revocable Trust
dated April 1, 1992

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Case 3:17-cv-01054-TJC-JRK Document 1-1 Filed 09/06/17 Page 18 of 19 PagelD 27

IN WITNESS WHEREOF, the Parties hereto have duly executed this Agreement

as of the first date written above.

FOODONICS INTERNATIONAL, INC.

By:
Name: K. Jacques Klempf
Title; President

 

 

K. Jacques Klempf, individually

LAURA JEAN KLEMPF REVOCABLE TRUST dated
April 1, 1992, as Amended

By:
Laura Jean Klempf, Trustee

 

 

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MARC E. KLEMPF

 

LAURA JEAN KLEMPF, as Trustee of the Family
Trust under the Edward Klempf Revocable Trust
dated April 1, 1992

 

K. JACQUES KLEMPF, as Trustee of the Family
Trust under the Edward Klempf Revocable Trust
dated April 1, 1992

16
Case 3:17-cv-01054-TJC-JRK Document 1-1 Filed 09/06/17 Page 19 of 19 PagelD 28

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the Parties hereto have duly executed this Agreement

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By: Mls

Name! K Vacqteg Klempf
Title: President

Vinee

K. Jacques Kiémpf, individually

LAURA JEAN KLEMPF REVOCABLE TRUST dated
April 1, 1992, as Amended

By:
Laura Jean Klempf, Trustee

 

 

LAURA JEAN KLEMPF

 

DINA KLEMPF SROCHI

 

MARC E. KLEMPF

 

LAURA JEAN KLEMPF, as Trustee of the Family
Trust under the Edward Klempf Revocable Trust
dated April 1, 1992

pW

K. JACQUES KLEMPF, as Trustee of the Family
Trust under the Edward Klempf Revocable Trust
dated April 1, 1992

 

16
TAB 3
 

SMITH HULSEY & BUSEY

JAMES H. POST
Direct 904.359.7783
JPOST@SMITHHULSEY.COM

December 22, 2017

Grier Wells, Esq.

GrayRobinson P.A.

50 North Laura Street, Suite 1100
Jacksonville, Florida 32202

Re: — Foodonics International, Inc. v. Dina Klempf Srochi, As Trustee of the
Laura Jean Klempf Revocable Trust; United States District Court,
Middle District of Florida, Jacksonville Division; Case No. 3:17-
cv1054-J-32JRK

Dear Grier:

This letter addresses several issues pertinent to the Rule 26(f) conference in
this case scheduled on January 10, 2018.

Attachment 1 is a Checklist for Rule 26(f) Conference Regarding
Electronically Stored Information (the “ESI Checklist”), which was recently adopted
by the United States District Court for the Southern District of Florida for use by
parties with cases pending in that District. Although the Middle District of Florida
has not yet approved a similar checklist, we believe this ESI Checklist serves as a
useful roadmap for the issues that we would need to discuss at the upcoming
conference on January 10, 2018.

In order to expedite and facilitate our discussions regarding ESI matters, we
ask that you designate and bring to the Rule 26(f) Conference an E-Discovery Liaison
who will be knowledgeable about and responsible for the ESI of Foodonics
International, Inc. and Mr. Jacques Klempf.' Our designated E-Discovery Liaison
will be Chris Dix, who has attained the CEDS (Certified E-Discovery Specialist)
designation, and who has experience in both state and Federal cases involving large
volumes of ESI.

 

Designation of an E-Discovery Liaison is discussed in Article II of the attached ESI Checklist.
ATTORNEYS
225 WATER STREET. SUITE 1800 + P.O. BOX 53315 * JACKSONVILLE. FL 32201-3315
OFFICE 904.359.7700 «= FAX 904.359.7708
 

SMITH HULSEY Q& BUSEY
Grier Wells, Esq.
December 22, 2017
Page 2

On June 23, 2017, we wrote a letter to Jacques Klempf that included a draft
complaint and document requests that we anticipated filing in the event that the
disputes between the parties could not be resolved amicably. Attachments 2 and 3 to
this letter are the relevant portions of the document requests that we previously sent to
Mr. Klempf. You should assume that Foodonics and Jacques Klempf will be served
with and required to respond to similar requests for production in connection with the
pending action. In order to avoid unnecessary delays in the discovery process, please
review and be prepared to discuss these discovery requests at the Rule 26(f)
Conference along with the other items included in the attached ESI Checklist.

We look forward to discussing this case in greater detail with you on January
10, 2018. Please let us know if there are any issues that you or your designated E-
Discovery Liaison wish to address prior to that time.
Very truly yours,

—_—

James H. Post

00982033
United States District Court
Southern District of Florida

Checklist for Rule 26 nference
Regarding Electronically Stored Information (“ESI’’)

In connection with the Federal Rule of Civil Procedure 26(f) conference and in preparing the
Local Rule 16.1(b)(2) conference report, the Court encourages the use of the following checklist.
The usefulness of any particular topic may depend on the nature and complexity of the matter.

I___ Preservation

e The ranges of creation or receipt dates for any ES] to be preserved.

e The description of ESI from sources that are not reasonably accessible because of undue
burden or cost and that will not be reviewed for r nsiveness or produced, but that will
be preserved in accordance with Federal Rule of Civil Procedure 26(b)(2)(B).

Th cription of ESI from sour that: (a) the party believes coul ntain relevant
information; but (b) has determined, under the proportionality factors, is not discoverable

and should not be preserved.

Whether _to continue any interdiction of any document-destruction program, such as
ongoing erasures of e-mails, voicemails, and other electronically recorded material.

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The list of systems, if any, that contain ESI not associated with individual custodians and
that will be preserve h_as enterprise databases.

e Any disputes related to scope or manner of preservation.
IL, Liaison
e The identity of each party’s e-discovery liaison, who will be knowledgeable about and
responsible for each party’s ESI.

Il Informal Di ryA L ion and T f m
e Identification of systems from which discovery will be prioritized (e.g., e-mail, finance,
HR systems

e Descriptions and location of systems _in which potentially discoverable information i
stored.
¢ How potentially discoverable information is stored.

e How discoverable information can be collected from systems and media_in which it is
stored.

I Pr rtionali n

e The amount and nature of the claims being made by either party.

e The nature and scope of burdens associated with the proposed preservation and discovery
of ESI

e The likely benefit of the proposed discovery.
° ts that the parties will share to reduce overall discovery expen h_as the use of a

common _electronic-discovery vendor or a shared document repository, or other _cost-
saving measures.

e Limits on the scope of preservation or other cost-saving measures.

e Whether there is relevant ESI that will not be preserved in accordance with Federal Rule
of Civil Pr re_26(b)(1), requiring discovery to be proportionate to the needs of th
case.

V. Search

e The search method(s), incl iain specific wor r_phrases or other methodol that
will _b to identifi verable ESI and _filter_out_ESI that is not subject t
discovery.

e The quality-control method(s) the producin arty will use to evaluate whether _a
roduction is missing relevant ESI or contains substantial amounts of irrelevant ESI.

Vv in

 

 

contain discoverable inforn information and that will best that will be included
in . the first phases of Federal Rule of Civil Procedure 34 document discove

e Sources of ESI less likely to contain discoverable information from which discovery will

be postponed or not reviewed,

name_or role) most likely to_have diss overable information and whose

  

° Custodians (by ni (by name ot tole) less likely to have edi veaveediacoveriile ia eration fomeuihs from whom
ost iponed or avoided.

overable information was most likely to have been

 
 

created or received,
VIL, Production
e The formats in which structured ESI (database, collaboration sites, etc.) will rodu
e The formats in which unstructured ESI (e-mail, presentations, word processing, et ill
be produced,
e The extent, if any, to which metadata will roduced and the fields of metadata to be
produced.

e The production format(s) that _ensure(s) that _any inherent_searchability of ESI is not
degraded when produced.

VIIL,__Privilege
e How any production of privileged or work-product protected information will be handled.

e Whether the parties can agree on alternative ways to identify documents withheld on the
grounds of privilege or work product to reduce the burdens of such identification,

e Whether the parties will enter into a Federal Rule of Evidence 502(d) stipulation_and
order that addresses inadvertent or agreed production.
9. In response to this request, You are required to furnish all information and
documents in Your possession, custody or control, or in the possession, custody or
control of Your past or present agents, attorneys, accountants, advisors, employees, or
any other persons acting on Your behalf.

Documents and ESI Requested

1. All Documents and ES] exchanged, sent or delivered between You and/or

Foodonics, on the one hand, and Dolph Baker and/or Cal-Maine, on the other hand,

including, but not limited to:

a.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the Cal-Maine Sale.

All documents or ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker referring or relating to the
Settlement and Redemption Agreement.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker referring or relating to Laura Jean
Klempf or the Trust.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the value of Foodonics’
Assets or Foodonics’ Stock.

All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the sale of Foodanics’
Assets or Foodonics’ Stock.

All Documents and ESI constituting any Foodonics’ financial
information provided by or on behalf of You and/or Foodonics to
Cal-Maine and/or any of its representatives, agents, officers or
directors.

2. Any and all closing documents and other agreements relating to the Cal-

Maine Sale.

3. All Documents and ESI in the possession of You or Foodonics relating to

or containing any representations or estimates made by You or Foodonics to any person
or entity regarding the value of Foodonics’ Stock or Foodonics’ Assets from January 1,
2009 through the date of production.

4, All Documents and ESI in the possession of You or Foodonics to any
person or entity relating to the value of Foodonics’ Stock from January 1, 2009 through
the date of production.

5. All Documents and ESI relating to any proposals, offers or discussions
You or Foodonics had with any person or entity regarding any possible purchase or sale
of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents and ESI that You or Foodonics sent to or received from
Marc Klempf relating to Cal-Maine or Dolph Baker.

7. All Documents and ESI that You or Foodonics sent to or received from
Marc Klempf relating to the value of Foodonics’ Assets or Foodonics’ Stock.

8. All Documents and ESI that You or Foodonics sent to or received from
Marc Klempf relating to the sale of Foodonics’ Assets or Foodonics’ Stock.

9. All Documents or ESI You or Foodonics sent to or received from Marc
Klempf referring or relating to the Settlement and Redemption Agreement.

10. All Documents or ES] You or Foodonics sent to or received from Marc
Klempf referring or relating to [aura Jean Klempf from September 1, 2008 to date.

11. All Documents and ESI You or Foodonics sent to or received from Marc
Klempf referring or relating to the Cal-Maine Sale.

12. All Documents and ES] that You or Foodonics sent to or received from

Laura Jean Klempf or the Trust relating to Cal-Maine or Dolph Baker.
13. All Documents and ESI that You or Foodonics sent to or received from
Laura Jean Klempf or the Trust relating to the value of Foodonics’ Assets or Foodonics’
Stock.

14. All Documents and ESI that You or Foodonics sent to or received from
Laura Jean Klempf or the Trust relating to the sale of Foodonics’ Assets or Foodonics’
Stock.

15. All Documents or ESI that You or Foodonics sent to or received from
Laura Jean Klempf or the Trust referring or relating to the Settlement and Redemption
Agreement.

16. All Documents or ESI You or Foodonics sent to or reccived from Laura
Jean Klempf or the Trust referring or relating to the Cal-Maine Sale.

17. All Documents or ESI You or Foodonics sent to Laura Jean Klempf from
September 1, 2008 to date.

18. All Documents and ESI that You or Foodonics sent to or received from
Ian Ratner relating or referring to (i) the value of Foodonics’ Assets or Foodonics’ Stock
and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

19. All Documents and ESI that You or Foodonics sent to or received from
GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

20. All Documents and ESI that You or Foodonics sent to or received from

Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or Foodonics’

Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.
21. All Documents and ESI that You or Foodonics sent to or received from
Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

22. All Documents and ESI that You or Foodonics sent to or received from
John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

23. All Documents and ESI that You or Foodonics sent to or received from
Stevens, Powell & Company, P.A. relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

24. All Documents and ESI that You or Foodonics sent to or received from
Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

25. All Documents and ESI that You or Foodonics sent to or received from
First Florida Capital Corporation relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

26. All Documents and ESI that You or Foodonics sent to or received from
GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption
Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Cal-Maine or Dolph Baker (iv) the
Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi) any

potential sale of Foodonics’ Assets or Foodonics’ Stock.
27. All Documents and ESI constituting, referring or relating to any Financial
Statement prepared by or for You and delivered to any third party including, but not
limited to, financial institutions, potential purchasers of Foodonics or the like, during the
period January 1, 2012 through January 1, 2017.

28. All Documents and ESI constituting, referring or relating to any personal
Financial Statement prepared by or for Foodonics and delivered to any third party
including, but not limited to, financial institutions, potential purchasers of Foodonics or
the like, during the period January 1, 2012 through January 1, 2017.

29. All Documents and ESI constituting any Financial Statement prepared by
or for You and/or Foodonics where such Financial Statement identifies, refers or relates
to the value of Foodonics’ Stock of Foodonics’ Assets.

30. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (iii) BAM Investment Group, LLC.

31. All general ledgers for Foodonies for the years 2012 through the date of

production.

32. All corporate minutes for Foodonics for the years 2012 through the date of

production.

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9. In response to this request, You are required to furnish al] information and
documents in Your possession, custody or control, or in the possession, custody or
control of Your past or present agents, attomeys, accountants, advisors, employees, or
any other persons acting on Your behalf.

Documents and ESI Requested

1. All Documents and ES] exchanged, sent or delivered between You and/or

Jacques Klempf, on the one hand, and Dolph Baker and/or Cal-Maine, on the other hand,

including, but not limited to:

a.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the Cal-Maine
Sale.

All documents or ES] that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker referring or relating to
the Settlement and Redemption Agreement.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker referring or relating to
Laura Jean Klempf or the Trust.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the value of
Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the sale of
Foodonics’ Assets or Foodonics’ Stock.

All Documents and ESI constituting any Foodonics’ financial
information provided by or on behalf of You and/or Jacques
Klempf to Cal-Maine and/or any of its representatives, agents,
officers or directors.

2. Any and all closing documents and other agreements relating to the Cal-

Maine Sale.
3. All Documents and ESI in the possession of You or Jacques Klempf
relating to or containing any representations or estimates made by You or Jacques
Klempf to any person or entity regarding the value of Foodonics’ Stock or Foodonics’
Assets from January |, 2009 through the date of production.

4, All Documents and ES] in the possession of You or Jacques Klempf to
any person or entity relating to the value of Foodonics’ Stock from January 1, 2009
through the date of production.

5. All Documents and ESI relating to any proposals, offers or discussions
You or Jacques Kiempf had with any person or entity regarding any possible purchase or
sale of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents and ESI that You or Jacques Klempf sent to or received
from Marc Klempf relating to Cal-Maine or Dolph Baker.

7. All Documents and ESI that You or Jacques Klempf sent to or received
from Mare Klempf relating to the value of Foodonics’ Assets or Foodonics’ Stock.

8. All Documents and ESI that You or Jacques Klempf sent to or received
from Marc Klempf relating to the sale of Foodonics’ Assets or Foodonics’ Stock.

9, All Documents or ESI You or Jacques Kiempf sent to or received from
Marc Klempf referring or relating to the Settlement and Redemption Agreement.

10. All Documents or ES} You or Jacques Klempf sent to or received from
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11. All Documents and ESI You or Jacques Klempf sent to or received from

Marc Klempf referring or relating to the Cal-Maine Sale.
12. All Documents and ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust relating to Cal-Maine or Dolph Baker.

13. All Documents and ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust relating to the value of Foodonics’ Assets or
Foodonics’ Stock.

14, All Documents and ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust relating to the sale of Foodonics’ Assets or
Foodonics’ Stock.

15. All Documents or ESI that You or Jacques Klempf sent to or received
from Laura Jean Klempf or the Trust referring or relating to the Settlement and
Redemption Agreement.

16. All Documents or ESI You or Jacques Klempf sent to or received from
Laura Jean Klempf or the Trust referring or relating to the Cal-Maine Sale.

17. All Documents or ESI You or Jacques Klempf sent to Laura Jean Klempf
from September 1, 2008 to date.

18. All Documents and ESI that You or Jacques Klempf sent to or received
from Ian Ratner relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

19. All Documents and ESI that You or Jacques Klempf sent to or received
from GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets

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from Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or
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from Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of
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Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

23. All Documents and ESI that You or Jacques Klempf sent to or received
from Stevens, Powell & Company, P.A. relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets
or Foodonics’ Stock.

24. All Documents and ESI that You or Jacques Klempf sent to or received
from Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or
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Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

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from GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption
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Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi) any
potential sale of Foodonics’ Assets or Foodonics’ Stock.

27. All Documents and ESI constituting, referring or relating to any Financial
Statement prepared by or for You and delivered to any third party including, but not
limited to, financial institutions, potential purchasers of Foodonics or the like, during the
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including, but not limited to, financial institutions, potential purchasers of Foodonics or
the like, during the period January 1, 2012 through January 1, 2017.

29. All Documents and ESI constituting any Financial Statement prepared by
or for You and/or Jacques Klempf where such Financial Statement identifies, refers or
relates to the value of Foodonics’ Stock of Foodonics’ Assets.

30. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (iti) BAM Investment Group, LLC.

3]. All general ledgers for Foodonics for the years 2012 through the date of

production.

32, All corporate minutes for Foodonics for the years 2012 through the date of

production.

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TAB 4
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

FOODONICS INTERNATIONAL, INC., )
a Florida corporation,

)
Plaintiff,
V. Case No. 3:17-cv-1054-J-32IRK
DINA KLEMPF SROCHI, as Trustee
of the LAURA JEAN KLEMPF )
REVOCABLE TRUST, a Georgia trust,

Defendant.

DEFENDANT’S REQUEST FOR PRODUCTION
TO PLAINTIFF FOODONICS INTERNATIONAL, INC.

Defendant, Dina Klempf Srochi, as Trustee of the Laura Jean Klempf Trust
dated April 1, 1992 (the “Laura Jean Klempf Trust” or the “Trust”), pursuant to Rule
34, Federal Rules of Civil Procedure, requests that plaintiff, Foodonics International,
Inc. produce for inspection and copying the documents and electronically stored
information described below at the law offices of Smith Hulsey & Busey, 225 Water
Street, Suite 1800, Jacksonville, Florida 32202, within 30 days of the date of service

of this request.
Definitions
As used herein:

1. “Cal-Maine” refers to Cal-Maine Foods, Inc., its officers, directors,
affiliates, subsidiaries, employees, agents, attorneys, and representatives.

2. The “Cal-Maine Sale” refers to the sale of the Assets of Foodonics to
Cal-Maine on or about October 16, 2016.

3. “Document(s)” shall have the same meaning as in Rule 34, Federal
Rules of Civil Procedure and shall include, without limiting the generality of the
foregoing, correspondence, contracts, agreements, leases, memoranda, notes, calendar
and diary entries, memoranda or notes of conversations and of meetings, studies,
reports, offers, inquiries, bulletins, summaries, newsletters, compilations, charts,
graphs, photographs, film, microfilm, articles, announcements, books, books of
account, ledgers, vouchers, canceled checks, invoices, bills, opinions, certificates,
transcripts and all other tangible things upon which any handwriting, typing, printing,
drawings, representation, magnetic or electrical impulses or other form of
communication is recorded, now or at any time in your possession, custody or control,
including but not limited to the originals (or any copy when originals are not
available) and drafts of documents and all copies that are different in any way from
the original.

4. “Dolph Baker” refers to Adolphus B. Baker, Chairman, Chief
Executive Officer and President of Cal-Maine Foods, Inc., his employees, agents,
entities, affiliates, attorneys, and representatives.

5. “ESI” means electronically stored information in all forms in which it
is stored and communicated, and has the same meaning as in Rule 34, Federal Rules
of Civil Procedure. ESI specifically includes emails, word processing files, electronic
documents, spreadsheets, presentations, databases, images, movies, audio files,
voicemails, text messages, and any other information stored on any computer, laptop,
tablet, cell phone, smartphone, external hard drive USB drive, cd drive, dvd drive,
backup drive, SharePoint site, file server, or in any remote or “cloud”-based system or
location, including Dropbox. ESI specifically includes all of the following electronic
file types: *.msg, *.pst, *.eml, *.jpg, *.tif, *.gif, *.mov, *.mpg, *.mpeg, *.wmv, *.avi,
* wav, *.mp3, *.doc, *.docx, *.wpd, *.xls, *.xlsx, *.ppt, *.pptx, *.mdb and *.pdf. ESI
also includes social media data, including information stored by you or communicated
by you through Facebook, Twitter, LinkedIn, Skype and blogs. ESI also includes
business or personal email accounts such as Yahoo Mail, Gmail, Hotmail,
Outlook.com, AOL mail and other web-based email services.
6. “Financial Information” shall refer to any record of the financial
activities of a business, person, or other entity, including, but not limited to, income
statements, balance sheets, statements of financial positions, profit and loss reports,
statements of revenue and expense, cash flow statements, audited financial
statements, and compilations of financial information.

7. “Foodonics’ Assets” or “Assets” shall refer to any or all of the assets of
Foodonics in existence between September 1, 2008 and December 31, 2016
including, but not limited to, (i) the egg production assets of Foodonics and its related
entities and/or (ii) Foodonics’ interest in American Egg Products, LLC and the Egg-
Land’s Best franchise with licensing rights for portions of certain markets in
Alabama, Florida, and Georgia as well as Puerto Rico, Bahamas and Cuba.

8. “Foodonics Complaint” means the complaint filed by Foodonics in the
referenced action on September 6, 2017, and any amendments thereto.

9. “Foodonics’ Stock” or “Stock” refers to all Class A Voting Shares and
Class B Non-Voting Shares of Foodonics in existence between September 1, 2008
and December 31, 2016.

10. “Jacques Klempf” refers to K. Jacques Klempf, his employees, agents,
entities, affiliates, attorneys, and representatives.

11. “Laura Jean Klempf” refers to Laura Jean Klempf, her employees,
agents, entities, affiliates, attorneys and representatives.

12. “Mare Klempf’ refers to Marc E. Klempf, his employees, agents,
entities, affiliates, attorneys, and representatives.

13. The “Redemption Sale” refers to the redemption transaction on the
Settlement and Redemption Agreement which was closed on December 31, 2015.

14. “Relate to” and “relating to” mean to make a statement about, refer to,
discuss, describe, reflect, contain, comprise, identify, or in any way to pertain to, in
whole or in part, or otherwise to be used, considered, or reviewed in any way in
connection with, the specified subject. Thus, documents or information that “relate
to” a subject also include those which were specifically rejected and those which were
not relied or acted upon.

15. The “Settlement and Redemption Agreement” refers to the Settlement
and Redemption Agreement entered into as of December 21, 2005 by and among
Foodonics; Jacques Klempf; Laura Jean Klempf, individually; Laura Jean Klempf, in
her capacity as Trustee of, and on behalf of, the Laura Jean Klempf Revocable Trust
dated April 1, 1992, as Amended (the “Seller”); Jacques Klempf and Laura Jean
Klempf as Trustees of the Family Trust under the Edward Klempf Revocable Trust
Agreement dated April 1, 1992; Dina Klempf Srochi; and Marc Klempf.

16. “Trust” or “Defendant” refers to Dina Klempf Srochi, including but not
limited to in her capacity as Trustee of the Laura Jean Klempf Trust dated April 1,
1992.

17. “You,” “Your” or “Foodonics” refers to Plaintiff, Foodonics
International, Inc. doing business as Dixie Egg Co., its officers, directors, affiliates,
subsidiaries, employees, agents, attorneys, and representatives.

18. Unless otherwise specified, the requests contained in this request for
production are limited to documents and ESI authored, created, received, revised or
sent from September 1, 2008 until the date that this request for production was served.
Instructions

1. These discovery requests are continuing in nature so as to require You
to file supplementary responses if You obtain new or different information up to and
including the time of trial of this action.

2. Pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure, in
the event that any document or ESI called for by a request is withheld by You on the
basis of claim of privilege, please identify that document or ESI by stating: (a) any
addressor or addressee, (b) matter, number of pages, and attachments or appendices,
(c) all persons to whom the document or ESI was distributed, shown or explained, (d)
its present custodian, and (e) the nature of the privilege asserted.

3. If any responsive document or ESI is no longer in existence, cannot be
located, or is not in Your possession, custody, or control, identify it, describe its
subject matter, and describe its disposition, including, without limitation, identifying
the person having knowledge of the disposition.

4. In each of Your responses to these discovery requests, You are
requested to provide not only such information as is in Your possession, but all
information as is reasonably available. In the event that You are able to provide only
part of the information called for by any discovery request, please provide all of the
information You are able to provide and state the reason for Your inability to provide
the remainder.

5. Produce ESI in native or near-native format, and do not convert ESI to
an imaged format (e.g., *.TIF or *.PDF). Native format requires production in the
same format in which the ESI was customarily created, used and stored by you.
Near-native format requires production of native format ESI so that the content and
metadata are electronically accessible. If the native or near-native format is not
compatible with a Microsoft Office Suite software program or application, you should
provide a description of a software program or application that may be used to access
and view the ESI.

6. Documents should be produced in searchable *.PDF format with
logical unitization and family relationships preserved.

7. No potentially discoverable information contained on your computer
systems should be deleted or modified and procedures that may affect such data
should not be performed unless all potentially discoverable data has been copied and
preserved. The data to be preserved includes not just active data, but archival, backup
and residual data.
8. All drafts or versions of documents and ESI should be produced in
addition to the final document or ESI. All documents and ESI containing written
notations, comments, edits or marginalia, or which are in any way different from the
original should be produced in addition to the original.

9. In response to this request, You are required to furnish all information
and documents in Your possession, custody or control, or in the possession, custody
or control of Your past or present agents, attorneys, accountants, advisors, employees,
or any other persons acting on Your behalf.

Documents and ESI Requested
1. All Documents and ESI exchanged, sent or delivered between You
and/or Jacques Klempf, on the one hand, and Dolph Baker and/or Cal-Maine, on the
other hand, including, but not limited to:

a. All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the Cal-
Maine Sale.

b. All documents or ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker referring or relating to
the Settlement and Redemption Agreement.

c. All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker referring or relating to
Laura Jean Klempf or the Trust.

d. All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the value of
Foodonics’ Assets or Foodonics’ Stock.

e. All Documents and ESI that You or Jacques Klempf sent to or
received from Cal-Maine or Dolph Baker relating to the sale of
Foodonics’ Assets or Foodonics’ Stock.

f. All Documents and ESI constituting any Foodonics’ financial
information provided by or on behalf of You and/or Jacques
Klempf to Cal-Maine and/or any of its representatives, agents,
officers or directors.
2. Any and all closing documents and other agreements relating to the
Cal-Maine Sale.

3. All Documents and ESI in the possession of You or Jacques Klempf
relating to or containing any representations or estimates made by You or Jacques
Klempf to any person or entity regarding the value of Foodonics’ Stock or Foodonics’
Assets from September 1, 2008 through the date of production.

4. All Documents and ESI in the possession of You or Jacques Klempf to
any person or entity relating to the value of Foodonics’ Stock from September 1, 2008
through the date of production.

5. All Documents and ESI relating to any proposals, offers or discussions
You or Jacques Kiempf had with any person or entity regarding any possible purchase
or sale of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents and ESI that You or Jacques Klempf sent to or received
from Marc Klempf referring or relating to:

a. Cal-Maine or Dolph Baker;
b. the value of Foodonics' Assets or Foodonics' Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;
e. the Cal-Maine-Sale; or
f. Laura Jean Klempf.
7. All Documents and ESI that You or Jacques Klempf sent to or received

from Dina Klempf Srochi referring or relating to:
a. Cal-Maine or Dolph Baker;
b. the value of Foodonics' Assets or Foodonics' Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;
e. the Cal-Maine-Sale; or
f. Laura Jean Klempf.
8. All Documents and ESI that You or Jacques Klempf sent to or received

from Steven Brust referring or relating to:

a. Cal-Maine or Dolph Baker;
b. the value of Foodonics' Assets or Foodonics' Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;
e. the Cal-Maine-Sale; or
f. Laura Jean Klempf.
9. All Documents and ESI that You or Jacques Klempf sent to or received

from Dennis L. Blackburn referring or relating to:

a.

b.

Cal-Maine or Dolph Baker;

the value of Foodonics' Assets or Foodonics' Stock;
the sale of Foodonics’ Assets or Foodonics’ Stock;
the Settlement and Redemption Agreement;

the Cal-Maine-Sale; or

Laura Jean Klempf.
10. All Documents or ESI You or Jacques Klempf sent to Laura Jean
Klempf including, without limitation, all documents and ESI referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics' Assets or Foodonics' Stock;
c. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement; or

e. the Cal-Maine-Sale.

11. All Documents and ESI that You or Jacques Klempf sent to or received
from Ian Ratner relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’
Stock.

12. All Documents and ESI that You or Jacques Klempf sent to or received
from GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the
value of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of
Foodonics’ Assets or Foodonics’ Stock.

13. All Documents and ESI that You or Jacques Klempf sent to or received
from Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’
Stock.

14. All Documents and ESI that You or Jacques Klempf sent to or received

from Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’
Assets or Foodonics’ Stock.

15. | All Documents and ESI that You or Jacques Klempf sent to or received
from John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’
Stock.

16. All Documents and ESI that You or Jacques Klempf sent to or received
from Stevens, Powell & Company, P.A. relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’
Assets or Foodonics’ Stock.

17. All Documents and ESI that You or Jacques Klempf sent to or received
from Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’
Stock.

18. All Documents and ESI that You or Jacques Klempf sent to or received
from First Florida Capital Corporation relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’
Assets or Foodonics’ Stock.

19. All Documents and ESI that You or Jacques Klempf sent to or received
from GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption

Agreement, (11) Laura Jean Klempf or the Trust, (iii) Cal-Maine or Dolph Baker (iv)

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the Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi)
any potential sale of Foodonics’ Assets or Foodonics’ Stock.

20. All Documents and ESI constituting, referring or relating to any
Financial Information prepared by or for You and delivered to any third party
including, but not limited to, financial institutions, potential purchasers of Foodonics
or the like, during the period January 1, 2012 through January 1, 2017.

21. All Documents and ESI constituting, referring or relating to any
personal Financial Statement prepared by or for Jacques Klempf and delivered to any
third party including, but not limited to, financial institutions, potential purchasers of
Foodonics or the like, during the period January 1, 2012 through January 1, 2017.

22. All Documents and ESI constituting any Financial Information
prepared by or for You and/or Jacques Klempf where such Financial Information
identifies, refers or relates to the value of Foodonics’ Stock of Foodonics’ Assets.

23. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (iii) BAM Investment Group, LLC.

24. ~All general ledgers for Foodonics for the years 2012 through the date of
production.

25. All corporate minutes for Foodonics for the years 2012 through the date
of production.

26. All corporate tax returns for Foodonics for the years 2006 through the date

of production.

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27. All Documents and ESI which refer or relate to the distributions or
dividends made to each shareholder for the years 2006 through the date of production
including, without limitation, all cancelled checks, wire transfers, general ledgers or
related correspondence.

28. | All Documents and ESI which refer or relate to estimated tax payments
made by Foodonics on behalf of each shareholder for the years 2006 through the date of
production including, without limitation, all cancelled checks, wire transfers, general
ledgers or related correspondence.

29. All documents and ESI relating or referring to the allegations in paragraph
14 of the Foodonics Complaint that “[flollowing the 2006 Transaction, Foodonics made
estimated income tax payments to the Internal Revenue Service (“IRS”) on behalf of
Jacques and Mrs. Klempf in amounts equal to their anticipated annual income tax
liabilities resulting from the inclusion in their personal income of their relative share of
Foodonics’ income” for the years 2006 through the date of production.

30. All documents and ESI relating or referring to the allegations in paragraph
16 of the Foodonics Complaint that “Foodonics’ income is calculated and reported to the
IRS after the end of the relevant tax year. As a result, the estimated tax payments were
paid to IRS on behalf of Jacques Klempf, before the end of each taxable year, based on
estimates of Foodonics’ eventual taxable income.”

31. All documents and ESI relating or referring to the allegations in paragraph
18 of the Foodonics Complaint that “for tax year 2015, Foodonics paid estimated taxes
on behalf of its shareholders, Jacques and Mrs. Klempf. Because the precise amount of

tax liability could not be known at the time of estimated payments, Foodonics

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intentionally overpaid the estimated taxes for Jacques and Mrs. Klempf to the IRS to
avoid imposition of penalties and interest. No additional distribution was authorized by
the shareholders and in the event of a substantial overpayment of taxes, Foodonics was to
be repaid the amount of such overpayment.”

32. All documents and ESI relating or referring to the allegations in paragraph
23 of the Foodonics Complaint that “Foodonics’ payment of estimated tax payments on
behalf of Jacques and Mrs. Klempf resulted in an overpayment of taxes relative to
Foodonics’ subsequently-determined income. As a result, both Jacques and Mrs. Klempf

received a refund from the IRS.”

SMITH HULSEY & BUSEY

By:___/s/ James H. Post
James H. Post
Michael E. Demont
R. Christopher Dix

Florida Bar Number 0175460
Florida Bar Number 0364088
Florida Bar Number 0036988
225 Water Street, Suite 1800
Jacksonville, Florida 32202
(904) 359-7700

(904) 359-7708 (facsimile)
jpost@smithhulsey.com
mdemont@smithhulsey.com

cdix@smithhulsey.com

Attorneys for Dina Klempf Srochi, as
Trustee of the Laura Jean Klempf
Revocable Trust

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Certificate of Service

I certify that on January 12, 2018, a copy of this document has been furnished

by email to:

982153.4

S. Grier Wells, Esq.

GrayRobinson, P.A.

50 North Laura Street, Suite 1100
Jacksonville, Florida 32202
grier.wells@gray-robinson.com
elizabeth.irvine@gray-robinson.com

/s/ James H. Post
Attorney

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TAB 5
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

FOODONICS INTERNATIONAL, INC.,

Plaintiff

Vv. Civil Action No, 3:17-cv-1054-J-32JRK
DINA KLEMPF SROCHI, as Trustee of the LAURA

JEAN KLEMPF REVOCABLE TRUST, a Georgia tr
Defendant

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SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: JACQUES KLEMPF

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A

You may comply with this Subpoena by providing legible coples of the items to be produced to the Attomey whose name appears on this Subpoena an or before the
scheduled date of production. You may condition the preparation of the capies upon the payment in advance of the reasonable cost of preparation. You may mail or
deliver the copies fo the Attorney whose name appears on this Subpoena and thereby eliminate your appearance at the time and place specified below.

Place: Smith Hulsey & Busey | Date and Time:
225 Water Street, Suite 1800

. February 12, 2018 at 10:00 a.m.
Jacksonville, FL 32202

CG} Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: ///A/ Lo ¥

CLERK OF COURT
OR
Wi a

Signature of Clerk or Deputy Clerk Attorney's Signatur

 

 

The name, address, e-mail address, and telephone number of the attorney reprdgehting (name of party) Dina Klempf Srochi,
as Trustee of the Laura Jean Kiempf Revocable Trust , who issues or requests this subpoena, are:

James H. Post, Esq., Smith Hulsey & Busey, 225 Water St., Ste 1800, Jacksonville, FL 32202, jpost@smithhulsey.com, (904) 359-7700

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:17-cv-1054-J-32JRK

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

[ I served the subpoena by delivering a copy to the named person as follows:

on (date) ; or

©) I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpocna may command a
Person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpocna may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attomcey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing unduc burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost carnings and reasonable attorney's fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attomey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing clectronically stored information in the form or forms requested.
The objection must be served before the carlier of the time specified for
compliance or 14 days after the subpocna is served, If an objection is made,
the following cules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(il) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to unduc burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unrctained expert's opinion or information that docs
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpocna to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the partics to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
EXHIBIT A

Definitions
As used herein:
L. “Cal-Maine” refers to Cal-Maine Foods, Inc., its officers, directors,

affiliates, subsidiaries, employees, agents, attorneys, and representatives.

2. The “Cal-Maine Sale” refers to the sale of the Assets of Foodonics to
Cal-Maine on or about October 16, 2016.

3. “Document(s)” shall have the same meaning as in Rule 34, Federal Rules
of Civil Procedure and shall include, without limiting the generality of the foregoing,
correspondence, contracts, agreements, leases, memoranda, notes, calendar and diary
entries, memoranda or notes of conversations and of meetings, studies, reports, offers,
inquiries, bulletins, summaries, newsletters, compilations, charts, graphs, photographs,
film, microfilm, articles, announcements, books, books of account, ledgers, vouchers,
canceled checks, invoices, bills, opinions, certificates, transcripts and all other tangible
things upon which any handwriting, typing, printing, drawings, representation,
magnetic or electrical impulses or other form of communication is recorded, now or at
any time in your possession, custody or control, including but not limited to the
originals (or any copy when originals are not available) and drafts of documents and all
copies that are different in any way from the original.

4. “Dolph Baker” refers to Adolphus B. Baker, Chairman, Chief Executive
Officer and President of Cal-Maine Foods, Inc., his employees, agents, entities,
affiliates, attorneys, and representatives.

5. “ESI” means electronically stored information in all forms in which it is
stored and communicated, and has the same meaning as in Rule 34, Federal Rules of
Civil Procedure. ESI specifically includes emails, word processing files, electronic
documents, spreadsheets, presentations, databases, images, movies, audio files,
voicemails, text messages, and any other information stored on any computer, laptop,
tablet, cell phone, smartphone, external hard drive USB drive, cd drive, dvd drive,
backup drive, SharePoint site, file server, or in any remote or “cloud’”-based system or
location, including Dropbox. ESI specifically includes all of the following electronic
file types: *.msg, *.pst, *.eml, * jpg, *.tif, *.gif, *.mov, *.mpg, *.mpeg, *.wmv, *.avi,
* wav, *.mp3, *.doc, *.docx, *.wpd, *.xls, *.xlsx, *.ppt, *.pptx, *.mdb and *.pdf. ESI
also includes social media data, including information stored by you or communicated
by you through Facebook, Twitter, LinkedIn, Skype and blogs. ESI also includes
business or personal email accounts such as Yahoo Mail, Gmail, Hotmail,
Outlook.com, AOL mail and other web-based email services.
6. “Financial Information” shall refer to any record of the financial
activities of a business, person, or other entity, including, but not limited to, income
statements, balance sheets, statements of financial positions, profit and loss reports,
statements of revenue and expense, cash flow statements, audited financial statements,
and compilations of financial information.

7. “Foodonics” refers to Plaintiff, Foodonics International, Inc. doing
business as Dixie Egg Co., its officers, directors, affiliates, subsidiaries, employees,
agents, attorneys, and representatives.

8. “Foodonics’ Assets” or “Assets” shall refer to any or all of the assets of
Foodonics in existence between September 1, 2008 and December 31, 2016 including,
but not limited to, (i) the egg production assets of Foodonics and its related entities
and/or (ii) Foodonics’ interest in American Egg Products, LLC and the Egg-Land’s
Best franchise with licensing rights for portions of certain markets in Alabama, Florida,
and Georgia as well as Puerto Rico, Bahamas and Cuba.

9. “Foodonics Complaint” means the complaint filed by Foodonics in the
referenced action on September 6, 2017, and any amendments thereto.

10. “Foodonics’ Stock” or “Stock” refers to all Class A Voting Shares and
Class B Non-Voting Shares of Foodonics in existence between September 1, 2008 and
December 31, 2016.

11. “Laura Jean Klempf”’ refers to Laura Jean Klempf, her employees,
agents, entities, affiliates, attorneys and representatives.

12. “Mare Klempf” refers to Mare E. Klempf, his employees, agents,
entities, affiliates, attorneys, and representatives.

13. The “Redemption Sale” refers to the redemption transaction on the
Settlement and Redemption Agreement which was closed on December 31, 2015.

14. “Relate to” and “relating to” mean to make a statement about, refer to,
discuss, describe, reflect, contain, comprise, identify, or in any way to pertain to, in
whole or in part, or otherwise to be used, considered, or reviewed in any way in
connection with, the specified subject. Thus, documents or information that “relate to”
a subject also include those which were specifically rejected and those which were not
relied or acted upon.

15. The “Settlement and Redemption Agreement” refers to the Settlement
and Redemption Agreement entered into as of December 21, 2005 by and among
Foodonics; Jacques Klempf; Laura Jean Klempf, individually; Laura Jean Klempf, in
her capacity as Trustee of, and on behalf of, the Laura Jean Klempf Revocable Trust

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dated April 1, 1992, as Amended (the “Seller’”); Jacques Klempf and Laura Jean
Klempf as Trustees of the Family Trust under the Edward Klempf Revocable Trust
Agreement dated April 1, 1992; Dina Klempf Srochi; and Marc Klempf.

16. “Trust” or “Defendant” refers to Dina Klempf Srochi, including but not
limited to in her capacity as Trustee of the Laura Jean Klempf Trust dated April 1,
1992.

17. “You” or “Your” refers to K. Jacques Klempf, his employees, agents,
entities, affiliates, attorneys, and representatives.

18. | Unless otherwise specified, the requests contained in this request for
production are limited to documents and ESI authored, created, received, revised or
sent from September 1, 2008 until the date that this request for production was served.

Instructions

1. These discovery requests are continuing in nature so as to require You to
file supplementary responses if You obtain new or different information up to and
including the time of trial of this action.

2, Pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure, in the
event that any document or ESI called for by a request is withheld by You on the basis
of claim of privilege, please identify that document or ESI by stating: (a) any addressor
or addressee, (b) matter, number of pages, and attachments or appendices, (c) all
persons to whom the document or ESI was distributed, shown or explained, (d) its
present custodian, and (e) the nature of the privilege asserted.

3. If any responsive document or ESI is no longer in existence, cannot be
located, or is not in Your possession, custody, or control, identify it, describe its subject
matter, and describe its disposition, including, without limitation, identifying the person
having knowledge of the disposition.

4, In each of Your responses to these discovery requests, You are requested
to provide not only such information as is in Your possession, but all information as is
reasonably available. In the event that You are able to provide only part of the
information called for by any discovery request, please provide all of the information
You are able to provide and state the reason for Your inability to provide the remainder.

5p Produce ESI in native or near-native format, and do not convert ESI to
an imaged format (e.g., *. TIF or *.PDF). Native format requires production in the same
format in which the ESI was customarily created, used and stored by you. Near-native
format requires production of native format ESI so that the content and metadata are

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electronically accessible. If the native or near-native format is not compatible with a
Microsoft Office Suite software program or application, you should provide a
description of a software program or application that may be used to access and view
the ESI.

6. Documents should be produced in searchable *.PDF format with logical
unitization and family relationships preserved.

7. No potentially discoverable information contained on your computer
systems should be deleted or modified and procedures that may affect such data should
not be performed unless all potentially discoverable data has been copied and
preserved. The data to be preserved includes not just active data, but archival, backup
and residual data.

8. All drafts or versions of documents and ESI should be produced in
addition to the final document or ESI. All documents and ESI containing written
notations, comments, edits or marginalia, or which are in any way different from the
original should be produced in addition to the original.

9, In response to this request, You are required to furnish all information
and documents in Your possession, custody or control, or in the possession, custody or
control of Your past or present agents, attorneys, accountants, advisors, employees, or
any other persons acting on Your behalf.

Documents and ESI Requested

1. All Documents and ESI exchanged, sent or delivered between You
and/or Foodonics, on the one hand, and Dolph Baker and/or Cal-Maine, on the other
hand, including, but not limited to:

a. All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the Cal-Maine Sale.

b. All documents or ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker referring or relating to the
Settlement and Redemption Agreement.

Cc. All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker referring or relating to Laura
Jean Klempf or the Trust.
d. All Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the value of
Foodonics’ Assets or Foodonics’ Stock.

e. AI] Documents and ESI that You or Foodonics sent to or received
from Cal-Maine or Dolph Baker relating to the sale of Foodonics’
Assets or Foodonics’ Stock.

f. All Documents and ESI constituting any Foodonics’ financial
information provided by or on behalf of You and/or Foodonics to
Cal-Maine and/or any of its representatives, agents, officers or

directors.
2. Any and all closing documents and other agreements relating to the Cal-
Maine Sale.
3. All Documents and ESI in the possession of You or Foodonics relating

to or containing any representations or estimates made by You or Foodonics to any
person or entity regarding the value of Foodonics’ Stock or Foodonics’ Assets from
September 1, 2008 through the date of production.

4, All Documents and ESI in the possession of You or Foodonics to any
person or entity relating to the value of Foodonics’ Stock from September 1, 2008
through the date of production.

5. All Documents and ESI relating to any proposals, offers or discussions
You or Foodonics had with any person or entity regarding any possible purchase or sale
of Foodonics’ Assets or Foodonics’ Stock.

6. All Documents and ESI that You or Foodonics sent to or received from
Marc Klempf referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics' Assets or Foodonics' Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;
e. the Cal-Maine-Sale; or
f. Laura Jean Klempf.
7, Ali Documents and ES] that You or Foodonics sent to or received from

Dina Klempf Srochi referring or relating to:

a. Cal-Maine or Dolph Baker;
b. the value of Foodonics' Assets or Foodonics' Stock;
c. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;
e. the Cal-Maine-Sale; or
f. Laura Jean Klempf.
8. All Documents and ESI that You or Foodonics sent to or received from

Steven Brust referring or relating to:

a. Cal-Maine or Dolph Baker;
b. the value of Foodonics' Assets or Foodonics' Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;
é. the Cal-Maine-Sale; or
f. Laura Jean Klempf.
9. All Documents and ESI that You or Foodonics sent to or received from

Dennis L. Blackburn referring or relating to:
é.

f.

Cal-Maine or Dolph Baker;

the value of Foodonics' Assets or Foodonics' Stock;
the sale of Foodonics’ Assets or Foodonics’ Stock;
the Settlement and Redemption Agreement;

the Cal-Maine-Sale; or

Laura Jean Klempf.

10. All Documents or ESI You or Foodonics sent to Laura Jean Klempf

including, without limitation, all documents and ESI referring or relating to:

a. Cal-Maine or Dolph Baker;
b. the value of Foodonics' Assets or Foodonics' Stock;
Cc, the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement; or
e. the Cal-Maine-Sale.
ll. All Documents and ESI that You or Foodonics sent to or received from

Ian Ratner relating or referring to (i) the value of Foodonics’ Assets or Foodonics’

Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

12. All Documents and ESI that You or Foodonics sent to or received from

GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the value of

Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’

Assets or Foodonics’ Stock.
13. All Documents and ESI that You or Foodonics sent to or received from
Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

14. All Documents and ESI that You or Foodonics sent to or received from
Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

15. All Documents and ESI that You or Foodonics sent to or received from
John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

16. All Documents and ESI that You or Foodonics sent to or received from
Stevens, Powell & Company, P.A. relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

17. All Documents and ESI that You or Foodonics sent to or received from
Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or Foodonics’
Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

18. All Documents and ESI that You or Foodonics sent to or received from
First Florida Capital Corporation relating or referring to (i) the value of Foodonics’
Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or

Foodonics’ Stock.
19. All Documents and ES] that You or Foodonics sent to or received from
GrayRobinson, P.A. relating or referring to (i) the Settlement and Redemption
Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Cal-Maine or Dolph Baker (iv)
the Cal-Maine Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock, or (vi) any
potential sale of Foodonics’ Assets or Foodonics’ Stock.

20. All Documents and ESI constituting, referring or relating to any
Financial Information prepared by or for You and delivered to any third party including,
but not limited to, financial institutions, potential purchasers of Foodonics or the like,
during the period January 1, 2012 through January 1, 2017.

21. All Documents and ESI constituting, referring or relating to any personal
Financial Information prepared by or for Foodonics and delivered to any third party
including, but not limited to, financial institutions, potential purchasers of Foodonics
or the like, during the period January 1, 2012 through January 1, 2017.

22. All Documents and ESI constituting any Financial Information prepared
by or for You and/or Foodonics where such Financial Information identifies, refers or
relates to the value of Foodonics’ Stock of Foodonics’ Assets.

23. All Documents and ESI referring or relating to the transfer of any
Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (iii) BAM Investment Group, LLC.

24. — All general ledgers for Foodonics for the years 2012 through the date of

production.
25. All corporate minutes for Foodonics for the years 2012 through the date
of production.

26. All corporate tax returns for Foodonics for the years 2006 through the date
of production.

27. All Documents and ESI which refer or relate to the distributions or
dividends made to each shareholder for the years 2006 through the date of production
including, without limitation, all cancelled checks, wire transfers, general ledgers or related
correspondence.

28. | All Documents and ESI which refer or relate to estimated tax payments
made by Foodonics on behalf of each shareholder for the years 2006 through the date of
production including, without limitation, all cancelled checks, wire transfers, general
ledgers or related correspondence.

29. All documents and ESI relating or referring to the allegations in paragraph
14 of the Foodonics Complaint that “[flollowing the 2006 Transaction, Foodonics made
estimated income tax payments to the Internal Revenue Service (“IRS”) on behalf of
Jacques and Mrs. Klempf in amounts equal to their anticipated annual income tax liabilities
resulting from the inclusion in their personal income of their relative share of Foodonics’
income” for the years 2006 through the date of production.

30. All documents and ESI relating or referring to the allegations in paragraph
16 of the Foodonics Complaint that “Foodonics’ income is calculated and reported to the
IRS after the end of the relevant tax year. As a result, the estimated tax payments were
paid to IRS on behalf of Jacques Klempf, before the end of each taxable year, based on

estimates of Foodonics’ eventual taxable income.”

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31. All documents and ESI relating or referring to the allegations in paragraph
18 of the Foodonics Complaint that “for tax year 2015, Foodonics paid estimated taxes on
behalf of its shareholders, Jacques and Mrs. Klempf. Because the precise amount of tax
liability could not be known at the time of estimated payments, Foodonics intentionally
overpaid the estimated taxes for Jacques and Mrs. Klempf to the IRS to avoid imposition
of penalties and interest. No additional distribution was authorized by the shareholders
and in the event of a substantial overpayment of taxes, Foodonics was to be repaid the
amount of such overpayment.”

32. All documents and ESI relating or referring to the allegations in paragraph
23 of the Foodonics Complaint that “Foodonics’ payment of estimated tax payments on
behalf of Jacques and Mrs. Klempf resulted in an overpayment of taxes relative to
Foodonics’ subsequently-determined income. As a result, both Jacques and Mrs. Klempf

received a refund from the IRS.”

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TAB 6
IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

FOODONICS INTERNATIONAL, INC.,
a Florida corporation,

Plaintiff, Case No.: 3:17-cv-1054-J-32JRK
Vv.
DINA KLEMPF SROCHI, as Trustee
of the LAURA JEAN KLEMPF
REVOCABLE TRUST, a Georgia

trust,

Defendant,
/

OBJECTIONS TO DEFENDANT’S
SUBPOENA OF NONPARTY JACQUES KLEMPF

Nonparty JACQUES KLEMPF (“Mr. Klempf”) submits these objections (“Objections”)
to Defendant’s (“Defendant”) Subpoena of Jacques Klempf to Produce Documents, Information,
or Objects or to Permit Inspection of Premises in a Civil Action (the “Subpoena”) served herein
on January 19, 2018.

PRELIMINARY STATEMENT

1, Mr. Klempf was President and Chief Executive Officer of Foodonics for all
relevant time periods in this litigation, and remains in that role currently. However, the
Subpoena was directed to Mr. Klempf in his individual capacity.

2. As of the date of these Objections, Plaintiff has filed a Complaint in this Court
claiming damages related to a 2015 tax refund and declaratory relief based on a draft complaint
presented on behalf of Defendant to Plaintiff alleging it committed fraud in redeeming shares of

Foodonics stock from the Laura Jean Klempf Revocable Trust prior to a sale of Plaintiff's assets

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to Cal-Maine Foods, Inc. (“Defendant’s Threatened Complaint”). Plaintiff's Complaint seeks a
declaratory judgment concerning the allegations in Defendant’s Threatened Complaint.

3. The Settlement and Redemption Agreement entered into as of December 21, 2015
(the “Settlement and Redemption Agreement”) and referred to in the Complaint contains
representations that “the Foodonics Parties have not received any written offers to effect a
Realization Event [e.g. a sale of the assets or stock of Foodonics] within the twelve (12) months
prior to the date of this Agreement.”

4, The majority of the documents requested in the Subpoena are related to the
Defendant’s Threatened Complaint which is at present only the subject of Plaintiff's claim for
declaratory relief and is not yet a claim for affirmative relief.

5. Defendant’s Threatened Complaint does not contain any factual basis or evidence
for its allegations of fraud. There is therefore no basis for Defendant’s Subpoena except for a
fishing expedition.

6. The Definitions in the Subpoena include multiple parties within the specification
of one party, individual, or entity — thereby necessitating responses on behalf of parties,
individuals, or entities which are not the sole party subject to the Subpoena, Mr. Klempf.

7. By objecting to this Subpoena, Mr. Klempf does not waive or intend to waive: (a)
any objections as to the competency, relevancy, materiality, privilege, or admissibility as
evidence, for any purpose, of any documents or information produced in response to the
Subpoena; (b) the right to object on any ground to the use of the documents or information
produced in response to the Subpoena at any hearing, trial, or other point during the litigation; (c)

the right to object on any ground at any time to a demand for further response to the Subpoena;

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or (d) the right at any time to revise, correct, add to, supplement, or clarify any of the responses
to the Subpoena consistent with the applicable rules.

8. The information and objections asserted herein are for use in this litigation and for
no other purposes or litigation.

9. No objection made herein, or lack thereof, is an admission by Mr. Klempf as to the
existence or non-existence of any information.

10. Mr. Klempf will produce Documents and ESI, subject to these Objections, to the
extent they are in his possession.

GENERAL OBJECTIONS

1. Mr. Klempf expressly incorporates all of the General Objections below into the
specific objections to each of the enumerated Subpoena requests. Any specific objections
provided below are made in addition to these General Objections, and the failure to reiterate a
General Objection below does not constitute a waiver of that or any other objection.

2. The Subpoena is overbroad, unduly burdensome, and not proportional to the needs
or issues of the case in that its enumerated requests are not relevant to any claim or defense
presented in the Complaint. The Subpoena and each enumerated request is not sufficiently
limited in scope or subject matter, with the only limiting factor being certain time periods which
themselves are excessive, unreasonable, overbroad, unduly burdensome, and not proportional to
the needs or issues of the case.

3. The Requests are overbroad, unduly burdensome, and not proportional to the needs
or issues of the case in that they seek information regarding confidential, trade secret,
commercially sensitive, and/or other proprietary or competitively sensitive information
concerning Mr. Klempf’s business activities or operations, the disclosure or dissemination of

which could cause Mr. Klempf harm or prejudice, and otherwise fail to provide a mechanism for

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documents containing commercially sensitive and confidential information to be designated as
confidential pursuant to a protective order.

4, The Subpoena seeks information not proportional to the needs or issues of the case
considering (a) the marginal importance of the materials to the claims and defenses in this
litigation and (b) the probable substantial cost to identify responsive materials balanced against
the amount in controversy.

5. The Subpoena is overbroad, unduly burdensome, and not proportional to the needs
or issues of the case. The Subpoena seeks documents from Mr. Klempf in his individual capacity
which may contain proprietary information of Foodonics or other non-parties.

6. Mr. Klempf objects to each request in the Subpoena to the extent that it purports to
seek information protected by the attorney-client privilege or any other applicable privileges and
protections.

7. Mr. Klempf objects to each request in the Subpoena to the extent that Defendant
has made the same request to the named Plaintiff in this litigation. It is more appropriate for
such requests to be made to Foodonics.

8. Mr. Klempf objects to each request in the Subpoena to the extent that it seeks
information that Mr. Klempf licensed or obtained from third parties and/or cannot disclose
without prior approval of the third parties.

9. Mr. Klempf objects to Defendant’s “Definitions” and “Instructions” in the
Subpoena and to the Subpoena requests themselves to the extent they expand upon, alter, or are
inconsistent with Mr. Klempf’s obligations under the Federal Rules of Civil Procedure or the

Local Rules of this Court.

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10. Mr. Klempf objects to each Definition and/or request in the Subpoena as
overbroad, unduly burdensome, and interposed for an improper purpose to the extent the
definition and/or request purports to require Mr. Klempf to produce documents or information
held or controlled by parties other than Mr. Klempf.

11. Mr. Klempf objects to the definition of “documents” as set forth in Definition No.
3 to the extent it attempts to expand upon or is inconsistent with his obligations under the Federal
Rules of Civil Procedure and the Local Rules of this District.

12. Mr. Klempf objects to the definition of “ESI” as set forth in Definition No. 5 as
overbroad and unduly burdensome in that it seeks to compel Mr. Klempf to engage in the
collection, processing and review of a virtually unlimited scope of ESI without narrowing the
terms, subject matter, or dates of the ESI — such failure to limit the scope does not comply with
Fed. R. Civ. P. 45 and the Middle District of Florida’s Handbook on Civil Discovery Section
VIII(C), and attempts to unnecessarily add substantially to the burden and expense imposed on
Mr. Klempf.

13. Mr. Klempf objects to the definition of “Financial Information” as set forth in
Definition No. 6 as overbroad, vague, and unduly burdensome.

14... Mr. Klempf objects to the definitions of “You” and “Your” as set forth in
Definition No. 17 as vague, overly broad, unduly burdensome, incorrect and improper. Mr.
Klempf will interpret the terms “You” and “Your” to mean only Jacques Klempf, unless
otherwise explicitly stated by Mr. Klempf.

15. | Mr. Klempf objects to the time period described in Definition No. 18, particularly
the start date, as overbroad, unduly burdensome, and not relevant to the claims or defenses in this

case in that it seeks to establish a relevant time period of September 1, 2008 to January 19, 2018.

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The claim for the 2015 tax refund concerns calendar year 2015. The sale of assets from
Foodonics to Cal-Maine referenced in Defendant’s Threatened Complaint occurred on October
16, 2016. The purchase of stock from the Laura Jean Klempf Revocable Trust by Foodonics
occurred on December 31, 2015 with a “look back” of one year. Documents prior to December
2014 are not reasonably calculated to lead to the discovery of admissible evidence nor relevant to
any party’s claim or defense, and would require Mr. Klempf, a nonparty, to undertake an
unnecessary and expensive burden which exceeds the scope of permissible discovery to a
nonparty. Even a request for preservation of documents created prior to December 1, 2014
would be objectionable for the same reasons provided hereinabove.

16. Mr. Klempf objects to Instruction No. 1 regarding the discovery requests being
“continuing in nature” to the extent that he is a non-party to which such obligation is not
required.

17. Mr. Klempf objects to Instruction No. 2 regarding identification of a privileged
document or ESI to the extent that it attempts to expand upon or is inconsistent with his
obligations under the Federal Rules of Civil Procedure and the Local Rules of this District.

18. Mr. Klempf objects to Instruction No. 3 to the extent that it attempts to expand
upon, or is inconsistent with, his obligations under the Federal Rules of Civil Procedure and the
Local Rules of this District.

19. | Mr. Klempf objects to Instruction No. 4 to the extent that it attempts to expand
upon, or is inconsistent with, his obligations under the Federal Rules of Civil Procedure and the
Local Rules of this District.

DOCUMENT REQUESTS

Subject to its foregoing General Objections, and without waiving and expressly

preserving all such objections, which are hereby incorporated into the response to each Request,

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Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, for the specified topics delivered or received from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 4: All Documents and ESI in the possession of You or
Foodonics to any person or entity relating to the value of Foodonics Stock from September 1,
2008 through the date of production.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, for the specified topics delivered or received from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 5: All Documents and ESI relating to any proposals,
offers or discussions You or Foodonics had with any person or entity regarding any possible
purchase or sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, for the specified topics delivered or received from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 6: All Documents and ESI that you or Foodonics sent
to or received from Marc Klempf referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
C. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

€. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, delivered to or received from Marc Klempf from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 7: All Documents and ESI that You or Foodonics sent
to or received from Dina Klempf Srochi referring or relating to:

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Mr. Klempf responds to the Requests as follows:

Request For Production No. 1: All Documents and ESI that You and/or Foodonics,
on the one hand, and Dolph Baker and/or Cal-Maine, on the other hand, including, but not
limited to:

a. All Documents and ESI that You or Foodonics sent to or received from Cal-
Maine or Dolph Baker relating to the Cal-Maine Sale.

b. All documents or ESI that You or Foodonics sent to or received from Cal-Maine
or Dolph Baker refereeing or related to the Settlement and Redemption
Agreement.

Cc. All Documents and ESI that You or Foodonics sent or received from Cal-Maine

or Dolph Baker referring or relating to Laura Jean Klempf or the Trust.

d. All Documents and ESI that You or Foodonics sent to or received from Cal-
Maine or Dolph Baker relating to the value of Foodonics’ Assets or Foodonics’
Stock.

e. All Documents and ESI that You or Foodonics sent to or received from Cal-
Maine or Dolph Baker relating to the sale of Foodonics’ Assets or Foodonics’
Stock.

f. All Documents and ESI constituting any Foodonics’ financial information
provided by or on behalf of You and/or Foodonics to Cal-Maine and/or any of its
representatives, agents, officers or directors.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, for the specified topics delivered to or received
from Dolph Baker from December 1, 2014 through January 19, 2018 related to the Settlement
and Redemption Agreement, if any, and the Cal-Maine Sale.

Request for Production No. 2: Any and all closing documents and other
agreements relating to the Cal-Maine sale.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
closing documents and other agreements in his possession, if any, relating to the Cal-Maine sale,
though Mr. Klempf believes such documents and agreements are under the possession and
control of Foodonics.

Request for Production No. 3: All Documents and ESI in the possession of You or
Foodonics relating to or containing any representations or estimates made by You or Foodonics
to any person or entity regarding the value of Foodonics’ Stock or Foodonics’ Assets from
September 1, 2008 through date of production.

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a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ES] in his possession, if any, delivered to or received from Dina Klempf Srochi
from December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 8: All Documents and ESI that You or Foodonics sent
to or received from Steven Brust referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
C. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, delivered to or received from Steven Brust from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 9: All Documents and ESI that You or Foodonics sent
to or received from Dennis L. Blackburn referring or relating to:

a. Cal-Maine or Dolph Baker;
b. the value of Foodonics’ Assets or Foodonics’ Stock;

c. the sale of Foodonics’ Assets or Foodonics’ Stock;

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d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, delivered to or received from Dennis L. Blackburn
from December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 10: |= All Documents or ESI You or Foodonics sent to
Laura Jean Klempf including, without limitation, all Documents and ESI referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce
Documents and ESI in his possession, if any, delivered to or received from Laura Jean Klempf
from December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale.

Request for Production No. 11: = All Documents and ESI that You or Foodonics sent
to or received from Ian Ratner relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from Jan Ratner in his possession, if
any, related to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018.

Request for Production No. 12: All Documents and ESI that You or Foodonics sent
to or received from GlassRatner Advisory & Capital Group, LLC relating or referring to (i) the
value of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’
Assets or Foodonics’ Stock.

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Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from GlassRatner Advisory & Capital
Group, LLC in his possession, if any, related to the Settlement and Redemption Agreement and
the Cal-Maine Sale between December 1, 2014 and January 19, 2018.

Request for Production No. 13: = All Documents and ESI that You or Foodonics sent
to or received from Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from Jess W. Wright in his possession,
if any, related to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018.

Request for Production No. 14: — All Documents and ESI that You or Foodonics sent
to or received from Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from Sheldrick, McGehee & Kohler,
LLC in his possession, if any, related to the Settlement and Redemption Agreement and the Cal-
Maine Sale between December 1, 2014 and January 19, 2018.

Request for Production No. 15: — All Documents and ESI that You or Foodonics sent
to or received from John P. Stevens relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from John P. Stevens in his possession,
if any, related to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018.

Request for Production No. 16: = All Documents and ESI the You or Foodonics sent
to or received from Stevens, Powell & Company, P.A. relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from Stevens, Powell & Company, P.A.
in his possession, if any, related to the Settlement and Redemption Agreement and the Cal-Maine
Sale between December 1, 2014 and January 19, 2018.

Request for Production No. 17: — All Documents and ESI that You or Foodonics sent

to or received from Robert Monsky relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

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Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from Robert Monsky in his possession,
if any, related to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018.

Request for Production No. 18: — All Documents and ESI that You or Foodonics sent
to or received from First Florida Capital Corporation relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI delivered to and received from First Florida Capital Corporation
in his possession, if any, related to the Settlement and Redemption Agreement and the Cal-Maine
Sale between December 1, 2014 and January 19, 2018.

Request for Production No. 19: = All Documents and ESI that You or Foodonics sent
to or received from GrayRobinson, P.A. relating or referring to (i) the Settlement and
Redemption Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Cal-Maine or Dolph Baker,
(iv) the Cal-Main Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock and/or (vi) any
potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Pursuant to the foregoing General Objections, specifically as to the
attorney-client privilege and proprietary and confidentiality privileges, Mr. Klempf objects to
this request.

Request for Production No. 20: = All Documents and ESI constituting, referring or
relating to any Financial Information prepared by You and delivered to any third party including,
but not limited to, financial institutions, potential purchasers of Foodonics or the like during the
period January 1, 2012 through January 1, 2017.

Response: Subject to the foregoing General Objections, specifically as they relate to
the vague, overbroad, and ambiguous definition of Financial Information, including use of the
phrase “or the like”, Mr. Klempf will produce the requested Documents and ESI in his
possession, if any, related to the Settlement and Redemption Agreement and the Cal-Maine Sale
between December 1, 2014 and January 19, 2018.

Request for Production No. 21: = All Documents and ESI constituting, referring or
relating to any personal Financial Information prepared by or for Foodonics and delivered to,
financial institutions, potential purchasers of Foodonics or the like during the period January 1,
2012 through January 1, 2017.

Response: _In addition to the foregoing General Objections, specifically as they relate

to the vague, overbroad, and ambiguous definition of Financial Information, Mr. Klempf further
objects to the vague and ambiguous phrases “personal Financial Information” and “or the like”

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found in this Request. Additionally, Mr. Klempf objects to this request as it seeks documents
controlled and possessed by Foodonics.

Request for Production No. 22: = All Documents and ESI constituting any Financial
Information prepared by or for You and/or Foodonics where such Financial Information
identifies, refers or relates to the value of Foodonics’ Stock and Foodonics’ Assets.

Response: Subject to the foregoing General Objections, Mr. Klempf will produce the
requested Documents and ESI in his possession related to the Settlement and Redemption
Agreement and the Cal-Maine Sale between December 1, 2014 and January 19, 2018.

Request for Production No. 23: All Documents and ESI referring or relating to the
transfer of any Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (III) BAM Investment Group, LLC.

Response: _In addition to the foregoing General Objections, Mr. Klempf objects to
this request as it seeks Documents and ESI controlled and possessed by Foodonics.

Request for Production No. 24: — All general ledgers for Foodonics for the years 2012
through the date of production.

Response: _In addition to the foregoing General Objections, Mr. Klempf objects to
this request as it seeks documents controlled and possessed by Foodonics.

Request for Production No. 25: — All corporate minutes for Foodonics for the years
2012 through the date of production.

Response: _In addition to the foregoing General Objections, Mr. Klempf objects to
this request as it seeks documents controlled and possessed by Foodonics.

Request for Production No. 26: — All corporate tax returns for Foodonics for the years
2006 through the date of production.

Response: __In addition to the foregoing General Objections, Mr. Klempf objects to
this request as it seeks documents controlled and possessed by Foodonics.

Request for Production No. 27: | All Documents and ESI which refer or relate to the
distributions or dividends made to each shareholder for the years 2006 through the date of
production including, without limitation, all cancelled checks, wire transfers, general ledgers or
related correspondence.

Response: __In addition to the foregoing General Objections, Mr. Klempf objects to
this request as it seeks Documents and ESI controlled and possessed by Foodonics.

Request for Production No. 28: = All Documents and ESI which refer or relate to
estimated tax payments made by Foodonics on behalf of each shareholder for the years 2006

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through the date of production including, without limitation, all cancelled checks, wire transfers,
general ledgers or related correspondence.

Response: _In addition to the foregoing General Objections, Mr. Klempf objects to
this request as it seeks Documents and ESI controlled and possessed by Foodonics.

Request for Production No. 29: = All Documents and ESI relating or referring to the
allegations in paragraph 14 of Foodonics Complaint that “[flollowing the 2006 Transaction,
Foodonics made estimated income tax payments to the Internal Revenue Service (“IRS”) on
behalf of Jacques and Mrs. Klempf in amount equal to their anticipated annual income tax
liabilities resulting from the inclusion in their personal income of their relative share of
Foodonics’ income” for the years 2006 through the date of production.

Response: _In addition to the foregoing General Objections, Mr. Klempf objects to
this request to the extent it seeks documents controlled and possessed by Foodonics.
Furthermore, this request’s specified time period is overbroad and unduly burdensome, and seeks
Documents and ESI protected by the attorney-client privilege. Subject to the foregoing, Mr.
Klempf will produce Documents and ESI in his possession related to the 2015 tax refund at
issue.

Request for Production No. 30: | All Documents and ESI relating or referring to the
allegations in paragraph 16 of the Foodonics Complaint that “Foodonics’ income is calculated
and reported to the IRS after the end of the relevant tax year. As a result, the estimated tax
payments were paid to the IRS on behalf of Jacques Klempf, before the end of each taxable year,
based on estimates of Foodonics’ eventual taxable income.”

Response: _In addition to the foregoing General Objections, Mr. Klempf objects to
this request to the extent it seeks Documents and ESI controlled and possessed by Foodonics.
Furthermore, this Request seeks Documents and ESI protected by the attorney-client privilege.
Subject to the foregoing, Mr. Klempf will produce Documents and ESI in his possession related
to the 2015 tax refund at issue.

Request for Production No. 31: = All Documents and ESI relating or referring to the
allegations in paragraph 18 of the Foodonics Complaint that “for tax year 2015, Foodonics paid
estimated taxes on behalf of its shareholders, Jacques and Mrs. Klempf. Because the precise
amount of tax liability could not be known at the time of estimated payments, Foodonics
intentionally overpaid the estimated taxes for Jacques and Mrs. Klempf to the IRS to avoid
imposition of penalties and interest. No additional distribution was authorized by the
shareholders and in the event of a substantial overpayment of taxes, Foodonics was to be repaid
the amount of such overpayment.”

Response: _In addition to the foregoing General Objections, Mr. Klempf objects to
this request to the extent it seeks Documents and ESI controlled and possessed by Foodonics.
Further, Mr. Klempf objects to the request to the extent it seeks Documents and ESI protected by
the attorney-client privilege. Subject to the foregoing, Mr. Klempf will produce Documents and
ESI in his possession related to the 2015 tax refund at issue.

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Request for Production No. 32: | Ail Documents and ESI relating or referring to the
allegations in paragraph 23 of the Foodonics Complaint that “Foodonics’ payment of estimated
tax payments on behalf of Jacques and Mrs. Klempf resulted in an overpayment of taxes relative
to Foodonics’ subsequently-determined income. As a result, both Jacques and Mrs. Klempf
received a refund from the IRS.”

Response: __In addition to the foregoing General Objections, Mr. Klempf objects to
this request to the extent it seeks Documents and ESI controlled and possessed by Foodonics.
Further, Mr. Klempf objects to the request to the extent it seeks Documents and ESI protected by
the attorney-client privilege. Subject to the foregoing, Mr. Klempf will produce Documents and
ESI in his possession related to the 2015 tax refund at issue.

GRAYROBINSON, P.A.

_/s/S. Grier Wells

S. GRIER WELLS, ESQ.

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Jacksonville, Florida 32202

Phone: (904)-598-9929

Fax: (904)-598-9109

Attorney for Plaintiff
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the foregoing was filed and served electronically on this 6"
day of February, 2018 through the Florida E-Portal on James H. Post, Esq., counsel for Plaintiff
at jpost@smithhulsey.com.

/s/ S. Grier Wells, Esq.
Attorney

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TAB 7
IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
FOODONICS INTERNATIONAL, INC.,
a Florida corporation,
Plaintiff, Case No.: 3:17-cv-1054-J-32JRK
V.

DINA KLEMPF SROCHI, as Trustee
of the LAURA JEAN KLEMPF
REVOCABLE TRUST, a Georgia
trust,

Defendant,
/

OBJECTIONS TO DEFENDANT’S
REQUEST FOR PRODUCTION TO PLAINTIFF

Plaintiff FOODONICS INTERNATIONAL, INC. (“Foodonics”) submits these objections
(“Objections”) to Defendant’s (“Defendant”) Request for production to Plaintiff Foodonics
International, Inc. (the “Request”) served herein on January 12, 2018.

PRELIMINARY STATEMENT

l. The majority of requests in this REQUEST are addressed both to Foodonics and to
non-party Jacques Klempf (“Mr. Klempf’). On January 19, 2018, Mr. Klempf was served a
Subpoena with nearly identical definitions, instructions, and requests; Mr. Klempf delivered his
response to the Subpoena prior to Foodonics delivering this response to this REQUEST FOR
PRODUCTION. Requests for Documents and ESI held or controlled by Mr. Klempf are addressed
in the Subpoena. Mr. Klempf was President and Chief Executive Officer of Foodonics for all

relevant time periods in this litigation, and remains in that role currently. However, this REQUEST

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was directed to Foodonics, and thus the following Objections and other assertions are made only
by Foodonics, in its corporate capacity.

2. As of the date of these Objections, Plaintiff has filed a Complaint in this Court
claiming damages related to a 2015 tax refund and declaratory relief based on a draft complaint
presented on behalf of Defendant to Plaintiff alleging it committed fraud in redeeming shares of
Foodonics stock from the Laura Jean Klempf Revocable Trust prior to a sale of Plaintiff's assets
to Cal-Maine Foods, Inc. (“Defendant’s Threatened Complaint’). Plaintiff's Complaint seeks
a declaratory judgment concerning the allegations in Defendant’s Threatened Complaint. To date,
no defenses have been asserted to Plaintiff’s Complaint.

3. The Settlement and Redemption Agreement entered into as of December 21, 2015
(the “Settlement and Redemption Agreement”) and referred to in the Complaint contains
representations that “the Foodonics Parties have not received any written offers to effect a
Realization Event [e.g. a sale of the assets or stock of Foodonics] within the twelve (12) months
prior to the date of this Agreement.”

4, The majority of the documents requested in the REQUEST are related to the
Defendant’s Threatened Complaint which is at present only the subject of Plaintiff's claim for
declaratory relief and is not yet a claim for affirmative relief. As noted, no defenses to Plaintiffs
claims have been asserted.

5. Defendant’s Threatened Complaint does not contain any factual basis or evidence
for its allegations of fraud. There is therefore no basis for Defendant’s REQUEST except for a

fishing expedition.

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6. The Definitions in the REQUEST include multiple parties within the specification
of one party, individual, or entity — thereby necessitating responses on behalf of parties,
individuals, or entities which are not the sole party subject to the REQUEST, Foodonics.

7. By objecting to this REQUEST, Foodonics does not waive or intend to waive: (a)
any objections as to the competency, relevancy, materiality, privilege, or admissibility as evidence,
for any purpose, of any documents or information produced in response to the REQUEST; (b) the
right to object on any ground to the use of the documents or information produced in response to
the REQUEST at any hearing, trial, or other point during the litigation; (c) the right to object on
any ground at any time to a demand for further response to the REQUEST; or (d) the right at any
time to revise, correct, add to, supplement, or clarify any of the responses to the REQUEST
consistent with the applicable rules.

8. The information and objections asserted herein are for use in this litigation and for
no other purposes or litigation.

9. No objection made herein, or lack thereof, is an admission by Foodonics as to the
existence or non-existence of any information.

10. Foodonics will produce Documents and ESI, subject to these Objections, to the
extent they are in its possession or control.

Ll. Pursuant to the sale of assets of Foodonics to Cal-Maine on or about October 16,
2016 (the “Cal-Maine Sale’), Foodonics delivered possession and control of an AS 400 Computer
(the “Server”) to Cal-Maine. The vast majority of documents produced or received by Foodonics
that may be relevant to this litigation and REQUEST are stored on the Server (such documents are
referred to herein as “Server Files”), Foodonics has been and continues to diligently attempt to

obtain possession or control of the Server Files. As of the date of these Objections, Foodonics does

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not have possession or control of the Server Files. Therefore, all responses to this REQUEST are
subject to and contingent on Foodonics obtaining possession or access to the Server Files.

GENERAL OBJECTIONS

1, Foodonics expressly incorporates all of the General Objections below into the
specific objections to each of the enumerated requests. Any specific objections provided below
are made in addition to these General Objections, and the failure to reiterate a General Objection
below does not constitute a waiver of that or any other objection.

2. The REQUEST is overbroad, unduly burdensome, and not proportional to the needs
of the case in that its enumerated requests are not relevant to any claim or defense presented in the
Complaint. The REQUEST and each enumerated request is not sufficiently limited in scope or
subject matter, with the only limiting factor being certain time periods which themselves are
excessive, unreasonable, overbroad, unduly burdensome, and not proportional to the needs or
issues of the case.

3. The requests are overbroad, unduly burdensome, and not proportional to the needs
of the case in that they seek information regarding confidential, trade secret, commercially
sensitive, and/or other proprietary or competitively sensitive information concerning Foodonics’
business activities or operations, the disclosure or dissemination of which could cause Foodonics
harm or prejudice, and otherwise fail to provide a mechanism for documents containing
commercially sensitive and confidential information to be designated as confidential pursuant to a
protective order.

4, The REQUEST seeks information not proportional to the needs of the case
considering (a) the marginal importance of the materials to the claims and defenses in this litigation
and (b) the probable substantial cost to identify responsive materials balanced against the amount

in controversy.

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5. The REQUEST is overbroad, unduly burdensome, and not proportional to the needs
of the case, in that the REQUEST seeks documents from Foodonics in its corporate capacity which
may contain proprietary or otherwise confidential information of Mr. Klempf or other non-parties.

6. Foodonics objects to each request in the REQUEST to the extent that it purports to
seek information protected by the attorney-client privilege or any other applicable privileges and
protections.

7. Foodonics objects to each request in the REQUEST to the extent that Defendant
has made the same request to Mr. Klempf in this litigation. Requests which are more appropriately
directed to Mr. Klempf were objected and responded to in the response to the Subpoena; requests
which are more appropriately directed to Foodonics are objected and responded to in this response
to the REQUEST.

8. Foodonics objects to each request in the REQUEST to the extent that it seeks
information that Foodonics licensed or obtained from third parties and/or cannot disclose without
prior approval of the third parties.

9. Foodonics objects to Defendant’s “Definitions” and “Instructions” in the
REQUEST and to the requests themselves to the extent they expand upon, alter, or are inconsistent
with Foodonics’ obligations under the Federal Rules of Civil Procedure or the Local Rules of this
Court.

10. Foodonics objects to each Definition and/or request in the REQUEST as overbroad,
unduly burdensome, and interposed for an improper purpose to the extent the definition and/or
request purports to require Foodonics to produce documents or information that is held or

controlled by individuals or entities other than Foodonics.

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11. Foodonics objects to the definition of “Documents” as set forth in Definition No. 3
to the extent it attempts to expand upon or is inconsistent with its obligations under the Federal
Rules of Civil Procedure and the Local Rules of this District.

12. Foodonics objects to the definition of “ESI” as set forth in Definition No. 5 as
overbroad and unduly burdensome in that it seeks to compel Foodonics to engage in the collection,
processing and review of a virtually unlimited scope of ESI without narrowing the terms, subject
matter, or dates of the ESI — such failure to limit the scope does not comply with Fed. R. Civ. P.
45 and the Middle District of Florida’s Handbook on Civil Discovery Section VIII(C), and
attempts to unnecessarily add substantially to the burden and expense imposed on Foodonics.

ee Foodonics objects to the definition of “Financial Information” as set forth in
Definition No. 6 as overbroad, vague, and unduly burdensome.

14. Foodonics objects to the definitions of “You” and “Your” as set forth in Definition
No. 17 as vague, overly broad, unduly burdensome, incorrect and improper. Foodonics will
interpret the terms “You” and “Your” to mean only Foodonics, unless otherwise explicitly stated
by Foodonics.

1S. Foodonics objects to the time period described in Definition No. 18, particularly
the start date, as overbroad, unduly burdensome, and not relevant to the claims or defenses in this
case in that it seeks to establish a relevant time period of September 1, 2008 to January 19, 2018.
The claim for the 2015 tax refund concerns calendar year 2015. The sale of assets from Foodonics
to Cal-Maine referenced in Defendant’s Threatened Complaint occurred on October 16, 2016. The
purchase of stock from the Laura Jean Klempf Revocable Trust by Foodonics occurred on
December 31, 2015 with a “look back” of one year. Documents prior to December 2014 are not

reasonably calculated to lead to the discovery of admissible evidence nor relevant to any party’s

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claim or defense, and would require Foodonics to undertake an unnecessary and expensive burden
which exceeds the scope of permissible discovery. Even a request for preservation of documents
created prior to December 1, 2014 would be objectionable for the same reasons provided
hereinabove.

16.  Foodonics objects to Instruction No. 2 regarding identification of a privileged
document or ESI to the extent that it attempts to expand upon or is inconsistent with its obligations
under the Federal Rules of Civil Procedure and the Local Rules of this District.

17. Foodonics objects to Instruction No. 3 to the extent that it attempts to expand upon,
or is inconsistent with, its obligations under the Federal Rules of Civil Procedure and the Local
Rules of this District.

18. | Foodonics objects to Instruction No. 4 to the extent that it attempts to expand upon,
or is inconsistent with, its obligations under the Federal Rules of Civil Procedure and the Local
Rules of this District.

DOCUMENT REQUESTS

Subject to its foregoing General Objections, and without waiving and expressly preserving
all such objections, which are hereby incorporated into the response to each request, Foodonics
responds to the requests as follows:

Request for production No. 1: All Documents and ESI that You and/or Jacques
Klempf, on the one hand, and Dolph Baker and/or Cal-Maine, on the other hand, including, but
not limited to:

a. All Documents and ESI that You or Jacques Klempf sent to or received from Cal-
Maine or Dolph Baker relating to the Cal-Maine Sale.

b. All documents or ESI that You or Jacques Klempf sent to or received from Cal-
Maine or Dolph Baker refereeing or related to the Settlement and Redemption
Agreement.

C, All Documents and ESI that You or Jacques Klempf sent or received from Cal-

Maine or Dolph Baker referring or relating to Laura Jean Klempf or the Trust.

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d. All Documents and ESI that You or Jacques Klempf sent to or received from Cal-
Maine or Dolph Baker relating to the value of Foodonics’ Assets or Foodonics’

Stock.

e. All Documents and ESI that You or Jacques Klempf sent to or received from Cal-
Maine or Dolph Baker relating to the sale of Foodonics’ Assets or Foodonics’
Stock.

f. All Documents and ESI constituting any Foodonics’ financial information provided

by or on behalf of You and/or Jacques Klempf to Cal-Maine and/or any of its
representatives, agents, officers or directors.

Response: Subject to the foregoing General Objections, specifically General Objection
Number 5, Foodonics will produce Documents and ES] in its possession, if any, for the specified
topics delivered to or received from Dolph Baker from December 1, 2014 through January 19,
2018 related to the Settlement and Redemption Agreement, if any, and the Cal-Maine Sale.
Foodonics objects to delivering any Documents or ES] that it may have, if any, to the extent that
such Documents or ESI held in its corporate capacity may contain proprietary or otherwise
confidential information of Mr. Klempf or other non-parties.

Request for production No. 2: Any and all closing documents and other agreements
relating to the Cal-Maine sale.

Response: Subject to the foregoing General Objections, specifically General Objection
Number 5, Foodonics will produce closing documents and other agreements in its possession, if
any, relating to the Cal-Maine sale. Foodonics objects to delivering any Documents or ESI that it
may have, if any, to the extent that such Documents or ESI held in its corporate capacity may
contain proprietary or otherwise confidential information of Mr. Klempf or other non-parties.
Foodonics also objects to this request to the extent it is duplicative to request number 1.

Request for production No. 3: All Documents and ESI in the possession of You or
Jacques Klempf relating to or containing any representations or estimates made by You or Jacques
Klempf to any person or entity regarding the value of Foodonics’ Stock or Foodonics’ Assets from
September 1, 2008 through date of production.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, for the specified topics delivered or received from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption Agreement
and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is duplicative to
request numbers | and 2.

Request for production No. 4: All Documents and ESI in the possession of You or

Jacques Klempf to any person or entity relating to the value of Foodonics Stock from September
1, 2008 through the date of production.

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Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, for the specified topics delivered or received from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption Agreement
and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is duplicative to
request numbers 1, 2, and 3.

Request for production No. 5: All Documents and ESI relating to any proposals,
offers or discussions You or Jacques Klempf had with any person or entity regarding any possible
purchase or sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, for the specified topics delivered or received from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption Agreement
and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is duplicative to
request numbers 1, 2, 3, and 4.

Request for production No. 6: All Documents and ESI that you or Jacques Klempf
sent to or received from Marc Klempf referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
c. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, delivered to or received from Marc Klempf from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption Agreement
and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is duplicative to
request numbers | through 5.

Request for production No. 7: All Documents and ESI that You or Jacques Klempf
sent to or received from Dina Klempf Srochi referring or relating to:

a. Cal-Maine or Dolph Baker;
b. the value of Foodonics’ Assets or Foodonics’ Stock;

C. the sale of Foodonics’ Assets or Foodonics’ Stock;

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d. the Settlement and Redemption Agreement;
€. the Cal-Maine Sale; or
f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, delivered to or received from Dina Klempf Srochi
from December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is
duplicative to request numbers 1 through 5.

Request for production No. 8: All Documents and ESI that You or Jacques Klempf
sent to or received from Steven Brust referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, delivered to or received from Steven Brust from
December 1, 2014 through January 19, 2018 related to the Settlement and Redemption Agreement
and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is duplicative to
request numbers | through S.

Request for production No. 9: All Documents and ESI that You or Jacques Klempf
sent to or received from Dennis L. Blackburn referring or relating to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
Cc. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

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f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, delivered to or received from Dennis L. Blackburn
from December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is
duplicative to request numbers 1 through 5.

Request for production No. 10: All Documents or ESI You or Jacques Klempf sent

to Laura Jean Klempf including, without limitation, all Documents and ESI referring or relating
to:

a. Cal-Maine or Dolph Baker;

b. the value of Foodonics’ Assets or Foodonics’ Stock;
C. the sale of Foodonics’ Assets or Foodonics’ Stock;
d. the Settlement and Redemption Agreement;

e. the Cal-Maine Sale; or

f. Laura Jean Klempf.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, delivered to or received from Laura Jean Klempf
from December 1, 2014 through January 19, 2018 related to the Settlement and Redemption
Agreement and the Cal-Maine Sale. Foodonics also objects to this request to the extent it is
duplicative to request numbers | through 5.

Request for production No. 11: All Documents and ESI that You or Jacques Klempf
sent to or received from Ian Ratner relating or referring to (i) the value of Foodonics’ Assets or
Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI delivered to and received from Ian Ratner in its possession, if any, related or
referring to the Settlement and Redemption Agreement and the Cal-Maine Sale between December
1, 2014 and January 19, 2018. Foodonics also objects to this request to the extent it is duplicative
to request numbers 1 through 5.

Request for production No. 12: — All Documents and ESI that You or Jacques Klempf
sent to or received from GlassRatner Advisory & Capital Group, LLC relating or referring to (i)
the value of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’
Assets or Foodonics’ Stock.

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Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI delivered to and received from GlassRatner Advisory & Capital Group, LLC
in its possession, if any, related or referring to the Settlement and Redemption Agreement and the
Cal-Maine Sale between December 1, 2014 and January 19, 2018. Foodonics also objects to this
request to the extent it is duplicative to request numbers | through 5.

Request for production No. 13: = All Documents and ESI that You or Jacques Klempf
sent to or received from Jess W. Wright relating or referring to (i) the value of Foodonics’ Assets
or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI delivered to and received from Jess W. Wright in its possession, if any, related
or referring to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018. Foodonics also objects to this request to the extent it is
duplicative to request numbers | through 5.

Request for production No. 14; = All Documents and ESI that You or Jacques Klempf
sent to or received from Sheldrick, McGehee & Kohler, LLC relating or referring to (i) the value
of Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI delivered to and received from Sheldrick, McGehee & Kohler, LLC in its
possession, if any, related or referring to the Settlement and Redemption Agreement and the Cal-
Maine Sale between December 1, 2014 and January 19, 2018. Foodonics also objects to this
request to the extent it is duplicative to request numbers | through 5.

Request for production No. 15: — All Documents and ESI that You or Jacques Klempf
sent to or received from John P. Stevens relating or referring to (i) the value of Foodonics’ Assets
or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI delivered to and received from John P. Stevens in its possession, if any, related
or referring to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018. Foodonics also objects to this request to the extent it is
duplicative to request numbers 1 through 5.

Request for production No. 16: Ali Documents and ESI the You or Jacques Klempf
sent to or received from Stevens, Powell & Company, P.A. relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce

Documents and ESI delivered to and received from Stevens, Powell & Company, P.A. in its
possession, if any, related or referring to the Settlement and Redemption Agreement and the Cal-

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Maine Sale between December 1, 2014 and January 19, 2018. Foodonics also objects to this
request to the extent it is duplicative to request numbers 1 through 5.

Request for production No. 17: — All Documents and ESI that You or Jacques Klempf
sent to or received from Robert Monsky relating or referring to (i) the value of Foodonics’ Assets
or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI delivered to and received from Robert Monsky in its possession, if any, related
or referring to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018. Foodonics also objects to this request to the extent it is
duplicative to request numbers | through 5.

Request for production No. 18: All Documents and ESI that You or Jacques Klempf
sent to or received from First Florida Capital Corporation relating or referring to (i) the value of
Foodonics’ Assets or Foodonics’ Stock and/or (ii) any potential sale of Foodonics’ Assets or
Foodonics’ Stock.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI delivered to and received from First Florida Capital Corporation in its
possession, if any, related or referring to the Settlement and Redemption Agreement and the Cal-
Maine Sale between December 1, 2014 and January 19, 2018. Foodonics also objects to this
request to the extent it is duplicative to request numbers | through 5.

Request for production No. 19: All Documents and ESI that You or Jacques Klempf
sent to or received from GrayRobinson, P.A. relating or referring to (i) the Settlement and
Redemption Agreement, (ii) Laura Jean Klempf or the Trust, (iii) Cal-Maine or Dolph Baker, (iv)
the Cal-Main Sale, (v) the value of Foodonics’ Assets or Foodonics’ Stock and/or (vi) any potential
sale of Foodonics’ Assets or Foodonics’ Stock.

Response: Pursuant to the foregoing General Objections, specifically as to the
attorney-client privilege and proprietary and confidentiality privileges, Foodonics objects to this
request. Foodonics also objects to this request to the extent it is duplicative to request numbers 1
through 5.

Request for production No. 20: = All Documents and ESI constituting, referring or
relating to any Financial Information prepared by You and delivered to any third party including,
but not limited to, financial institutions, potential purchasers of Foodonics or the like during the
period January 1, 2012 through January 1, 2017.

Response: Subject to the foregoing General Objections, specifically as they relate to
the vague, overbroad, and ambiguous definition of Financial Information, including use of the
phrase “or the like”, Foodonics will produce Documents and ESI in its possession, if any, related
or referring to the Settlement and Redemption Agreement and the Cal-Maine Sale between
December 1, 2014 and January 19, 2018.

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Request for production No. 21: | Ail Documents and ESI constituting, referring or
relating to any personal Financial Information prepared by or for Jacques Klempf and delivered to
any third party including, but not limited to, financial institutions, potential purchasers of
Foodonics or the like during the period January 1, 2012 through January 1, 2017.

Response: _In addition to the foregoing General Objections, specifically as they relate
to the vague, overbroad, and ambiguous definition of Financial Information, Foodonics further
objects to the vague and ambiguous phrases “personal Financial Information” and “or the like”
found in this request. Additionally, Foodonics objects to this request to the extent that it seeks
“personal Financial Information” of non-party Jacques Klempf.

Request for production No. 22: — All Documents and ESI constituting any Financial
Information prepared by or for You and/or Jacques Klempf where such Financial Information
identifies, refers or relates to the value of Foodonics’ Stock and Foodonics’ Assets.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession related or referring to the Settlement and Redemption
Agreement and the Cal-Maine Sale between December 1, 2014 and January 19, 2018.
Additionally, Foodonics objects to this request to the extent that it seeks “personal Financial
Information” of non-party Jacques Klempf. Foodonics also objects to this request to the extent it
is duplicative to request numbers | through 5.

Request for production No. 23: = All Documents and ESI referring or relating to the
transfer of any Foodonics’ Assets to (i) BAM Residential Holdings, LLC; (ii) BAM Commercial
Holdings, LLC; and/or (III) BAM Investment Group, LLC.

Response: Subject to the foregoing General Objections, Foodonics will produce
Documents and ESI in its possession, if any, related or referring to the Settlement and Redemption
Agreement and the Cal-Maine Sale between December 1, 2014 and January 19, 2018.

Request for production No. 24: — All general ledgers for Foodonics for the years 2012
through the date of production.

Response: Subject to the foregoing General Objections and Foodonics’ objection to
the vague and ambiguous phrase “general ledgers”, Foodonics will produce general ledgers in its
possession, if any, produced between December 1, 2014 and January 19, 2018.

Request for production No. 25: —All corporate minutes for Foodonics for the years
2012 through the date of production.

Response: Subject to the foregoing General Objections and Foodonics’ objection to
the vague and ambiguous phrase “corporate minutes”, Foodonics will produce corporate minutes

in its possession, if any, produced between December 1, 2014 and January 19, 2018.

Request for production No. 26: —_ All corporate tax returns for Foodonics for the years
2006 through the date of production.

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Response: Subject to the foregoing General Objections, Foodonics will produce its
corporate tax returns in its possession for the years ending December 1, 2014 and subsequently.

Request for production No. 27: = All Documents and ESI which refer or relate to the
distributions or dividends made to each shareholder for the years 2006 through the date of
production including, without limitation, all cancelled checks, wire transfers, general ledgers or
related correspondence.

Response: Subject to the foregoing General Objections, Foodonics will produce the
requested Documents and ES] in its possession, if any, produced between December 1, 2014 and
January 19, 2018.

Request for production No. 28: = All Documents and ESI which refer or relate to
estimated tax payments made by Foodonics on behalf of each shareholder for the years 2006
through the date of production including, without limitation, all cancelled checks, wire transfers,
general ledgers or related correspondence.

Response: Subject to the foregoing General Objections, Foodonics will produce the
requested Documents and ES] in its possession, if any, produced between December 1, 2014 and
January 19, 2018.

Request for production No. 29: — All Documents and ESI relating or referring to the
allegations in paragraph 14 of Foodonics Complaint that “[flollowing the 2006 Transaction,
Foodonics made estimated income tax payments to the Internal Revenue Service (“IRS”) on behalf
of Jacques and Mrs. Klempf in amount equal to their anticipated annual income tax liabilities
resulting from the inclusion in their personal income of their relative share of Foodonics’ income”
for the years 2006 through the date of production.

Response: _ In addition to the foregoing General Objections, Foodonics objects to this
request’s specified time period as it is overbroad and unduly burdensome, and objects to this
request to the extent that it seeks Documents and ESI protected by the attorney-client privilege.
Subject to the foregoing, Foodonics will produce non-privileged Documents and ESI in its
possession, if any, related to the 2015 tax refund at issue.

Request for production No. 30: All Documents and ESI relating or referring to the
allegations in paragraph 16 of the Foodonics Complaint that “Foodonics’ income is calculated and
reported to the IRS after the end of the relevant tax year. As a result, the estimated tax payments
were paid to the IRS on behalf of Jacques Klempf, before the end of each taxable year, based on
estimates of Foodonics’ eventual taxable income.”

Response: _In addition to the foregoing General Objections, Foodonics objects to this
request to the extent that it seeks Deocuments and ESI protected by the attorney-client privilege.
Subject to the foregoing, Foodonics will produce non-privileged Documents and ESI in its
possession related to the 2015 tax refund at issue.

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Request for production No.31: All Documents and ESI relating or referring to the
allegations in paragraph 18 of the Foodonics Complaint that “for tax year 2015, Foodonics paid
estimated taxes on behalf of its shareholders, Jacques and Mrs. Klempf. Because the precise
amount of tax liability could not be known at the time of estimated payments, Foodonics
intentionally overpaid the estimated taxes for Jacques and Mrs. Klempf to the IRS to avoid
imposition of penalties and interest. No additional distribution was authorized by the shareholders
and in the event of a substantial overpayment of taxes, Foodonics was to be repaid the amount of
such overpayment.”

Response: _In addition to the foregoing General Objections, Foodonics objects to this
request to the extent that it seeks Deocuments and ESI protected by the attorney-client privilege.
Subject to the foregoing, Foodonics will produce non-privileged Documents and ESI in its
possession related to the 2015 tax refund at issue.

Request for production No. 32: All Documents and ESI relating or referring to the
allegations in paragraph 23 of the Foodonics Complaint that “Foodonics’ payment of estimated
tax payments on behalf of Jacques and Mrs. Klempf resulted in an overpayment of taxes relative
to Foodonics’ subsequently-determined income. As a result, both Jacques and Mrs. Klempf
received a refund from the IRS.”

Response: _In addition to the foregoing General Objections, Foodonics objects to this
request to the extent that it seeks Deocuments and ESI protected by the attorney-client privilege.
Subject to the foregoing, Foodonics will produce non-privileged Documents and ESI in its
possession related to the 2015 tax refund at issue.

GRAYROBINSON, P.A.

/s/S. Grier Wells
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Attorney for Plaintiff
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the foregoing was filed and served electronically on this 12"
day of February, 2018 through the Florida E-Portal on James H. Post, Esq., counsel for Plaintiff at

jpost@smithhulsey.com.

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/s/ S. Grier Wells, Esq.
Attorney

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